Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 1 of 208 Page ID
                                  #:49361




                  EXHIBIT B
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 2 of 208 Page ID
                                  #:49362
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 1 of 207 Page ID
                                  #:25338



   1   Joseph R. Re (Bar No. 134479)
   2
       joseph.re@knobbe.com
       Stephen C. Jensen (Bar No. 149894)
   3   steve.jensen@knobbe.com
   4   Perry D. Oldham (Bar No. 216016)
       perry.oldham@knobbe.com
   5   Stephen W. Larson (Bar No. 240844)
   6   stephen.larson@knobbe.com
       KNOBBE, MARTENS, OLSON & BEAR, LLP
   7   2040 Main Street, Fourteenth Floor
   8   Irvine, CA 92614
       Telephone: (949) 760-0404 Facsimile: (949) 760-9502
   9

  10   Adam B. Powell (Bar No. 272725)
       adam.powell@knobbe.com
  11   KNOBBE, MARTENS, OLSON & BEAR, LLP
  12   12790 El Camino Real
       San Diego, CA 92130
  13   Telephone: (858) 707-4000 Facsimile: (858) 707-4001
  14
       Attorneys for Plaintiffs,
  15   Masimo Corporation and Cercacor Laboratories, Inc.
  16
                        IN THE UNITED STATES DISTRICT COURT
  17
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  18
                                    SOUTHERN DIVISION
  19
       MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
  20   a Delaware corporation; and            )
       CERCACOR LABORATORIES, INC.,           ) FOURTH AMENDED
  21   a Delaware corporation                 ) COMPLAINT FOR
                                              ) (1) PATENT INFRINGEMENT
  22               Plaintiffs,                ) (2) TRADE SECRET
                                              ) MISAPPROPRIATION
  23         v.                               ) (3) CORRECTION OF
                                              ) INVENTORSHIP AND
  24   APPLE INC., a California corporation   ) (4) OWNERSHIP OF PATENTS
                                              )
  25                                          ) DEMAND FOR JURY TRIAL
                   Defendant.                 )
  26                                          ) Hon. James V. Selna
                                              )
  27
                       REDACTED VERSION OF DOCUMENT
  28                   PROPOSED TO BE FILED UNDER SEAL




                                                                                 Exhibit B
                                                                                       -8-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 3 of 208 Page ID
                                  #:49363
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 2 of 207 Page ID
                                  #:25339



   1         Plaintiffs MASIMO CORPORATION (“Masimo”) and CERCACOR
   2   LABORATIES, INC. (“Cercacor”) hereby complain of Defendant APPLE INC.
   3   (“Apple”), and allege as follows:
   4                                   I. THE PARTIES
   5         1.     Plaintiff Masimo is a Delaware corporation having its principal
   6   place of business at 52 Discovery, Irvine, California 92618.
   7         2.     Plaintiff Cercacor is a Delaware corporation having its principal
   8   place of business at 15750 Alton Pkwy, Irvine, California 92618.
   9         3.     Upon information and belief, Defendant Apple is a California
  10   corporation having a principal place of business at One Apple Park Way,
  11   Cupertino, California, 95014.
  12                        II. JURISDICTION AND VENUE
  13         4.     This civil action includes claims for patent infringement arising
  14   under the patent laws of the United States, 35 U.S.C. §§ 100, et seq., more
  15   particularly, 35 U.S.C. §§ 271 and 281. This civil action includes claims for
  16   correction of inventorship of certain United States patents arising under the
  17   patent law of the United States, more particularly 35 U.S.C. § 256.          This
  18   Complaint further alleges trade secret misappropriation and seeks a declaration
  19   of ownership of certain patents and patent applications.
  20         5.     This Court has subject matter jurisdiction over claims 1-12 and 14-
  21   18 pursuant to at least 28 U.S.C. §§ 1331 and 1338(a), and has at least
  22   supplemental jurisdiction over claims 13 and 19-27 pursuant to at least 28
  23   U.S.C. §§ 1367(a), including because, as alleged in more detail below, they are
  24   sufficiently related to the claims over which this Court has original jurisdiction
  25   that they form part of the same case or controversy under Article III of the
  26   United States Constitution.
  27

  28

                                              -2-


                                                                                            Exhibit B
                                                                                                  -9-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 4 of 208 Page ID
                                  #:49364
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 3 of 207 Page ID
                                  #:25340



   1          6.    Apple has its principal place of business in California. Apple is
   2   subject to personal jurisdiction in California and has committed the acts
   3   complained of in this Judicial District.
   4          7.    Venue is proper in the Southern Division of the Central District of
   5   California pursuant to 28 U.S.C. § 1400(b) with respect to patent infringement
   6   because Defendant has a regular and established place of business in the County
   7   of Orange within the Central District of California and committed acts of
   8   infringement in this Judicial District.          Defendant also committed acts of
   9   misappropriation in this Judicial District. Inventive contributions to the patents
  10   and patent application as to which Plaintiffs seek correction of inventorship
  11   and/or declarations of ownership also took place in this Judicial District. Thus,
  12   venue is proper pursuant to 28 U.S.C. §§ 1391(b) because a substantial part of
  13   the events or omissions giving rise to the claims occurred in this Judicial
  14   District.
  15                         III. STATEMENT OF THE CASE
  16          8.    This action seeks relief for the theft of Plaintiffs’ highly
  17   confidential information and trade secrets, and infringement of Masimo’s
  18   patents by Defendant, correction of inventorship, and ownership of patents
  19   assigned to or filed by Apple on subject matter that belongs to Plaintiffs.
  20                           IV. STATEMENT OF FACTS
  21          9.    Masimo is a medical technology company that revolutionized non-
  22   invasive monitoring of physiological parameters, such as pulse rate, arterial
  23   oxygen saturation and many others.
  24          10.   Most of these parameters are measured using light that is
  25   transmitted through the body tissue. The received light, that has been attenuated
  26   by the various components of the body tissue, including the blood, is known in
  27   the industry as a photoplethysmograph or “PPG.” The transmission and receipt
  28

                                                  -3-


                                                                                            Exhibit B
                                                                                                -10-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 5 of 208 Page ID
                                  #:49365
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 4 of 207 Page ID
                                  #:25341



   1   of this light is typically accomplished through a sensor that is applied to a body
   2   part such as a finger, arm, toe, forehead or ear.
   3         11.    Before Masimo, non-invasive measurements from the PPG were
   4   plagued by unreliability, often when the measurement was needed most, due to
   5   the person moving or having low peripheral blood flow (known as “low
   6   perfusion”). The industry had essentially given up on solving these problems,
   7   concluding they were largely unsolvable. In the medical context, clinicians had
   8   to live with the results – patient monitors gave excessive false alarms, froze
   9   their measurements for prolonged periods of time despite potential changes in
  10   the physiological parameter (e.g., oxygen saturation or pulse rate), delayed
  11   notification of alarms due to long averaging times of sensor data, produced
  12   inaccurate measurements, or were unable to obtain data on the most critical
  13   patients and babies who cannot be instructed to stay still. Masimo’s pioneering
  14   technology, known as Masimo Signal Extraction Technology (“Masimo SET”),
  15   solved this problem and dramatically improved the reliability of monitoring and
  16   reporting physiological signals derived from the PPG.
  17         12.    Following its initial success with Masimo SET, Masimo invested
  18   heavily in developing additional breakthrough measurement technologies, such
  19   as non-invasively measuring total hemoglobin, carboxyhemoglobin, and
  20   methemoglobin. Masimo has continued to innovate, succeeding where others
  21   have consistently failed. Masimo was the first, and remains the only, company
  22   delivering these game-changing technologies to hospitals in the United States.
  23   Use of Masimo’s technology in the clinical setting has been proven to reduce
  24   blindness in premature infants, detect congenital heart disease in infants, save
  25   lives on the general care floor and post-surgery, and improve transfusion
  26   management, while saving money.
  27         13.    From its inception, Masimo has continuously developed cutting-
  28   edge noninvasive patient monitoring technologies. Masimo sought and received
                                               -4-


                                                                                            Exhibit B
                                                                                                -11-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 6 of 208 Page ID
                                  #:49366
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 5 of 207 Page ID
                                  #:25342



   1   numerous U.S. patents for many of its inventions. Masimo’s revolutionary
   2   technology was a key to its gaining significant market praise and penetration.
   3   After introduction into the market, many competitors, much larger than
   4   Masimo, used Masimo’s technology without a license, resulting in patent
   5   infringement lawsuits that ultimately confirmed the validity of Masimo’s
   6   innovations. Masimo also maintains some technology as trade secrets. Masimo
   7   also closely guards its future product and market plans. Only select employees
   8   have knowledge of and access to these guarded secrets.
   9         14.   Masimo’s innovations also include important advances in sensor
  10   technologies that work together as part of Masimo’s system and algorithms.
  11   Masimo’s sensors are integral to the success of the revolutionary technologies
  12   Masimo has developed.
  13         15.   In 1998, Masimo spun certain technologies off into a new
  14   company, Masimo Laboratories, Inc. or “Masimo Labs,” to further research and
  15   develop the technologies. The name of the company was later changed to
  16   Cercacor Laboratories Inc. or “Cercacor.” Cercacor and Masimo have a cross-
  17   license agreement to facilitate confidential collaboration between the
  18   companies. Cercacor is not owned by Masimo.
  19         16.   Like Masimo, Cercacor is an innovator of non-invasive monitoring
  20   technologies. Cercacor is on the frontline of understanding how measuring,
  21   tracking, and analyzing physiological parameters can impact pre-diabetic and
  22   diabetic patients, sports training and performance and overall health and
  23   wellness principally in the consumer market.         Cercacor continued the
  24   development that started at Masimo on non-invasive total hemoglobin (SpHb®),
  25   methemoglobin (SpMet®), and carboxyhemoglobin (SpCO®) and other non-
  26   invasive physiological parameters.
  27         17.   Leading hospitals around the world use Cercacor technology
  28   licensed to Masimo and sold under the name Masimo rainbow SET. Like
                                            -5-


                                                                                        Exhibit B
                                                                                            -12-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 7 of 208 Page ID
                                  #:49367
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 6 of 207 Page ID
                                  #:25343



   1   Masimo, Cercacor also maintains some technology as trade secrets, and
   2   Cercacor closely guards its future product and market plans.        Only select
   3   employees have knowledge of and access to these guarded secrets.
   4         18.    Plaintiffs carefully guard the secrecy of their confidential
   5   information and documents. For example, Plaintiffs have policies regarding
   6   labeling confidential information and documents as “CONFIDENTIAL AND
   7   PROPRIETARY.” They also restrict these documents and information from
   8   disclosure to third parties and employees on a need-to-know basis. Plaintiffs
   9   also have policies in place regarding the use of computers and related equipment
  10   that govern how their computer systems may be used. Those policies also
  11   govern the protection of Plaintiffs’ confidential information. Plaintiffs have
  12   document management systems that restrict access to confidential documents to
  13   only those employees with proper security credentials and a need for access.
  14   Plaintiffs also require employees to sign agreements precluding the employees
  15   from disclosing or making use of any confidential information except as
  16   authorized by Plaintiffs and as necessary for the performance of the employees’
  17   duties. Plaintiffs also require third parties, including customers, to execute
  18   confidential non-disclosure agreements. Plaintiffs implemented such policies
  19   and procedures to maintain the confidentiality of sensitive information. These
  20   policies remain in place today.
  21         19.    In 2013, Apple contacted Masimo and asked to meet regarding a
  22   potential collaboration. Apple told Masimo that Apple would like to understand
  23   more about Masimo’s technology to potentially integrate that technology into
  24   Apple’s products.    Apple and Masimo later entered into a confidentiality
  25   agreement, and Masimo’s management met with Apple. The meetings included
  26   confidential discussions of Masimo’s technology.       After what seemed to
  27   Masimo to have been productive meetings, Apple quickly began trying to hire
  28   Masimo employees, including engineers and key management.
                                             -6-


                                                                                          Exhibit B
                                                                                              -13-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 8 of 208 Page ID
                                  #:49368
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 7 of 207 Page ID
                                  #:25344



   1         20.       Masimo employed Michael O’Reilly as its Chief Medical Officer
   2   and Executive Vice President for Medical Affairs beginning in January 2008.
   3   As part of the Masimo executive team, O’Reilly was privy to extremely
   4   sensitive information, including information about mobile medical products and
   5   applications, wellness applications, clinical data gathering and analytics, and
   6   other technology of Masimo. Upon information and belief, Apple employed
   7   O’Reilly in July 2013, shortly after the meetings with Masimo, to assist in
   8   wellness and mobile applications that include non-invasive measurement of
   9   physiological parameters. Not long after, by December of 2013, O’Reilly was
  10   already meeting with the FDA on behalf of Apple to discuss medical
  11   applications and discuss medical products that non-invasively measures blood
  12   constituents.
  13         21.       Apple systematically recruited other key Masimo personnel, such
  14   as Marcelo Lamego, who was the former Chief Technical Officer of Cercacor
  15   and a former Research Scientist at Masimo. Lamego was a Masimo employee
  16   during 2000-2001 and 2003-2006, and the Cercacor Chief Technical Officer
  17   during 2006-2014.
  18         22.       Lamego had unfettered access to Plaintiffs’ highly confidential
  19   technical information. He was trained and mentored at Masimo by the most
  20   skilled engineers and scientists, and was taught about the keys to effective non-
  21   invasive monitoring, something he was not involved in prior to Masimo.
  22   Masimo engineers and scientists taught Lamego about non-invasive monitoring,
  23   including, among others, Ammar Al-Ali, Mohamed Diab, and Walter Weber.
  24   The Masimo engineers, including Al-Ali, Diab, and Weber, were Masimo
  25   employees at all relevant times.       Lamego also had access to and learned
  26   guarded secrets regarding Plaintiffs’ mobile medical products, including key
  27   technology and advance plans for future products.
  28

                                               -7-


                                                                                           Exhibit B
                                                                                               -14-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 9 of 208 Page ID
                                  #:49369
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 8 of 207 Page ID
                                  #:25345



   1         23.    When Lamego left Cercacor, he assured Plaintiffs that he would
   2   not violate his agreements with Plaintiffs and volunteered that he would not
   3   work on technology similar to Plaintiffs’ technology. On January 24, 2014,
   4   Plaintiffs sent a letter to Defendant explaining that Lamego possessed Plaintiffs’
   5   confidential proprietary information and warning Apple to respect Plaintiffs’
   6   rights in such information. The letter stated “we trust that Apple will employ
   7   Mr. Lamego in an area that does not involve healthcare technology, including
   8   mobile health applications and the measurement of physiological information.”
   9   The letter also asked that “Apple refrain from inducing Mr. Lamego to take
  10   actions that would violate the Agreement while he performs services for Apple”
  11   and asked Apple to “direct Mr. Lamego to honor his obligations to all of his
  12   prior employers.” Based on Plaintiffs’ conversations with Lamego, Plaintiffs’
  13   letter to Apple, and Plaintiffs’ confidentiality agreement with Apple, Plaintiffs
  14   reasonably believed that Lamego would not use or disclose Plaintiffs’
  15   confidential information and that Defendant would not induce Lamego to do so
  16   or itself use Plaintiffs’ confidential information.
  17         24.    Unbeknownst to Plaintiffs at the time, it now appears that, shortly
  18   after joining Apple in January 2014, Lamego began pursuing on behalf of Apple
  19   numerous patent applications directed toward technologies he worked on at
  20   Plaintiffs, and with which he had no prior experience or knowledge.
  21         25.    Upon information and belief, Apple announced the first version of
  22   its watch in September 2014, and began shipping its watch in April 2015. The
  23   Apple Watch Series 3 was released on September 22, 2017, and upon
  24   information and belief had significant performance issues with the non-invasive
  25   physiological measurements. Apple announced the Apple Watch Series 4 on
  26   September 12, 2018, and upon information and belief, that watch includes
  27   technology that tracks Plaintiffs’ technologies to solve some of the performance
  28   issues. The Apple Watch Series 5 was announced on September 10, 2019 and
                                                -8-


                                                                                            Exhibit B
                                                                                                -15-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 10 of 208 Page ID
                                  #:49370
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 9 of 207 Page ID
                                  #:25346



   1   released on September 20, 2019. Upon information and belief, the Apple Watch
   2   Series 5 also includes Plaintiffs’ technologies to solve some of the prior
   3   performance issues, including technology as to which Lamego was an inventor
   4   while at Plaintiffs. The Apple Watch Series 6 and Series SE were announced on
   5   September 15, 2020, and released on September 18, 2020. Upon information
   6   and belief, the Apple Watch Series 6 and Series SE also includes Plaintiffs’
   7   technologies to solve some of the prior performance issues, including
   8   technology as to which Lamego was an inventor while at Plaintiffs.
   9         26.    As set forth in detail below, and on information and belief, each
  10   portion of evidence cited by Plaintiffs, such as the selected portions of Apple
  11   patent applications and Apple websites, accurately portrays, in relevant part, the
  12   structure, design, function and/or operation of the Apple Watch devices.
  13                            V. THE PATENTS-IN-SUIT
  14         27.    Masimo is the owner by assignment of U.S. Patent No. 10,258,265
  15   entitled “Multi-stream data collection system for noninvasive measurement of
  16   blood constituents” (“the ’265 patent”), which the United States Patent and
  17   Trademark Office lawfully and duly issued on April 16, 2019.
  18         28.    Masimo is the owner by assignment of U.S. Patent No. 10,292,628
  19   entitled “Multi-stream data collection system for noninvasive measurement of
  20   blood constituents” (“the ’628 patent”), which the United States Patent and
  21   Trademark Office lawfully and duly issued on May 21, 2019.
  22         29.    Masimo is the owner by assignment of U.S. Patent No. 10,588,553
  23   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
  24   of Blood Constituents” (“the ’553 patent”), which the United States Patent and
  25   Trademark Office lawfully and duly issued on March 17, 2020.
  26         30.    Masimo is the owner by assignment of U.S. Patent No. 10,588,554
  27   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
  28

                                              -9-


                                                                                            Exhibit B
                                                                                                -16-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 11 of 208 Page ID
                                  #:49371
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 10 of 207 Page ID
                                  #:25347



    1   of Blood Constituents” (“the ’554 patent”), which the United States Patent and
    2   Trademark Office lawfully and duly issued on March 17, 2020.
    3         31.   Masimo is the owner by assignment of U.S. Patent No. 10,624,564
    4   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
    5   of Blood Constituents” (“the ’564 patent”), which the United States Patent and
    6   Trademark Office lawfully and duly issued on April 21, 2020.
    7         32.   Masimo is the owner by assignment of U.S. Patent No. 10,631,765
    8   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
    9   of Blood Constituents” (“the ’765 patent”), which the United States Patent and
   10   Trademark Office lawfully and duly issued on April 28, 2020.
   11         33.   Masimo is the owner by assignment of U.S. Patent No. 10,702,194
   12   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
   13   of Blood Constituents” (“the ’194 patent”), which the United States Patent and
   14   Trademark Office lawfully and duly issued on July 7, 2020.
   15         34.   Masimo is the owner by assignment of U.S. Patent No. 10,702,195
   16   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
   17   of Blood Constituents” (“the ’195 patent”), which the United States Patent and
   18   Trademark Office lawfully and duly issued on July 7, 2020.
   19         35.   Masimo is the owner by assignment of U.S. Patent No. 10,709,366
   20   entitled “Multi-Stream Data Collection System For Noninvasive Measurement
   21   of Blood Constituents” (“the ’366 patent”), which the United States Patent and
   22   Trademark Office lawfully and duly issued on July 14, 2020.
   23         36.   Masimo is the owner by assignment of U.S. Patent No. 6,771,994
   24   entitled “Pulse oximeter probe-off detection system” (“the ’994 patent”), which
   25   the United States Patent and Trademark Office lawfully and duly issued on
   26   August 3, 2004.
   27

   28

                                             -10-


                                                                                          Exhibit B
                                                                                              -17-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 12 of 208 Page ID
                                  #:49372
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 11 of 207 Page ID
                                    #:25348




                                                                                    Exhibit B
                                                                                        -18-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 13 of 208 Page ID
                                  #:49373
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 12 of 207 Page ID
                                  #:25349



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                          -12-


                                                                                  Exhibit B
                                                                                      -19-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 14 of 208 Page ID
                                  #:49374
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 13 of 207 Page ID
                                  #:25350



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                          -13-


                                                                                  Exhibit B
                                                                                      -20-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 15 of 208 Page ID
                                  #:49375
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 14 of 207 Page ID
                                    #:25351




                                                                                    Exhibit B
                                                                                        -21-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 16 of 208 Page ID
                                  #:49376
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 15 of 207 Page ID
                                    #:25352




                                                                                    Exhibit B
                                                                                        -22-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 17 of 208 Page ID
                                  #:49377
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 16 of 207 Page ID
                                    #:25353




                                                                                    Exhibit B
                                                                                        -23-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 18 of 208 Page ID
                                  #:49378
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 17 of 207 Page ID
                                    #:25354




                                                                                    Exhibit B
                                                                                        -24-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 19 of 208 Page ID
                                  #:49379
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 18 of 207 Page ID
                                    #:25355




                                                                                    Exhibit B
                                                                                        -25-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 20 of 208 Page ID
                                  #:49380
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 19 of 207 Page ID
                                    #:25356




                                                                                    Exhibit B
                                                                                        -26-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 21 of 208 Page ID
                                  #:49381
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 20 of 207 Page ID
                                  #:25357



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                          -20-


                                                                                  Exhibit B
                                                                                      -27-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 22 of 208 Page ID
                                  #:49382
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 21 of 207 Page ID
                                    #:25358




                                                                                    Exhibit B
                                                                                        -28-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 23 of 208 Page ID
                                  #:49383
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 22 of 207 Page ID
                                  #:25359



    1   Demodulation Techniques for a Health Monitoring System.”                 A related
    2   application that names Lamego as the sole inventor includes U.S Patent
    3   Application No. 14/621,268, which issued as U.S. Patent No. 10,219,754.
    4         49.    Lamego is also named as an inventor on U.S. Provisional Patent
    5   Application No. 62/056,299, filed on Sep. 26, 2014, and entitled “Electronic
    6   Device that Computes Health Data.”         Related applications that also name
    7   Lamego as the sole inventor include U.S Patent Application Nos. 14/617,422,
    8   15/667,832, and 16/700,710. The ’422 Application issued as U.S. Patent No.
    9   9,723,997 and the ’832 Application issued as U.S. Patent No. 10,524,671.
   10         50.    Lamego is also named as an inventor on U.S. Provisional Patent
   11   Application No. 62/057,089, filed on Sep. 29, 2014, and entitled “Methods and
   12   Systems for Modulation and Demodulation of Optical Signals.”               Related
   13   applications that also name Lamego as an inventor include U.S Patent
   14   Application Nos. 14/618,664 and 15/960,507. The ’664 Application issued as
   15   U.S. Patent No. 9,952,095.
   16                         VIII. FIRST CAUSE OF ACTION
   17               (INFRINGEMENT OF U.S. PATENT NO. 10,258,265)
   18         51.    Plaintiff Masimo hereby realleges and incorporates by reference
   19   the allegations set forth in paragraphs 1 through 50.
   20         52.    Upon information and belief, Defendant’s products, including at
   21   least the Apple Watch Series 4 and later devices, infringe at least Claims 1-3, 6-
   22   11, 13, 16-25 of the ’265 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   23         53.    Upon information and belief, Defendant has directly infringed one
   24   or more claims of the ’265 patent through manufacture, use, sale, offer for sale,
   25   and/or importation into the United States of physiological monitors, including
   26   the Apple Watch Series 4 and later devices.
   27         54.    For example, upon information and belief, in operation, the Apple
   28   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
                                               -22-


                                                                                             Exhibit B
                                                                                                 -29-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 24 of 208 Page ID
                                  #:49384
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 23 of 207 Page ID
                                  #:25360



    1   ’265 patent as set forth herein and further illustrated in the claim chart shown in
    2   Exhibit 1. The Apple Watch Series 4 and later devices are adapted to be worn
    3   by a wearer and provide an indication of a physiological parameter (for
    4   example, heart rate) of the wearer as shown in the image below found on the
    5   Apple website at https://www.apple.com/apple-watch-series-4/health/:
    6

    7

    8

    9

   10
   11
   12
   13

   14
   15   Upon information and belief, relevant technology in the Apple Watch Series 4
   16   and later devices is described in International Application Publication
   17   WO 2018/226305 (the ’305 publication). For example, the Apple Watch Series
   18   4 and later devices provide an indication of a physiological parameter of the
   19   wearer as described in the ’305 publication at paragraphs [0055]-[0061].
   20         55.    The Apple Watch Series 4 and later devices include a plurality of
   21   emitters of different wavelengths (for example, green and infrared LEDs) and at
   22   least four detectors (for example, photodiode sensors) spaced apart from each
   23   other as shown in the image below found on the Apple website at
   24   https://support.apple.com/en-us/HT204666:
   25

   26

   27

   28

                                               -23-


                                                                                              Exhibit B
                                                                                                  -30-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 25 of 208 Page ID
                                  #:49385
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 24 of 207 Page ID
                                  #:25361



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
              56.    The detectors output signals responsive to light from the light

   12
        emitters attenuated by body tissue. Upon information and belief, the signals are

   13
        indicative of a physiological parameter (for example, heart rate) of the wearer.

   14
              57.    Upon information and belief, relevant technology in the Apple

   15
        Watch Series 4 and later devices is described in the below citation to U.S. Patent

   16
        Application Publication 2019/0072912 (the ’912 publication).          The Apple

   17
        Watch Series 4 and later devices include a housing having a surface and a

   18
        circular wall protruding from the surface, and a light permeable cover arranged

   19
        above a portion of the housing and covering the detectors. Fig. 4C and the

   20
        corresponding text of the ’912 publication show, for example, such housing:

   21

   22

   23

   24
   25

   26

   27

   28

                                               -24-


                                                                                             Exhibit B
                                                                                                 -31-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 26 of 208 Page ID
                                  #:49386
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 25 of 207 Page ID
                                  #:25362



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
              58.    Upon information and belief, Defendant has knowledge of
   16
        Masimo’s patents, including the ’265 patent, at least based on O’Reilly and
   17
        Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
   18
        applications that led to the ’265 patent in August 2008, while O’Reilly and
   19
        Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
   20
        the ’265 patent. Defendant had knowledge of the ’265 patent no later than the
   21
        filing of the original Complaint.
   22
              59.    Upon information and belief, Defendant has actively induced
   23
        others to infringe the ’265 patent by marketing and selling the above Apple
   24
        Watch Series 4 and later devices, knowing and intending that such systems
   25
        would be used by customers and end users in a manner that infringes the
   26
        ’265 patent. To that end, Defendant provides instructions and teachings to its
   27
        customers and end users that such Apple Watch Series 4 and later devices be
   28

                                            -25-


                                                                                         Exhibit B
                                                                                             -32-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 27 of 208 Page ID
                                  #:49387
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 26 of 207 Page ID
                                  #:25363



    1   used to infringe the ’265 patent. Defendant’s acts constitute infringement of the
    2   ’265 patent in violation of 35 U.S.C. § 271(b).
    3         60.    Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’265 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’265 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    9   Upon information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         61.    Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’265 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and later devices and Apple iPhones that constitute material parts of the
   17   invention of the asserted claims of the ’265 patent, are not staple articles or
   18   commodities of commerce suitable for substantial non-infringing use and are
   19   known by Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’265 patent.
   21         62.    Defendant’s infringement of the ’265 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’265 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         63.    Because of Defendant’s infringement of the ’265 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28

                                              -26-


                                                                                             Exhibit B
                                                                                                 -33-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 28 of 208 Page ID
                                  #:49388
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 27 of 207 Page ID
                                  #:25364



    1         64.     Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                        IX. SECOND CAUSE OF ACTION
    6                (INFRINGEMENT OF U.S. PATENT NO. 10,292,628)
    7         65.     Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 50.
    9         66.     Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
   11   ’628 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         67.     Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’628 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and later devices.
   16         68.     For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
   18   ’628 patent as set forth herein and further illustrated in the claim chart shown in
   19   Exhibit 1.
   20         69.     The Apple Watch Series 4 and later devices include a housing
   21   configured to house a plurality of detectors. Fig. 4C and the corresponding text
   22   of the ’912 publication show, for example, such housing:
   23

   24
   25

   26

   27

   28

                                               -27-


                                                                                              Exhibit B
                                                                                                  -34-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 29 of 208 Page ID
                                  #:49389
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 28 of 207 Page ID
                                  #:25365



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
                70.   The Apple Watch Series 4 and later devices include a plurality of
   16
        emitters that emit light into tissue of a user and a plurality of detectors that
   17
        detect light that has been attenuated by tissue of the user as shown in the image
   18
        below     found   on   the   Apple   website   at   https://support.apple.com/en-
   19
        us/HT204666:
   20
   21

   22

   23

   24
   25

   26

   27

   28

                                              -28-


                                                                                            Exhibit B
                                                                                                -35-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 30 of 208 Page ID
                                  #:49390
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 29 of 207 Page ID
                                  #:25366



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
              71.    The Apple Watch Series 4 and later devices include a light

   12
        permeable cover configured to be located between tissue of the user and the

   13
        plurality of detectors when the noninvasive optical physiological sensor is worn

   14
        by the user, wherein the cover comprises an outwardly protruding convex

   15
        surface configured to cause tissue of the user to conform to at least a portion of

   16
        the outwardly protruding convex surface when the noninvasive optical

   17
        physiological sensor is worn by the user and during operation of the noninvasive

   18
        optical physiological sensor, and wherein the plurality of detectors are

   19
        configured to receive light passed through the outwardly protruding convex

   20
        surface after attenuation by tissue of the user. Fig. 4C and the corresponding

   21
        text of the ’912 publication show, for example, such cover:

   22

   23

   24
   25

   26

   27

   28

                                              -29-


                                                                                             Exhibit B
                                                                                                 -36-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 31 of 208 Page ID
                                  #:49391
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 30 of 207 Page ID
                                  #:25367



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
              72.    Upon information and belief, Defendant has knowledge of
   15
        Masimo’s patents, including the ’628 patent, at least based on O’Reilly and
   16
        Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
   17
        applications that led to the ’628 patent in August 2008, while O’Reilly and
   18
        Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
   19
        the ’628 patent. Defendant had knowledge of the ’628 patent no later than the
   20
        filing of the original Complaint.
   21
              73.    Upon information and belief, Defendant has actively induced
   22
        others to infringe the ’628 patent by marketing and selling the above Apple
   23
        Watch Series 4 and later devices, knowing and intending that such systems
   24
        would be used by customers and end users in a manner that infringes the
   25
        ’628 patent. To that end, Defendant provides instructions and teachings to its
   26
        customers and end users that such Apple Watch Series 4 and later devices be
   27

   28

                                            -30-


                                                                                         Exhibit B
                                                                                             -37-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 32 of 208 Page ID
                                  #:49392
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 31 of 207 Page ID
                                  #:25368



    1   used to infringe the ’628 patent. Defendant’s acts constitute infringement of the
    2   ’628 patent in violation of 35 U.S.C. § 271(b).
    3         74.    Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’628 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’628 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    9   Upon information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         75.    Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’628 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and later devices and Apple iPhones that constitute material parts of the
   17   invention of the asserted claims of the ’628 patent, are not staple articles or
   18   commodities of commerce suitable for substantial non-infringing use, and are
   19   known by Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’628 patent.
   21         76.    Defendant’s infringement of the ’628 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’628 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         77.    Because of Defendant’s infringement of the ’628 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28

                                              -31-


                                                                                             Exhibit B
                                                                                                 -38-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 33 of 208 Page ID
                                  #:49393
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 32 of 207 Page ID
                                  #:25369



    1         78.    Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                          X. THIRD CAUSE OF ACTION
    6               (INFRINGEMENT OF U.S. PATENT NO. 10,588,553)
    7         79.    Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 50.
    9         80.    Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
   11   ’553 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         81.    Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’553 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and later devices.
   16         82.    For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
   18   ’553 patent as set forth herein and further illustrated in the claim chart shown in
   19   Exhibit 1. The Apple Watch Series 4 and later devices are noninvasive optical
   20   physiological sensor devices as shown in the image below found on the Apple
   21   website at https://www.apple.com/apple-watch-series-4/health/:
   22

   23

   24
   25

   26

   27

   28

                                               -32-


                                                                                              Exhibit B
                                                                                                  -39-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 34 of 208 Page ID
                                  #:49394
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 33 of 207 Page ID
                                  #:25370



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10         83.    The Apple Watch Series 4 and later devices include a plurality of
   11   emitters configured to emit light into tissue of a user, and at least four detectors,
   12   wherein at least one of the at least four detectors is configured to detect light
   13   that has been attenuated by tissue of the user, and wherein the at least four
   14   detectors are arranged on a substrate as shown in the image below found on the
   15   Apple website at https://support.apple.com/en-us/HT204666:
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26         84.    The detectors output signals responsive to light from the light
   27   emitters attenuated by body tissue. Upon information and belief, the signals are
   28   indicative of a physiological parameter (for example, heart rate) of the wearer.
                                                -33-


                                                                                                Exhibit B
                                                                                                    -40-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 35 of 208 Page ID
                                  #:49395
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 34 of 207 Page ID
                                  #:25371



    1         85.    Upon information and belief, relevant technology in the Apple
    2   Watch Series 4 and later devices is described in the below citation to U.S. Patent
    3   Application Publication 2019/0072912 (the ’912 publication).          The Apple
    4   Watch Series 4 and later devices include a wall configured to circumscribe at
    5   least the at least four detectors and a cover configured to be located between
    6   tissue of the user and the at least four detectors when the noninvasive optical
    7   physiological sensor is worn by the user, wherein the cover comprises a single
    8   protruding convex surface operable to conform tissue of the user to at least a
    9   portion of the single protruding convex surface when the noninvasive optical
   10   physiological sensor is worn by the user, and wherein the wall operably
   11   connects to the substrate and the cover. Fig. 4C and the corresponding text of
   12   the ’912 publication show, for example, such wall and cover:
   13

   14
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                              -34-


                                                                                             Exhibit B
                                                                                                 -41-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 36 of 208 Page ID
                                  #:49396
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 35 of 207 Page ID
                                  #:25372



    1         86.    Upon information and belief, Defendant has knowledge of
    2   Masimo’s patents, including the ’553 patent, at least based on O’Reilly and
    3   Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
    4   applications that led to the ’553 patent in August 2008, while O’Reilly and
    5   Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
    6   the ’553 patent. Defendant had knowledge of the ’553 patent no later than the
    7   filing of the First Amended Complaint.
    8         87.    Upon information and belief, Defendant has actively induced
    9   others to infringe the ’553 patent by marketing and selling the above Apple
   10   Watch Series 4 and later devices, knowing and intending that such systems
   11   would be used by customers and end users in a manner that infringes the
   12   ’553 patent. To that end, Defendant provides instructions and teachings to its
   13   customers and end users that such Apple Watch Series 4 and later devices be
   14   used to infringe the ’553 patent. Defendant’s acts constitute infringement of the
   15   ’553 patent in violation of 35 U.S.C. § 271(b).
   16         88.    Upon information and belief, Defendant actively induces users to
   17   directly infringe the asserted claims of the ’553 patent. By way of example
   18   only, upon information and belief, Defendant actively induces direct
   19   infringement of the ’553 patent by providing directions, demonstrations, guides,
   20   manuals, training for use, and/or other materials necessary for the use of the
   21   Apple Watch Series 4 and later devices, including use with Apple iPhones.
   22   Upon information and belief, Defendant knew or should have known that these
   23   activities would cause direct infringement.
   24         89.    Upon information and belief, Defendant’s acts constitute
   25   contributory infringement of the ’553 patent in violation of 35 U.S.C. § 271(c).
   26   Upon information and belief, Defendant contributorily infringes because, among
   27   other things, Defendant offers to sell and/or sells within the United States,
   28   and/or imports into the United States, components of the Apple Watch Series 4
                                              -35-


                                                                                            Exhibit B
                                                                                                -42-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 37 of 208 Page ID
                                  #:49397
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 36 of 207 Page ID
                                  #:25373



    1   and later devices and Apple iPhones that constitute material parts of the
    2   invention of the asserted claims of the ’553 patent, are not staple articles or
    3   commodities of commerce suitable for substantial non-infringing use and are
    4   known by Defendant to be especially made or especially adapted for use in an
    5   infringement of the ’553 patent.
    6         90.    Defendant’s infringement of the ’553 patent is willful, deliberate,
    7   and intentional by continuing its acts of infringement after becoming aware of
    8   the ’553 patent and its infringement thereof, thus acting in reckless disregard of
    9   Masimo’s patent rights.
   10         91.    Because of Defendant’s infringement of the ’553 patent, Masimo
   11   has suffered and will continue to suffer irreparable harm and injury, including
   12   monetary damages in an amount to be determined at trial.
   13         92.    Upon information and belief, unless enjoined, Defendant, and/or
   14   others acting on behalf of Defendant, will continue their infringing acts, thereby
   15   causing additional irreparable injury to Masimo for which there is no adequate
   16   remedy at law.
   17                        XI. FOURTH CAUSE OF ACTION
   18               (INFRINGEMENT OF U.S. PATENT NO. 10,588,554)
   19         93.    Plaintiff Masimo hereby realleges and incorporates by reference
   20   the allegations set forth in paragraphs 1 through 50.
   21         94.    Upon information and belief, Defendant’s products, including at
   22   least the Apple Watch Series 4 and later devices, infringe at least Claim 20 of
   23   the ’554 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   24         95.    Upon information and belief, Defendant has directly infringed one
   25   or more claims of the ’554 patent through manufacture, use, sale, offer for sale,
   26   and/or importation into the United States of physiological monitors, including
   27   the Apple Watch Series 4 and later devices.
   28

                                               -36-


                                                                                             Exhibit B
                                                                                                 -43-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 38 of 208 Page ID
                                  #:49398
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 37 of 207 Page ID
                                  #:25374



    1         96.    For example, upon information and belief, in operation, the Apple
    2   Watch Series 4 and later devices in combination with iPhone devices include all
    3   of the limitations of Claim 20 of the ’554 patent as set forth herein and further
    4   illustrated in the claim chart shown in Exhibit 1. The Apple Watch Series 4 and
    5   later devices combined with Apple iPhones are physiological measurement
    6   systems with physiological sensors as shown in the image below found on the
    7   Apple website at https://www.apple.com/apple-watch-series-4/health/:
    8

    9

   10
   11
   12
   13

   14
   15
   16

   17         97.    The Apple Watch Series 4 and later devices include a plurality of
   18   emitters configured to emit light into tissue of a user, and at least four detectors,
   19   wherein each of the at least four detectors has a corresponding window that
   20   allows light to pass through to the detector as shown in the image below found
   21   on the Apple website at https://support.apple.com/en-us/HT204666:
   22

   23

   24
   25

   26

   27

   28

                                                -37-


                                                                                                Exhibit B
                                                                                                    -44-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 39 of 208 Page ID
                                  #:49399
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 38 of 207 Page ID
                                  #:25375



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
              98.    The detectors output signals responsive to light from the light

   12
        emitters attenuated by body tissue. Upon information and belief, the signals are

   13
        indicative of a physiological parameter (for example, heart rate) of the wearer.

   14
        Upon information and belief, relevant technology in the Apple Watch Series 4

   15
        and later devices is described in International Application Publication WO

   16
        2018/226305 (the ’305 publication), for example, at paragraphs [0055]-[0061].

   17
              99.    Upon information and belief, relevant technology in the Apple

   18
        Watch Series 4 and later devices is described in the below citation to U.S. Patent

   19
        Application Publication 2019/0072912 (the ’912 publication).          The Apple

   20
        Watch Series 4 and later devices include a wall that surrounds at least the at

   21
        least four detectors, a cover comprising a single protruding convex surface,

   22
        wherein the single protruding convex surface is configured to be located

   23
        between tissue of the user and the at least four detectors when the physiological

   24
        sensor device is worn by the user, wherein at least a portion of the single

   25   protruding convex surface is sufficiently rigid to cause tissue of the user to

   26   conform to at least a portion of a shape of the single protruding convex surface

   27   when the physiological sensor device is worn by the user, and wherein the cover

   28

                                              -38-


                                                                                             Exhibit B
                                                                                                 -45-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 40 of 208 Page ID
                                  #:49400
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 39 of 207 Page ID
                                  #:25376



    1   operably connects to the wall. Fig. 4C and the corresponding text of the ’912
    2   publication show, for example, such wall and cover:
    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
   16

   17
              100. The Apple Watch Series 4 and later devices communicate
   18
        wirelessly with handheld computing devices as shown in the image below found
   19
        on the Apple website at https://support.apple.com/en-us/HT204666 and as
   20
        further described at https://support.apple.com/en-us/HT204505:
   21

   22

   23

   24
   25

   26

   27

   28

                                             -39-


                                                                                        Exhibit B
                                                                                            -46-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 41 of 208 Page ID
                                  #:49401
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 40 of 207 Page ID
                                  #:25377



    1

    2

    3

    4

    5

    6

    7

    8

    9         101. Upon information and belief, Defendant has knowledge of
   10   Masimo’s patents, including the ’554 patent, at least based on O’Reilly and
   11   Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
   12   applications that led to the ’554 patent in August 2008, while O’Reilly and
   13   Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
   14   the ’554 patent. Defendant had knowledge of the ’554 patent no later than the
   15   filing of the First Amended Complaint.
   16         102. Upon information and belief, Defendant has actively induced
   17   others to infringe the ’554 patent by marketing and selling the above Apple
   18   Watch Series 4 and later devices, knowing and intending that such systems
   19   would be used by customers and end users in a manner that infringes the
   20   ’554 patent. To that end, Defendant provides instructions and teachings to its
   21   customers and end users that such Apple Watch Series 4 and later devices be
   22   used to infringe the ’554 patent. Defendant’s acts constitute infringement of the
   23   ’554 patent in violation of 35 U.S.C. § 271(b).
   24         103. Upon information and belief, Defendant actively induces users to
   25   directly infringe the asserted claims of the ’554 patent. By way of example
   26   only, upon information and belief, Defendant actively induces direct
   27   infringement of the ’554 patent by providing directions, demonstrations, guides,
   28   manuals, training for use, and/or other materials necessary for the use of the
                                             -40-


                                                                                            Exhibit B
                                                                                                -47-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 42 of 208 Page ID
                                  #:49402
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 41 of 207 Page ID
                                  #:25378



    1   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    2   Upon information and belief, Defendant knew or should have known that these
    3   activities would cause direct infringement.
    4         104. Upon information and belief, Defendant’s acts constitute
    5   contributory infringement of the ’554 patent in violation of 35 U.S.C. § 271(c).
    6   Upon information and belief, Defendant contributorily infringes because, among
    7   other things, Defendant offers to sell and/or sells within the United States,
    8   and/or imports into the United States, components of the Apple Watch Series 4
    9   and later devices and Apple iPhones that constitute material parts of the
   10   invention of the asserted claims of the ’554 patent, are not staple articles or
   11   commodities of commerce suitable for substantial non-infringing use and are
   12   known by Defendant to be especially made or especially adapted for use in an
   13   infringement of the ’554 patent.
   14         105. Defendant’s infringement of the ’554 patent is willful, deliberate,
   15   and intentional by continuing its acts of infringement after becoming aware of
   16   the ’554 patent and its infringement thereof, thus acting in reckless disregard of
   17   Masimo’s patent rights.
   18         106. Because of Defendant’s infringement of the ’554 patent, Masimo
   19   has suffered and will continue to suffer irreparable harm and injury, including
   20   monetary damages in an amount to be determined at trial.
   21         107. Upon information and belief, unless enjoined, Defendant, and/or
   22   others acting on behalf of Defendant, will continue their infringing acts, thereby
   23   causing additional irreparable injury to Masimo for which there is no adequate
   24   remedy at law.
   25                         XII. FIFTH CAUSE OF ACTION
   26              (INFRINGEMENT OF U.S. PATENT NO. 10,624,564)
   27         108. Plaintiff Masimo hereby realleges and incorporates by reference
   28   the allegations set forth in paragraphs 1 through 50.
                                               -41-


                                                                                             Exhibit B
                                                                                                 -48-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 43 of 208 Page ID
                                  #:49403
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 42 of 207 Page ID
                                  #:25379



    1         109. Upon information and belief, Defendant’s products, including at
    2   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
    3   ’564 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    4         110. Upon information and belief, Defendant has directly infringed one
    5   or more claims of the ’564 patent through manufacture, use, sale, offer for sale,
    6   and/or importation into the United States of physiological monitors, including
    7   the Apple Watch Series 4 and later devices and the iPhone devices.
    8         111. For example, upon information and belief, in operation, the Apple
    9   Watch Series 4 and later devices in combination with iPhone devices include all
   10   of the limitations of Claim 1 of the ’564 patent as set forth herein and further
   11   illustrated in the claim chart shown in Exhibit 1. The Apple Watch Series 4 and
   12   later devices are user-worn physiological measurement devices as shown in the
   13   image below found on the Apple website at https://www.apple.com/apple-
   14   watch-series-4/health/:
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24         112. The Apple Watch Series 4 and later devices include one or more
   25   emitters configured to emit light into tissue of a user and at least four detectors
   26   arranged on a substrate as shown in the image below found on the Apple
   27   website at https://support.apple.com/en-us/HT204666:
   28

                                               -42-


                                                                                              Exhibit B
                                                                                                  -49-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 44 of 208 Page ID
                                  #:49404
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 43 of 207 Page ID
                                  #:25380



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
                 113. The detectors output signals responsive to light from the light

   12
        emitters attenuated by body tissue. Upon information and belief, the signals are

   13
        indicative of a physiological parameter (for example, heart rate) of the wearer.

   14
                 114. Upon information and belief, relevant technology in the Apple

   15
        Watch Series 4 and later devices is described in the below citation to U.S. Patent

   16
        Application Publication 2019/0072912 (the ’912 publication).          The Apple

   17
        Watch Series 4 and later devices include a wall that surrounds at least the at

   18
        least four detectors and that operably connects to the substrate and a cover

   19
        comprising a protruding convex surface, wherein the protruding convex surface

   20
        extends over all of the at least four detectors arranged on the substrate, wherein

   21
        at least a portion of the protruding convex surface is rigid. Fig. 4C and the

   22
        corresponding text of the ’912 publication show, for example, such wall and

   23
        cover:

   24
   25

   26

   27

   28

                                               -43-


                                                                                             Exhibit B
                                                                                                 -50-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 45 of 208 Page ID
                                  #:49405
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 44 of 207 Page ID
                                  #:25381



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
              115. The Apple Watch Series 4 and later devices include one or more
   16
        processors configured to receive one or more signals from at least one of the at
   17
        least four detectors, the one or more signals responsive to at least a
   18
        physiological parameter of the user; and process the one or more signals to
   19
        determine measurements of the physiological parameter. Further, the Apple
   20
        Watch Series 4 and later devices include a network interface configured to
   21
        communicate with a mobile phone and a touch-screen display configured to
   22
        provide a user interface where the user interface is configured to display indicia
   23
        responsive to the measurements of the physiological parameter, a storage device
   24
        configured to at least temporarily store at least the measurements of the
   25
        physiological parameter, and a strap configured to position the physiological
   26
        measurement device on the user as shown in the image below found on the
   27

   28

                                              -44-


                                                                                             Exhibit B
                                                                                                 -51-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 46 of 208 Page ID
                                  #:49406
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 45 of 207 Page ID
                                  #:25382



    1   Apple website at https://support.apple.com/en-us/HT204666 and as further
    2   described at https://support.apple.com/en-us/HT204505:
    3

    4

    5

    6

    7

    8

    9

   10
   11         116. The Apple Watch Series 4 and later devices have an orientation of
   12   the user interface that is configurable responsive to a user input as described on
   13   the Apple website at https://support.apple.com/guide/watch/change-language-
   14   orientation-apple-watch-apd0bf18f46b/watchos.
   15         117. Upon information and belief, Defendant has knowledge of
   16   Masimo’s patents, including the ’564 patent, at least based on O’Reilly and
   17   Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
   18   applications that led to the ’564 patent in August 2008, while O’Reilly and
   19   Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
   20   the ’564 patent. Defendant had knowledge of the ’564 patent no later than the
   21   filing of this Second Amended Complaint.
   22         118. Upon information and belief, Defendant has actively induced
   23   others to infringe the ’564 patent by marketing and selling the above Apple
   24   Watch Series 4 and later devices, knowing and intending that such systems
   25   would be used by customers and end users in a manner that infringes the
   26   ’564 patent. To that end, Defendant provides instructions and teachings to its
   27   customers and end users that such Apple Watch Series 4 and later devices be
   28

                                              -45-


                                                                                             Exhibit B
                                                                                                 -52-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 47 of 208 Page ID
                                  #:49407
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 46 of 207 Page ID
                                  #:25383



    1   used to infringe the ’564 patent. Defendant’s acts constitute infringement of the
    2   ’564 patent in violation of 35 U.S.C. § 271(b).
    3         119. Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’564 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’564 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    9   Upon information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         120. Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’564 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and later devices and Apple iPhones that constitute material parts of the
   17   invention of the asserted claims of the ’564 patent, are not staple articles or
   18   commodities of commerce suitable for substantial non-infringing use and are
   19   known by Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’564 patent.
   21         121. Defendant’s infringement of the ’564 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’564 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         122. Because of Defendant’s infringement of the ’564 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28

                                              -46-


                                                                                             Exhibit B
                                                                                                 -53-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 48 of 208 Page ID
                                  #:49408
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 47 of 207 Page ID
                                  #:25384



    1         123. Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                         XIII. SIXTH CAUSE OF ACTION
    6              (INFRINGEMENT OF U.S. PATENT NO. 10,631,765)
    7         124. Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 50.
    9         125. Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
   11   ’765 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         126. Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’765 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and later devices and the iPhone devices.
   16         127. For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and later devices in combination with iPhone devices include all
   18   of the limitations of Claim 1 of the ’765 patent as set forth herein and further
   19   illustrated in the claim chart shown in Exhibit 1. The Apple Watch Series 4 and
   20   later devices in combination with iPhone devices are physiological measurement
   21   systems with physiological sensors as shown in the image below found on the
   22   Apple website at https://www.apple.com/apple-watch-series-4/health/:
   23

   24
   25

   26

   27

   28

                                               -47-


                                                                                             Exhibit B
                                                                                                 -54-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 49 of 208 Page ID
                                  #:49409
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 48 of 207 Page ID
                                  #:25385



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10         128. The Apple Watch Series 4 and later devices include one or more
   11   emitters configured to emit light into tissue of a user, and at least four detectors,
   12   wherein each of the at least four detectors has a corresponding window that
   13   allows light to pass through to the detector as shown in the image below found
   14   on the Apple website at https://support.apple.com/en-us/HT204666:
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25         129. The detectors output signals responsive to light from the light
   26   emitters attenuated by body tissue. Upon information and belief, the signals are
   27   indicative of a physiological parameter (for example, heart rate) of the wearer.
   28

                                                -48-


                                                                                                Exhibit B
                                                                                                    -55-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 50 of 208 Page ID
                                  #:49410
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 49 of 207 Page ID
                                  #:25386



    1         130. Upon information and belief, relevant technology in the Apple
    2   Watch Series 4 and later devices is described in the below citation to U.S. Patent
    3   Application Publication 2019/0072912 (the ’912 publication).          The Apple
    4   Watch Series 4 and later devices include a wall that surrounds at least the at
    5   least four detectors, a cover comprising a protruding convex surface above the
    6   detectors that is sufficiently rigid and operably connects to the wall. Fig. 4C
    7   and the corresponding text of the ’912 publication show, for example, such wall
    8   and cover:
    9

   10
   11
   12
   13

   14
   15
   16

   17
   18
   19

   20
   21

   22

   23
              131. The Apple Watch Series 4 and later devices include a storage
   24
        device configured to at least temporarily store at least the measurements of the
   25
        physiological parameter and communicate wirelessly with iPhone devices that
   26
        include a touch-screen display configured to provide a user interface to display
   27
        indicia responsive to measurements of the physiological parameter and one or
   28

                                              -49-


                                                                                             Exhibit B
                                                                                                 -56-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 51 of 208 Page ID
                                  #:49411
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 50 of 207 Page ID
                                  #:25387



    1   more processors configured to wirelessly receive one or more signals from the
    2   physiological sensor device, the one or more signals responsive to at least a
    3   physiological parameter of the user, and an orientation of the user interface is
    4   configurable responsive to a user input as shown in the image below found on
    5   the Apple website at https://support.apple.com/en-us/HT204666 and as further
    6   described at https://support.apple.com/en-us/HT204505:
    7

    8

    9

   10
   11
   12
   13

   14
   15         132. Upon information and belief, Defendant has knowledge of
   16   Masimo’s patents, including the ’765 patent, at least based on O’Reilly and
   17   Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
   18   applications that led to the ’765 patent in August 2008, while O’Reilly and
   19   Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
   20   the ’765 patent. Defendant had knowledge of the ’765 patent no later than the
   21   filing of this Second Amended Complaint.
   22         133. Upon information and belief, Defendant has actively induced
   23   others to infringe the ’765 patent by marketing and selling the above Apple
   24   Watch Series 4 and later devices, knowing and intending that such systems
   25   would be used by customers and end users in a manner that infringes the
   26   ’765 patent. To that end, Defendant provides instructions and teachings to its
   27   customers and end users that such Apple Watch Series 4 and later devices be
   28

                                             -50-


                                                                                           Exhibit B
                                                                                               -57-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 52 of 208 Page ID
                                  #:49412
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 51 of 207 Page ID
                                  #:25388



    1   used to infringe the ’765 patent. Defendant’s acts constitute infringement of the
    2   ’765 patent in violation of 35 U.S.C. § 271(b).
    3         134. Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’765 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’765 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    9   Upon information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         135. Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’765 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and later devices and Apple iPhones that constitute material parts of the
   17   invention of the asserted claims of the ’765 patent, are not staple articles or
   18   commodities of commerce suitable for substantial non-infringing use and are
   19   known by Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’765 patent.
   21         136. Defendant’s infringement of the ’765 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’765 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         137. Because of Defendant’s infringement of the ’765 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28

                                              -51-


                                                                                             Exhibit B
                                                                                                 -58-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 53 of 208 Page ID
                                  #:49413
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 52 of 207 Page ID
                                  #:25389



    1         138. Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                      XIV. SEVENTH CAUSE OF ACTION
    6              (INFRINGEMENT OF U.S. PATENT NO. 10,702,194)
    7         139. Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 50.
    9         140. Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
   11   ’194 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         141. Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’194 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and later devices.
   16         142. For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and later devices in combination with iPhone devices include all
   18   of the limitations of Claim 1 of the ’194 patent as set forth herein and further
   19   illustrated in the claim chart shown in Exhibit 1. The Apple Watch Series 4 and
   20   later devices in combination with iPhone devices are physiological measurement
   21   systems with physiological sensors as shown in the image below found on the
   22   Apple website at https://www.apple.com/apple-watch-series-4/health/:
   23

   24
   25

   26

   27

   28

                                               -52-


                                                                                             Exhibit B
                                                                                                 -59-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 54 of 208 Page ID
                                  #:49414
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 53 of 207 Page ID
                                  #:25390



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10         143. The Apple Watch Series 4 and later devices include one or more
   11   emitters configured to emit light into tissue of a user, and first and second sets
   12   of four photodiodes, wherein upon information and belief the photodiodes in
   13   each set are connected to one another in parallel to provide a two signal streams
   14   each of the at least photodiodes has a corresponding window that allows light to
   15   pass through to the photodiode as shown in the image below found on the Apple
   16   website at https://support.apple.com/en-us/HT204666:
   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27         144. The photodiodes output signals responsive to light from the light
   28   emitters attenuated by body tissue. Upon information and belief, the signals are
                                              -53-


                                                                                             Exhibit B
                                                                                                 -60-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 55 of 208 Page ID
                                  #:49415
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 54 of 207 Page ID
                                  #:25391



    1   indicative of a physiological parameter (for example, heart rate) of the wearer.
    2         145. Upon information and belief, relevant technology in the Apple
    3   Watch Series 4 and later devices is described in the below citation to U.S. Patent
    4   Application Publication 2019/0072912 (the ’912 publication).          The Apple
    5   Watch Series 4 and later devices include a wall that surrounds at least the
    6   photodiodes, a cover comprising a rigid protruding convex surface above the
    7   photodiodes and wall.      Fig. 4C and the corresponding text of the ’912
    8   publication show, for example, such wall and cover:
    9

   10
   11
   12
   13

   14
   15
   16

   17
   18
   19

   20
   21

   22

   23
              146. The Apple Watch Series 4 and later devices include a storage
   24
        device configured to at least temporarily store at least the measurements of the
   25
        physiological parameter and communicate wirelessly with iPhone devices that
   26
        include one or more processors configured to wirelessly receive one or more
   27
        signals from the physiological sensor device, the one or more signals responsive
   28

                                               -54-


                                                                                             Exhibit B
                                                                                                 -61-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 56 of 208 Page ID
                                  #:49416
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 55 of 207 Page ID
                                  #:25392



    1   to at least a physiological parameter of the user, and a touch-screen display
    2   configured to provide a user interface to display indicia responsive to
    3   measurements of the physiological parameter with an orientation of the user
    4   interface configurable as shown in the image below found on the Apple website
    5   at https://support.apple.com/en-us/HT204666 and as further described at
    6   https://support.apple.com/en-us/HT204505:
    7

    8

    9

   10
   11
   12
   13

   14
   15         147. Upon information and belief, Defendant has knowledge of
   16   Masimo’s patents, including the ’194 patent, at least based on O’Reilly and
   17   Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
   18   applications that led to the ’194 patent in August 2008, while O’Reilly and
   19   Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
   20   the ’194 patent. Defendant had knowledge of the ’194 patent no later than the
   21   filing of this Second Amended Complaint.
   22         148. Upon information and belief, Defendant has actively induced
   23   others to infringe the ’194 patent by marketing and selling the above Apple
   24   Watch Series 4 and later devices, knowing and intending that such systems
   25   would be used by customers and end users in a manner that infringes the
   26   ’194 patent. To that end, Defendant provides instructions and teachings to its
   27   customers and end users that such Apple Watch Series 4 and later devices be
   28

                                            -55-


                                                                                         Exhibit B
                                                                                             -62-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 57 of 208 Page ID
                                  #:49417
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 56 of 207 Page ID
                                  #:25393



    1   used to infringe the ’194 patent. Defendant’s acts constitute infringement of the
    2   ’194 patent in violation of 35 U.S.C. § 271(b).
    3         149. Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’194 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’194 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    9   Upon information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         150. Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’194 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and later devices and Apple iPhones that constitute material parts of the
   17   invention of the asserted claims of the ’194 patent, are not staple articles or
   18   commodities of commerce suitable for substantial non-infringing use and are
   19   known by Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’194 patent.
   21         151. Defendant’s infringement of the ’194 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’194 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         152. Because of Defendant’s infringement of the ’194 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28

                                              -56-


                                                                                             Exhibit B
                                                                                                 -63-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 58 of 208 Page ID
                                  #:49418
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 57 of 207 Page ID
                                  #:25394



    1         153. Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                        XV. EIGHTH CAUSE OF ACTION
    6              (INFRINGEMENT OF U.S. PATENT NO. 10,702,195)
    7         154. Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 50.
    9         155. Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
   11   ’195 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         156. Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’195 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and later devices.
   16         157. For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and later devices in combination with iPhone devices include all
   18   of the limitations of Claim 1 of the ’195 patent as set forth herein and further
   19   illustrated in the claim chart shown in Exhibit 1. The Apple Watch Series 4 and
   20   later devices are are user-worn physiological measurement devices as shown in
   21   the image below found on the Apple website at https://www.apple.com/apple-
   22   watch-series-4/health/:
   23

   24
   25

   26

   27

   28

                                               -57-


                                                                                             Exhibit B
                                                                                                 -64-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 59 of 208 Page ID
                                  #:49419
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 58 of 207 Page ID
                                  #:25395



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10           158. The Apple Watch Series 4 and later devices include one or more
   11   emitters configured to emit light into tissue of a user, a first set of four
   12   photodiodes connected to one another in parallel to provide a first signal stream
   13   and a second set of four photodiodes connected to one another in parallel to
   14   provide a second signal stream and positioned on a first surface and surrounded
   15   by a wall that is operably connected to the first surface, as shown in the image
   16   below     found   on   the   Apple   website   at   https://support.apple.com/en-
   17   us/HT204666:
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                              -58-


                                                                                            Exhibit B
                                                                                                -65-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 60 of 208 Page ID
                                  #:49420
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 59 of 207 Page ID
                                  #:25396



    1         159. Upon information and belief, relevant technology in the Apple
    2   Watch Series 4 and later devices is described in the below citation to U.S. Patent
    3   Application Publication 2019/0072912 (the ’912 publication).            The Apple
    4   Watch Series 4 and later devices include a wall that surrounds the photodiodes,
    5   a cover located above the wall and comprising a single protruding convex
    6   surface configured to be located between tissue of the user and the photodiodes
    7   when the physiological measurement device is worn by the user, wherein the
    8   physiological measurement device provides a plurality of optical paths, wherein
    9   each of the optical paths exits an emitter of the one or more emitters, passes
   10   through tissue of the user, passes through the single protruding convex surface,
   11   and arrives at a corresponding photodiode of the at least one of the first or
   12   second sets of photodiodes, the corresponding photodiode configured to receive
   13   light emitted by the emitter after traversal by the light of a corresponding optical
   14   path of the plurality of optical paths and after attenuation of the light by tissue
   15   of the user. Fig. 4C and the corresponding text of the ’912 publication show, for
   16   example, such wall and cover:
   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                               -59-


                                                                                               Exhibit B
                                                                                                   -66-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 61 of 208 Page ID
                                  #:49421
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 60 of 207 Page ID
                                  #:25397



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
              160. Upon information and belief, Defendant has knowledge of
   16
        Masimo’s patents, including the ’195 patent, at least based on O’Reilly and
   17
        Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
   18
        applications that led to the ’195 patent in August 2008, while O’Reilly and
   19
        Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
   20
        the ’195 patent. Defendant had knowledge of the ’195 patent no later than the
   21
        filing of this Second Amended Complaint.
   22
              161. Upon information and belief, Defendant has actively induced
   23
        others to infringe the ’195 patent by marketing and selling the above Apple
   24
        Watch Series 4 and later devices, knowing and intending that such systems
   25
        would be used by customers and end users in a manner that infringes the
   26
        ’195 patent. To that end, Defendant provides instructions and teachings to its
   27
        customers and end users that such Apple Watch Series 4 and later devices be
   28

                                            -60-


                                                                                         Exhibit B
                                                                                             -67-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 62 of 208 Page ID
                                  #:49422
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 61 of 207 Page ID
                                  #:25398



    1   used to infringe the ’195 patent. Defendant’s acts constitute infringement of the
    2   ’195 patent in violation of 35 U.S.C. § 271(b).
    3         162. Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’195 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’195 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    9   Upon information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         163. Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’195 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and later devices and Apple iPhones that constitute material parts of the
   17   invention of the asserted claims of the ’195 patent, are not staple articles or
   18   commodities of commerce suitable for substantial non-infringing use and are
   19   known by Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’195 patent.
   21         164. Defendant’s infringement of the ’195 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’195 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         165. Because of Defendant’s infringement of the ’195 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28

                                              -61-


                                                                                             Exhibit B
                                                                                                 -68-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 63 of 208 Page ID
                                  #:49423
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 62 of 207 Page ID
                                  #:25399



    1         166. Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                        XVI. NINTH CAUSE OF ACTION
    6                (INFRINGEMENT OF U.S. PATENT NO. 10,709,366)
    7         167. Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 50.
    9         168. Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and later devices, infringe at least Claim 1 of the
   11   ’366 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         169. Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’366 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and later devices.
   16         170. For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and later devices include all of the limitations of Claim 1 of the
   18   ’366 patent as set forth herein and further illustrated in the claim chart shown in
   19   Exhibit 1.    The Apple Watch Series 4 and later devices are noninvasive
   20   physiological parameter measurement devices adapted to be worn by a wearer
   21   as   shown    in   the   image   below    found    on   the    Apple   website   at
   22   https://www.apple.com/apple-watch-series-4/health/:
   23

   24
   25

   26

   27

   28

                                               -62-


                                                                                              Exhibit B
                                                                                                  -69-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 64 of 208 Page ID
                                  #:49424
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 63 of 207 Page ID
                                  #:25400



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10         171. The Apple Watch Series 4 and later devices include upon
   11   information and belief one or more emitters, a substrate having a surface, a first
   12   set of four photodiodes arranged on the surface and spaced apart from each
   13   other and connected to one another in parallel to provide a first signal stream
   14   responsive to light from at least one of the one or more light emitters attenuated
   15   by body tissue, a second set of four photodiodes arranged on the surface and
   16   spaced apart from each other and connected to one another in parallel to provide
   17   a second signal stream responsive to light from at least one of the one or more
   18   light emitters attenuated by body tissue, at least one of the first signal stream or
   19   the second signal stream includes information usable to determine a
   20   physiological parameter of a wearer of the noninvasive physiological parameter
   21   measurement device as shown in the image below found on the Apple website at
   22   https://support.apple.com/en-us/HT204666:
   23

   24
   25

   26

   27

   28

                                               -63-


                                                                                               Exhibit B
                                                                                                   -70-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 65 of 208 Page ID
                                  #:49425
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 64 of 207 Page ID
                                  #:25401



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
              172. Upon information and belief, relevant technology in the Apple

   12
        Watch Series 4 and later devices is described in the below citation to U.S. Patent

   13
        Application Publication 2019/0072912 (the ’912 publication).           The Apple

   14
        Watch Series 4 and later devices include a wall extending from the surface and

   15
        configured to surround at least the first and second sets of photodiodes; and a

   16
        cover arranged to cover at least a portion of the surface of the substrate, wherein

   17
        the cover comprises a protrusion that extends over all of the photodiodes of the

   18
        first and second sets of photodiodes arranged on the surface, and wherein the

   19
        cover is further configured to cover the wall. Fig. 4C and the corresponding text

   20
        of the ’912 publication show, for example, such wall and cover:

   21

   22

   23

   24
   25

   26

   27

   28

                                               -64-


                                                                                              Exhibit B
                                                                                                  -71-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 66 of 208 Page ID
                                  #:49426
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 65 of 207 Page ID
                                  #:25402



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
              173. Upon information and belief, Defendant has knowledge of
   16
        Masimo’s patents, including the ’366 patent, at least based on O’Reilly and
   17
        Lamego’s former positions with Plaintiffs. Masimo filed provisional patent
   18
        applications that led to the ’366 patent in August 2008, while O’Reilly and
   19
        Lamego were with Masimo and/or Cercacor. Lamego is a named inventor of
   20
        the ’366 patent. Defendant had knowledge of the ’366 patent no later than the
   21
        filing of this Second Amended Complaint.
   22
              174. Upon information and belief, Defendant has actively induced
   23
        others to infringe the ’366 patent by marketing and selling the above Apple
   24
        Watch Series 4 and later devices, knowing and intending that such systems
   25
        would be used by customers and end users in a manner that infringes the
   26
        ’366 patent. To that end, Defendant provides instructions and teachings to its
   27
        customers and end users that such Apple Watch Series 4 and later devices be
   28

                                            -65-


                                                                                         Exhibit B
                                                                                             -72-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 67 of 208 Page ID
                                  #:49427
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 66 of 207 Page ID
                                  #:25403



    1   used to infringe the ’366 patent. Defendant’s acts constitute infringement of the
    2   ’366 patent in violation of 35 U.S.C. § 271(b).
    3         175. Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’366 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’366 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and later devices, including use with Apple iPhones.
    9   Upon information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         176. Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’366 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and later devices and Apple iPhones that constitute material parts of the
   17   invention of the asserted claims of the ’366 patent, are not staple articles or
   18   commodities of commerce suitable for substantial non-infringing use and are
   19   known by Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’366 patent.
   21         177. Defendant’s infringement of the ’366 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’366 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         178. Because of Defendant’s infringement of the ’366 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28

                                              -66-


                                                                                             Exhibit B
                                                                                                 -73-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 68 of 208 Page ID
                                  #:49428
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 67 of 207 Page ID
                                  #:25404



    1         179. Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                        XVII. TENTH CAUSE OF ACTION
    6               (INFRINGEMENT OF U.S. PATENT NO. 6,771,994)
    7         180. Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 50.
    9         181. Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and later devices, infringe at least Claim 15 of
   11   the ’994 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         182. Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’994 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and later devices.
   16         183. For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and later devices include all of the limitations of Claim 15 of the
   18   ’994 patent as set forth herein and further illustrated in the claim chart shown in
   19   Exhibit 1. Upon information and belief, the Apple Watch Series 4 and later
   20   devices detect light transmitted through body tissue carrying pulsing blood to
   21   determine heart rate as shown in the image below found on the Apple website at
   22   https://www.apple.com/apple-watch-series-4/health/:
   23

   24
   25

   26

   27

   28

                                               -67-


                                                                                              Exhibit B
                                                                                                  -74-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 69 of 208 Page ID
                                  #:49429
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 68 of 207 Page ID
                                  #:25405



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10         184. The Apple Watch Series 4 and later devices include at least one
   11   light emission device and a light sensitive detector as shown in the image below
   12   found on the Apple website at https://support.apple.com/en-us/HT204666:
   13

   14
   15
   16

   17
   18
   19

   20
   21

   22

   23         185. The detectors output signals responsive to light from the light
   24   emitters attenuated by body tissue. Upon information and belief, the signals are
   25   indicative of a physiological parameter (for example, heart rate) of the wearer.
   26         186. Upon information and belief, relevant technology in the Apple
   27   Watch Series 4 and later devices is described in the below citation to U.S. Patent
   28   Application Publication 2019/0090806 (the ’806 publication).          The Apple
                                               -68-


                                                                                             Exhibit B
                                                                                                 -75-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 70 of 208 Page ID
                                  #:49430
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 69 of 207 Page ID
                                  #:25406



    1   Watch Series 4 and later devices include a plurality of louvers positioned over
    2   the light sensitive detector to accept light from the at least one light emission
    3   device originating from a general direction of the at least one light emission
    4   device and then transmitting through body tissue carrying pulsing blood,
    5   wherein the louvers accept the light when the sensor is properly applied to tissue
    6   of a patient. Upon information and belief, this technology is described, for
    7   example, in Fig. 7 and the corresponding text of the ’806 publication:
    8

    9

   10
   11         187. Upon information and belief, Defendant has knowledge of
   12   Masimo’s patents, including the ’994 patent, at least based on O’Reilly and
   13   Lamego’s former positions with Plaintiffs. Masimo filed a patent application
   14   that led to the ’994 patent on June 16, 2000. The ’994 patent issued on August
   15   3, 2004, and Masimo has maintained the patent while O’Reilly and Lamego
   16   were with Masimo and/or Cercacor.            Defendant had knowledge of the
   17   ’994 patent no later than the filing of the original Complaint.
   18         188. Upon information and belief, Defendant has actively induced
   19   others to infringe the ’994 patent by marketing and selling the above Apple
   20   Watch Series 4 and later devices, knowing and intending that such systems
   21   would be used by customers and end users in a manner that infringes the
   22   ’994 patent. To that end, Defendant provides instructions and teachings to its
   23   customers and end users that such Apple Watch Series 4 and later devices be
   24   used to infringe the ’994 patent. Defendant’s acts constitute infringement of the
   25   ’994 patent in violation of 35 U.S.C. § 271(b).
   26         189. Upon information and belief, Defendant actively induces users to
   27   directly infringe the asserted claims of the ’994 patent. By way of example
   28   only, upon information and belief, Defendant actively induces direct
                                       -69-


                                                                                             Exhibit B
                                                                                                 -76-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 71 of 208 Page ID
                                  #:49431
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 70 of 207 Page ID
                                  #:25407



    1   infringement of the ’994 patent by providing directions, demonstrations, guides,
    2   manuals, training for use, and/or other materials necessary for the use of the
    3   Apple Watch Series 4 and later devices.          Upon information and belief,
    4   Defendant knew or should have known that these activities would cause direct
    5   infringement.
    6         190. Upon information and belief, Defendant’s acts constitute
    7   contributory infringement of the ’994 patent in violation of 35 U.S.C. § 271(c).
    8   Upon information and belief, Defendant contributorily infringes because, among
    9   other things, Defendant offers to sell and/or sells within the United States,
   10   and/or imports into the United States, components of the Apple Watch Series 4
   11   and later devices that constitute material parts of the invention of the asserted
   12   claims of the ’994 patent, are not staple articles or commodities of commerce
   13   suitable for substantial non-infringing use, and are known by Defendant to be
   14   especially made or especially adapted for use in an infringement of the
   15   ’994 patent.
   16         191. Defendant’s infringement of the ’994 patent is willful, deliberate,
   17   and intentional by continuing its acts of infringement after becoming aware of
   18   the ’994 patent and its infringement thereof, thus acting in reckless disregard of
   19   Masimo’s patent rights.
   20         192. Because of Defendant’s infringement of the ’994 patent, Masimo
   21   has suffered and will continue to suffer irreparable harm and injury, including
   22   monetary damages in an amount to be determined at trial.
   23         193. Upon information and belief, unless enjoined, Defendant, and/or
   24   others acting on behalf of Defendant, will continue their infringing acts, thereby
   25   causing additional irreparable injury to Masimo for which there is no adequate
   26   remedy at law.
   27

   28

                                              -70-


                                                                                             Exhibit B
                                                                                                 -77-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 72 of 208 Page ID
                                  #:49432
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 71 of 207 Page ID
                                  #:25408



    1                    XVIII. ELEVENTH CAUSE OF ACTION
    2               (INFRINGEMENT OF U.S. PATENT NO. 8,457,703)
    3         194. Plaintiff Masimo hereby realleges and incorporates by reference
    4   the allegations set forth in paragraphs 1 through 50.
    5         195. Upon information and belief, Defendant’s products, including at
    6   least the Apple Watch Series 3 and later devices, infringe at least Claim 1 of the
    7   ’703 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    8         196. Upon information and belief, Defendant has directly infringed one
    9   or more claims of the ’703 patent through manufacture, use, sale, offer for sale,
   10   and/or importation into the United States of physiological monitors, including
   11   the Apple Watch Series 3 and later devices.
   12         197. For example, upon information and belief, in operation, the Apple
   13   Watch Series 3 and later devices include all of the limitations of Claim 1 of the
   14   ’703 patent as set forth herein and further illustrated in the claim chart shown in
   15   Exhibit 1. The Apple Watch Series 3 and later devices provide an indication of
   16   a physiological parameter (for example, heart rate) of the wearer as shown in the
   17   image below found on the Apple website at https://www.apple.com/apple-
   18   watch-series-4/health/:
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                               -71-


                                                                                              Exhibit B
                                                                                                  -78-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 73 of 208 Page ID
                                  #:49433
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 72 of 207 Page ID
                                  #:25409



    1         198. The Apple Watch Series 3 and later devices drive one or more light
    2   sources configured to emit light into tissue and receives one or more signals
    3   from one or more detectors configured to detect light after attenuation by tissue
    4   as   shown   in   the   image    below    found   on   the     Apple   website     at
    5   https://support.apple.com/en-us/HT204666:
    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
   16
              199. The detectors output signals responsive to light from the light

   17
        emitters attenuated by body tissue. Upon information and belief, the signals are

   18
        indicative of a physiological parameter (for example, heart rate) of the wearer.

   19
              200. Upon information and belief, the Apple Watch Series 3 and later

   20
        devices continuously operate at a lower power consumption level to determine

   21
        measurement values for heart rate, as described at https://support.apple.com/en-

   22
        us/HT204666:

   23
              The optical heart sensor in Apple Watch uses what is known as

   24
              photoplethysmography.      This    technology,   while    difficult   to

   25
              pronounce, is based on a very simple fact: Blood is red because it

   26
              reflects red light and absorbs green light. Apple Watch uses green

   27
              LED lights paired with light‑sensitive photodiodes to detect the

   28
              amount of blood flowing through your wrist at any given moment.

                                                -72-


                                                                                                Exhibit B
                                                                                                    -79-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 74 of 208 Page ID
                                  #:49434
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 73 of 207 Page ID
                                  #:25410



    1         When your heart beats, the blood flow in your wrist — and the
    2         green light absorption — is greater. Between beats, it’s less. By
    3         flashing its LED lights hundreds of times per second, Apple Watch
    4         can calculate the number of times the heart beats each minute —
    5         your heart rate. The optical heart sensor supports a range of 30–210
    6         beats per minute. In addition, the optical heart sensor is designed to
    7         compensate for low signal levels by increasing both LED
    8         brightness and sampling rate.
    9         201. Upon information and belief, the Apple Watch Series 3 and later
   10   devices as described above compare processing characteristics to a
   11   predetermined threshold, and when the processing characteristics pass the
   12   threshold, the Apple Watch Series 3 and later devices transition to continuously
   13   operating at a higher power consumption level, wherein the continuously
   14   operating at the lower power consumption level comprises reducing activation
   15   of an attached sensor, the sensor positioning the light sources and the detectors
   16   proximate to the tissue. Upon information and belief, relevant technology in the
   17   Apple Watch Series 3 and later devices is described in International Application
   18   Publication WO 2018/226305 (the ’305 publication), for example, at paragraphs
   19   [0055]-[0061].
   20         202. Upon information and belief, Defendant has knowledge of
   21   Masimo’s patents, including the ’703 patent, at least based on O’Reilly and
   22   Lamego’s former positions with Plaintiffs. Masimo filed a provisional patent
   23   application that led to the ’703 patent on July 2, 2001. The ’703 patent issued
   24   on June 4, 2013, while O’Reilly and Lamego were with Masimo and/or
   25   Cercacor. Defendant had knowledge of the ’703 patent no later than the filing
   26   of the original Complaint.
   27         203. Upon information and belief, Defendant has actively induced
   28   others to infringe the ’703 patent by marketing and selling the above Apple
                                              -73-


                                                                                            Exhibit B
                                                                                                -80-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 75 of 208 Page ID
                                  #:49435
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 74 of 207 Page ID
                                  #:25411



    1   Watch Series 3 and later devices, knowing and intending that such systems
    2   would be used by customers and end users in a manner that infringes the
    3   ’703 patent. To that end, Defendant provides instructions and teachings to its
    4   customers and end users that such Apple Watch Series 3 and later devices be
    5   used to infringe the ’703 patent. Defendant’s acts constitute infringement of the
    6   ’703 patent in violation of 35 U.S.C. § 271(b).
    7         204. Upon information and belief, Defendant actively induces users to
    8   directly infringe the asserted claims of the ’703 patent. By way of example
    9   only, upon information and belief, Defendant actively induces direct
   10   infringement of the ’703 patent by providing directions, demonstrations, guides,
   11   manuals, training for use, and/or other materials necessary for the use of the
   12   Apple Watch Series 3 and later devices.           Upon information and belief,
   13   Defendant knew or should have known that these activities would cause direct
   14   infringement.
   15         205. Upon information and belief, Defendant’s acts constitute
   16   contributory infringement of the ’703 patent in violation of 35 U.S.C. § 271(c).
   17   Upon information and belief, Defendant contributorily infringes because, among
   18   other things, Defendant offers to sell and/or sells within the United States,
   19   and/or imports into the United States, components of the Apple Watch Series 3
   20   and later devices that constitute material parts of the invention of the asserted
   21   claims of the ’703 patent, are not staple articles or commodities of commerce
   22   suitable for substantial non-infringing use, and are known by Defendant to be
   23   especially made or especially adapted for use in an infringement of the
   24   ’703 patent.
   25         206. Defendant’s infringement of the ’703 patent is willful, deliberate,
   26   and intentional by continuing its acts of infringement after becoming aware of
   27   the ’703 patent and its infringement thereof, thus acting in reckless disregard of
   28   Masimo’s patent rights.
                                              -74-


                                                                                             Exhibit B
                                                                                                 -81-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 76 of 208 Page ID
                                  #:49436
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 75 of 207 Page ID
                                  #:25412



    1         207. Because of Defendant’s infringement of the ’703 patent, Masimo
    2   has suffered and will continue to suffer irreparable harm and injury, including
    3   monetary damages in an amount to be determined at trial.
    4         208. Upon information and belief, unless enjoined, Defendant, and/or
    5   others acting on behalf of Defendant, will continue their infringing acts, thereby
    6   causing additional irreparable injury to Masimo for which there is no adequate
    7   remedy at law.
    8                      XIX. TWELFTH CAUSE OF ACTION
    9                (INFRINGEMENT OF U.S. PATENT NO. 10,433,776)
   10         209. Plaintiff Masimo hereby realleges and incorporates by reference
   11   the allegations set forth in paragraphs 1 through 50.
   12         210. Upon information and belief, Defendant’s products, including at
   13   least the Apple Watch Series 3 and later devices, infringe at least Claim 1 of the
   14   ’776 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   15         211. Upon information and belief, Defendant has directly infringed one
   16   or more claims of the ’776 patent through manufacture, use, sale, offer for sale,
   17   and/or importation into the United States of physiological monitors, including
   18   the Apple Watch Series 3 and later devices.
   19         212. For example, upon information and belief, in operation, the Apple
   20   Watch Series 3 and later devices include all of the limitations of Claim 1 of the
   21   ’776 patent as set forth herein and further illustrated in the claim chart shown in
   22   Exhibit 1.   The Apple Watch Series 3 and later devices are configured to
   23   monitor at least a pulse rate of a patient by processing signals responsive to light
   24   attenuated by body tissue of the wearer as shown in the image below found on
   25   the Apple website at https://www.apple.com/apple-watch-series-4/health/:
   26

   27

   28

                                               -75-


                                                                                               Exhibit B
                                                                                                   -82-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 77 of 208 Page ID
                                  #:49437
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 76 of 207 Page ID
                                  #:25413



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10         213. The Apple Watch Series 3 and later devices drive one or more light
   11   sources configured to emit light into tissue and receives one or more signals
   12   from one or more detectors configured to detect light after attenuation by tissue
   13   as   shown   in   the   image   below    found   on   the   Apple   website    at
   14   https://support.apple.com/en-us/HT204666:
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26         214. Upon information and belief, the Apple Watch Series 3 and later
   27   devices operate according to a first control protocol, wherein said operating
   28   includes activating a first control protocol light source in accordance with the
                                              -76-


                                                                                            Exhibit B
                                                                                                -83-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 78 of 208 Page ID
                                  #:49438
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 77 of 207 Page ID
                                  #:25414



    1   first control protocol, the first control protocol light source including one or
    2   more of a plurality of light sources, and when operating according to the first
    3   control protocol, calculating, by the patient monitor, measurement values of the
    4   pulse rate, the measurement values responsive to light from the first control
    5   protocol light source, detected by a detector of an optical sensor after
    6   attenuation by body tissue of the patient using the patient monitor as explained,
    7   for   example,   on   the   Apple   website    at   https://support.apple.com/en-
    8   us/HT204666.      That webpage explains the optical heart sensor uses
    9   photoplethysmography. “Apple Watch uses green LED lights paired with
   10   light‑sensitive photodiodes to detect the amount of blood flowing through your
   11   wrist at any given moment. When your heart beats, the blood flow in your wrist
   12   — and the green light absorption — is greater. Between beats, it’s less. By
   13   flashing its LED lights hundreds of times per second, Apple Watch can calculate
   14   the number of times the heart beats each minute — your heart rate. The optical
   15   heart sensor supports a range of 30–210 beats per minute. In addition, the
   16   optical heart sensor is designed to compensate for low signal levels by
   17   increasing both LED brightness and sampling rate.” That webpage further
   18   explains that the “optical heart sensor can also use infrared light. This mode is
   19   what Apple Watch uses when it measures your heart rate in the background, and
   20   for heart rate notifications. Apple Watch uses green LED lights to measure your
   21   heart rate during workouts and Breathe sessions, and to calculate walking
   22   average and Heart Rate Variability (HRV).”
   23         215. Upon information and belief, the Apple Watch Series 3 and later
   24   devices generate a trigger signal, wherein generating said trigger signal is
   25   responsive to at least one of: a comparison of processing characteristics to a
   26   predetermined threshold, a physiological event, or signal quality characteristics
   27   of signals received from the detector, and in response to receiving the trigger
   28   signal, operating the patient monitor according to a second control protocol
                                              -77-


                                                                                            Exhibit B
                                                                                                -84-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 79 of 208 Page ID
                                  #:49439
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 78 of 207 Page ID
                                  #:25415



    1   different from the first control protocol, wherein said operating includes
    2   activating a second control protocol light source in accordance with the second
    3   control protocol, the second control protocol light source including one or more
    4   of the plurality of light sources, and when operating the patient monitor
    5   according to the second control protocol, calculating the measurement values of
    6   the pulse rate, the measurement values responsive to light from the second
    7   control protocol light source, detected by the detector after attenuation by the
    8   body tissue of the patient using the patient monitor, wherein said operating of
    9   the patient monitor according to the first control protocol operates the first
   10   control protocol light source according to a first duty cycle and said operating of
   11   the patient monitor according to the second control protocol operates the second
   12   control protocol light source according to a second duty cycle, wherein power
   13   consumption of the first control protocol light source according to the first duty
   14   cycle is different than power consumption of the second control protocol light
   15   source according to the second duty cycle.        Upon information and belief,
   16   relevant technology in the Apple Watch Series 3 and later devices is described
   17   in International Application Publication WO 2018/226305 (the ’305
   18   publication), for example, at paragraphs [0055]-[0061].
   19         216. Upon information and belief, Defendant has knowledge of
   20   Masimo’s patents, including the ’776 patent, at least based on O’Reilly and
   21   Lamego’s former positions with Plaintiffs. Masimo filed a provisional patent
   22   application that led to the ’776 patent on July 2, 2001. The ’776 patent issued
   23   on June 4, 2013, while O’Reilly and Lamego were with Masimo and/or
   24   Cercacor. Defendant had knowledge of the ’776 patent no later than the filing
   25   of the original Complaint.
   26         217. Upon information and belief, Defendant has actively induced
   27   others to infringe the ’776 patent by marketing and selling the above Apple
   28   Watch Series 3 and later devices, knowing and intending that such systems
                                               -78-


                                                                                              Exhibit B
                                                                                                  -85-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 80 of 208 Page ID
                                  #:49440
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 79 of 207 Page ID
                                  #:25416



    1   would be used by customers and end users in a manner that infringes the
    2   ’776 patent. To that end, Defendant provides instructions and teachings to its
    3   customers and end users that such Apple Watch Series 3 and later devices be
    4   used to infringe the ’776 patent. Defendant’s acts constitute infringement of the
    5   ’776 patent in violation of 35 U.S.C. § 271(b).
    6         218. Upon information and belief, Defendant actively induces users to
    7   directly infringe the asserted claims of the ’776 patent. By way of example
    8   only, upon information and belief, Defendant actively induces direct
    9   infringement of the ’776 patent by providing directions, demonstrations, guides,
   10   manuals, training for use, and/or other materials necessary for the use of the
   11   Apple Watch Series 3 and later devices.           Upon information and belief,
   12   Defendant knew or should have known that these activities would cause direct
   13   infringement.
   14         219. Upon information and belief, Defendant’s acts constitute
   15   contributory infringement of the ’776 patent in violation of 35 U.S.C. § 271(c).
   16   Upon information and belief, Defendant contributorily infringes because, among
   17   other things, Defendant offers to sell and/or sells within the United States,
   18   and/or imports into the United States, components of the Apple Watch Series 3
   19   and later devices that constitute material parts of the invention of the asserted
   20   claims of the ’776 patent, are not staple articles or commodities of commerce
   21   suitable for substantial non-infringing use, and are known by Defendant to be
   22   especially made or especially adapted for use in an infringement of the
   23   ’776 patent.
   24         220. Defendant’s infringement of the ’776 patent is willful, deliberate,
   25   and intentional by continuing its acts of infringement after becoming aware of
   26   the ’776 patent and its infringement thereof, thus acting in reckless disregard of
   27   Masimo’s patent rights.
   28

                                              -79-


                                                                                             Exhibit B
                                                                                                 -86-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 81 of 208 Page ID
                                  #:49441
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 80 of 207 Page ID
                                  #:25417



    1         221. Because of Defendant’s infringement of the ’776 patent, Masimo
    2   has suffered and will continue to suffer irreparable harm and injury, including
    3   monetary damages in an amount to be determined at trial.
    4         222. Upon information and belief, unless enjoined, Defendant, and/or
    5   others acting on behalf of Defendant, will continue their infringing acts, thereby
    6   causing additional irreparable injury to Masimo for which there is no adequate
    7   remedy at law.
    8                     XX. THIRTEENTH CAUSE OF ACTION
    9               (TRADE SECRET MISAPPROPRIATION UNDER
   10              CALIFORNIA’S UNIFORM TRADE SECRET ACT)
   11         223. Plaintiffs hereby reallege and incorporate by reference the
   12   allegations set forth in paragraphs 1 through 50.
   13         224. This is a cause of action for Misappropriation of Trade Secrets under
   14   California’s Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426 et seq., based
   15   upon Defendant’s and its employees’ wrongful and improper acquisition, use, and
   16   disclosure of confidential and proprietary trade secret information of Plaintiffs.
   17         225. Plaintiffs own the Confidential Information. Plaintiffs’ Confidential
   18   Information is currently or was, at least at the time of Defendant’s and its
   19   employees’ misappropriation, not generally known to the public or to other
   20   persons who can obtain economic value from its disclosure or use. All individuals
   21   with access to Plaintiffs’ Confidential Information were instructed to keep it
   22   confidential, and they were subject to obligations to keep Plaintiffs’ Confidential
   23   Information secret. For example, Plaintiffs marked documents confidential, and
   24   instructed those individuals with access to the information to treat it as
   25   confidential, restricted access to the information, and required individuals and
   26   companies to enter into confidentiality agreements with Plaintiffs in order to
   27   receive Plaintiffs’ Confidential Information.
   28

                                                -80-


                                                                                              Exhibit B
                                                                                                  -87-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 82 of 208 Page ID
                                  #:49442
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 81 of 207 Page ID
                                  #:25418



    1         226. Plaintiffs’ Confidential Information derives independent economic
    2   value, actual and potential, because it is, or was at the time of Defendant’s and its
    3   employees’ misappropriation, not generally known to the public or to other
    4   persons who can obtain economic value from its disclosure or use. The actual and
    5   potential independent economic value of Plaintiffs’ Confidential Information is
    6   derived from not being generally known because it gives or gave Plaintiffs an
    7   actual and potential business advantage over others who do not know the
    8   information and who could obtain economic value from its disclosure or use. If
    9   others obtained access to Plaintiffs’ Confidential Information, they could use the
   10   information to deprive Plaintiffs of the business advantage it has over others, as
   11   well as to themselves obtain a business advantage over others.
   12         227. Plaintiffs made reasonable efforts under the circumstances to keep
   13   Plaintiffs’ Confidential Information from becoming generally known.              For
   14   example, Plaintiffs’ efforts included marking documents confidential, instructing
   15   individuals with access to the information to treat it as confidential, restricting
   16   access to the information, and requiring individuals and companies to enter into
   17   confidentiality agreements with Plaintiffs in order to receive Plaintiffs’
   18   Confidential Information.     Accordingly, Plaintiffs’ Confidential Information
   19   constitutes a “trade secret” pursuant to Cal. Civ. Code § 3426.1.
   20         228. Plaintiffs are informed and believe, and thereon allege, that
   21   Defendant misappropriated Plaintiffs’ Confidential Information by acquisition at
   22   least from Plaintiffs’ former employees who left Plaintiffs to work for Defendant.
   23   For example, upon information and belief, O’Reilly and Lamego disclosed
   24   Plaintiffs’ Confidential Information, without Plaintiffs’ consent, to Defendant. At
   25   the time of disclosure, O’Reilly and Lamego knew, or had reason to know, that
   26   their knowledge of Plaintiffs’ Confidential Information was acquired by an
   27   employer-employee relationship, fiduciary relationship, and employment
   28   agreements, which created a duty for them to keep Plaintiffs’ Confidential
                                                -81-


                                                                                                Exhibit B
                                                                                                    -88-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 83 of 208 Page ID
                                  #:49443
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 82 of 207 Page ID
                                  #:25419



    1   Information secret. O’Reilly and Lamego also knew, or had reason to know, that
    2   disclosing Plaintiffs’ Confidential Information to Defendant constituted a breach
    3   of those obligations.
    4         229. At the time of acquisition, Defendant also knew, or had reason to
    5   know, that its employees obtained Plaintiffs’ Confidential Information pursuant to
    6   a duty or obligation to keep Plaintiffs’ Confidential Information secret. This duty
    7   or obligation arose from an employer-employee relationship, fiduciary
    8   relationship, and employment agreements. For example, among other things,
    9   Defendant knew O’Reilly was the Chief Medical Officer at Masimo. Defendant
   10   knew O’Reilly was in charge of Masimo’s data collection efforts at hospitals and
   11   was involved in strategic plans for the company. Defendant also knew Lamego
   12   was the Chief Technical Officer of Cercacor and a Research Scientist at
   13   Masimo. Defendant knew Lamego and O’Reilly were each under a duty to
   14   maintain the secrecy of the information they obtained from Plaintiffs. Defendant
   15   knew Plaintiffs considered the information confidential by virtue of its prior
   16   relationship with Plaintiffs. Defendant had also received a letter dated January
   17   24, 2014, from Plaintiffs explaining that Lamego possessed Plaintiffs’
   18   Confidential Information, asking Defendant not to use such information, and
   19   attaching a copy of Lamego’s Employee Confidentiality Agreement with
   20   Cercacor. The Employee Confidentiality Agreement stated, among other things,
   21   “[a]fter my employment with [Cercacor] has terminated, I will not disclose or
   22   make use of any Confidential Information for any purpose, either on my own or
   23   on behalf of another business.” Lamego also worked at Apple for less than one
   24   year, but quickly disclosed information to Apple that took many years to develop
   25   at Plaintiffs. Apple knew or at least should have known that Lamego could not
   26   develop the detailed trade secrets described herein in such a short amount of time.
   27   On information and belief, Apple targeted and recruited Plaintiffs’ employees,
   28

                                               -82-


                                                                                              Exhibit B
                                                                                                  -89-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 84 of 208 Page ID
                                  #:49444
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 83 of 207 Page ID
                                  #:25420



    1   including O’Reilly and Lamego, because of their knowledge of Plaintiffs’
    2   Confidential Information.
    3         230. Nevertheless, on information and belief, Defendant induced its
    4   employees, including Lamego and O’Reilly, to use and/or disclose Plaintiffs’
    5   Confidential Information and the employees used and/or disclosed Plaintiffs’
    6   Confidential Information for the benefit of Defendant while employed by
    7   Defendant. Defendant met with Plaintiffs because Defendant wanted Plaintiffs’
    8   technology and wanted to integrate it into Defendant’s products. After learning
    9   more about the capability of Plaintiffs’ technology at the meetings, Defendant
   10   began systematically hiring Plaintiffs’ employees, including Masimo’s Chief
   11   Medical Officer, Michael O’Reilly, and many others. Apple’s Chief Executive
   12   Officer, Tim Cook, interviewed O’Reilly. Tim Cook has publicly stated that he
   13   sees healthcare as central to Apple’s future. Defendant hired O’Reilly to oversee
   14   Apple’s strategic objective in healthcare and gave him the title of Apple’s Vice
   15   President of Medical Technology.
   16         231.
   17
   18
   19   After Defendant hired Lamego, Plaintiffs informed Apple by letter that Lamego
   20   possessed Plaintiffs’ Confidential Information and asked Apple to respect
   21   Plaintiffs’ Confidential Information.    Defendant ignored these warnings and
   22   sought out and obtained extensive patent disclosures from Lamego in the short
   23   time he worked at Apple and selectively requested non-publication of those
   24   applications containing Plaintiffs’ Confidential Information.
   25

   26

   27

   28

                                                -83-


                                                                                            Exhibit B
                                                                                                -90-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 85 of 208 Page ID
                                  #:49445
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 84 of 207 Page ID
                                  #:25421



    1                                                 Apple had Lamego work on the Apple
    2   Watch project and tasked him with producing key intellectual property related to
    3   bio-sensing, defining required resources for current and future bio-sensing
    4   functionalities, proposing and reviewing hardware and algorithm architectures,
    5   and advising Apple’s team regarding bio-sensing functionalities.
    6         232. Apple provided substantial financial incentives, which had the effect
    7   of enticing O’Reilly, Lamego, and others to use and/or disclose Plaintiffs’
    8   Confidential Information to help Apple in its strategic objective in healthcare.
    9   O’Reilly later informed Plaintiffs that, although he viewed Masimo as his family,
   10   Apple had offered him so much money that he simply could not refuse.
   11   Defendant knew or should have known that those incentives would cause
   12   O’Reilly, Lamego, and others to use and disclosure of Plaintiffs’ Confidential
   13   Information. Apple thereby induced Plaintiffs’ former employees to use and
   14   disclose Plaintiffs’ Confidential Information while employed by Apple and for
   15   Apple’s benefit. Thus, Defendant acquired Plaintiffs’ Confidential Information
   16   through the improper means of its employees breaching a duty to maintain secrecy
   17   owed to Plaintiffs, as well as inducing its employees to breach a duty to maintain
   18   secrecy owed to Plaintiffs.
   19         233. On information and belief, Defendant and its employees used and
   20   disclosed Plaintiffs’ Confidential Information it obtained from Plaintiffs and their
   21   former employees without Plaintiffs’ express or implied consent. Defendant and
   22   its employees used and disclosed Plaintiffs’ Confidential Information at least by
   23   incorporating it into Defendant’s products, by filing patent applications containing
   24   Plaintiffs’ Confidential Information, and using Plaintiffs’ business and sales
   25   strategies without Plaintiffs’ express or implied consent, as discussed in more
   26   detail in paragraphs 234-256 below.
   27

   28

                                               -84-


                                                                                               Exhibit B
                                                                                                   -91-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 86 of 208 Page ID
                                  #:49446
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 85 of 207 Page ID
                                  #:25422



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10
   11
   12
   13

   14
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28                                                                  Apple had
                                          -85-


                                                                                   Exhibit B
                                                                                       -92-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 87 of 208 Page ID
                                  #:49447
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 86 of 207 Page ID
                                    #:25423




                                                                                    Exhibit B
                                                                                        -93-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 88 of 208 Page ID
                                  #:49448
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 87 of 207 Page ID
                                    #:25424




                                                                                    Exhibit B
                                                                                        -94-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 89 of 208 Page ID
                                  #:49449
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 88 of 207 Page ID
                                    #:25425




                                                                                    Exhibit B
                                                                                        -95-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 90 of 208 Page ID
                                  #:49450
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 89 of 207 Page ID
                                    #:25426




                                                                                    Exhibit B
                                                                                        -96-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 91 of 208 Page ID
                                  #:49451
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 90 of 207 Page ID
                                    #:25427




                                                                                    Exhibit B
                                                                                        -97-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 92 of 208 Page ID
                                  #:49452
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 91 of 207 Page ID
                                  #:25428



    1

    2

    3         244.
    4

    5

    6

    7

    8

    9                                               Apple had Lamego work on the Apple
   10   Watch project and tasked him with producing key intellectual property related to
   11   bio-sensing, defining required resources for current and future bio-sensing
   12   functionalities, proposing and reviewing hardware and algorithm architectures,
   13   and advising Apple’s team regarding bio-sensing functionalities.
   14
   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                             -91-


                                                                                           Exhibit B
                                                                                               -98-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 93 of 208 Page ID
                                  #:49453
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 92 of 207 Page ID
                                    #:25429




                                                                                    Exhibit B
                                                                                        -99-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 94 of 208 Page ID
                                  #:49454
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 93 of 207 Page ID
                                    #:25430




                                                                                    Exhibit B
                                                                                       -100-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 95 of 208 Page ID
                                  #:49455
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 94 of 207 Page ID
                                    #:25431




                                                                                    Exhibit B
                                                                                       -101-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 96 of 208 Page ID
                                  #:49456
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 95 of 207 Page ID
                                    #:25432




                                                                                    Exhibit B
                                                                                       -102-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 97 of 208 Page ID
                                  #:49457
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 96 of 207 Page ID
                                    #:25433




                                                                                    Exhibit B
                                                                                       -103-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 98 of 208 Page ID
                                  #:49458
  Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 97 of 207 Page ID
                                    #:25434




                                                                                    Exhibit B
                                                                                       -104-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 99 of 208 Page ID
                                  #:49459
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 98 of 207 Page ID
                                  #:25435



    1         256.
    2

    3

    4

    5

    6

    7

    8                               Apple had Lamego work on the Apple Watch project
    9   and tasked him with producing key intellectual property related to bio-sensing,
   10   defining required resources for current and future bio-sensing functionalities,
   11   proposing and reviewing hardware and algorithm architectures, and advising
   12   Apple’s team regarding bio-sensing functionalities.
   13

   14
   15
   16

   17
   18
   19

   20         257. As discussed above, Defendant knew or had reason to know that its
   21   knowledge of Plaintiffs’ Confidential Information came from Plaintiffs, that its
   22   employees’ knowledge of Plaintiffs’ Confidential Information came from
   23   Plaintiffs, and that its employees had previously acquired Plaintiffs’ Confidential
   24   Information by virtue of employer-employee and fiduciary relationships and
   25   employment agreements, all of which created a duty to keep Plaintiffs’
   26   Confidential Information secret. Thus, Apple is directly liable for its use and
   27   disclosure of Plaintiffs’ Confidential Information.
   28

                                                -98-


                                                                                              Exhibit B
                                                                                                 -105-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 100 of 208 Page ID
                                   #:49460
   Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 99 of 207 Page ID
                                     #:25436




                                                                                     Exhibit B
                                                                                        -106-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 101 of 208 Page ID
                                   #:49461
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 100 of 207 Page ID
                                   #:25437



    1   foreseeable as part of their duties. For example, Defendant hired O’Reilly and
    2   assigned him to help develop Defendant’s relationships with clinicians and
    3   strategic plans for clinical monitoring. Apple’s Chief Executive Officer, Tim
    4   Cook, interviewed O’Reilly.      Defendant hired O’Reilly to oversee Apple’s
    5   strategic objective in healthcare and gave him the title of Apple’s Vice President
    6   of Medical Technology. In this position, O’Reilly inquired whether Cercacor was
    7   for sale. When O’Reilly was informed that Cercacor was not for sale, Defendant
    8   recruited Cercacor’s Chief Technical Officer, Marcelo Lamego.            Defendant
    9   assigned Lamego to help develop Defendant’s non-invasive monitoring
   10   technology, quickly obtained patent disclosures from him, and then applied for
   11   numerous patents listing Lamego as an inventor.
   12
   13

   14
   15
   16                               Apple had Lamego work on the Apple Watch project
   17   and tasked him with producing key intellectual property related to bio-sensing,
   18   defining required resources for current and future bio-sensing functionalities,
   19   proposing and reviewing hardware and algorithm architectures, and advising
   20   Apple’s team regarding bio-sensing functionalities.      Because Plaintiffs’ have
   21   leading technology, Apple provided substantial financial incentives to entice
   22   O’Reilly, Lamego, and others to help Apple in its strategic objective in healthcare,
   23   expecting them to use the specialized knowledge obtained from Plaintiffs.
   24   O’Reilly later informed Plaintiffs that, although he viewed Masimo as his family,
   25   Apple had offered him so much money that he simply could not refuse.
   26   Defendant knew or should have known that those incentives, as well as the
   27   expectations that they had specialized knowledge from Plaintiffs, would cause
   28

                                               -100-


                                                                                               Exhibit B
                                                                                                  -107-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 102 of 208 Page ID
                                   #:49462
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 101 of 207 Page ID
                                   #:25438



    1   O’Reilly, Lamego, and others to use and disclosure of Plaintiffs’ Confidential
    2   Information.
    3         261. Accordingly, the former employees used and disclosed Plaintiffs’
    4   Confidential Information within the scope of their employment for Defendant and
    5   for the benefit of Defendant. As discussed above, the former employees knew or
    6   had reason to know that their knowledge of Plaintiffs’ Confidential Information
    7   was acquired under circumstances giving rise to a duty to maintain its secrecy and
    8   limit its use.   O’Reilly’s actions were an outgrowth of his employment and
    9   inherent in the working environment because Defendant assigned O’Reilly to
   10   develop Defendant’s relationships with clinicians and strategic plans for clinical
   11   monitoring. Lamego’s actions were an outgrowth of his employment and inherent
   12   in the working environment because Defendant assigned Lamego to help develop
   13   Defendant’s non-invasive monitoring technology and provide patent disclosures.
   14   O’Reilly and Lamego’s actions were at least typical or broadly incidental to
   15   Defendant’s business of developing non-invasive monitoring technology, filing
   16   patents on such technology, developing relationships with clinicians, and
   17   developing strategic plans for clinical monitoring. O’Reilly and Lamego’s actions
   18   were at least generally foreseeable as part of their duties to develop non-invasive
   19   monitoring technology, provide patent disclosures, develop relationships with
   20   clinicians, and develop strategic plans for clinical monitoring.      As a result,
   21   Defendant is liable for its employees’ actions under the doctrine of respondeat
   22   superior.
   23         262. Plaintiffs had no way of knowing, or learning, of Defendant’s and its
   24   employees’ improper acquisition, use, or disclosure prior to January 10, 2017.
   25   Defendant did not publish Plaintiffs’ Confidential Information in patent
   26   applications until after January 10, 2017, and the first product at issue was not
   27   announced until 2018. Additionally, based at least on Plaintiffs’ conversations
   28   with Lamego, Plaintiffs’ letter to Apple, and Plaintiffs’ confidentiality
                                              -101-


                                                                                              Exhibit B
                                                                                                 -108-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 103 of 208 Page ID
                                   #:49463
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 102 of 207 Page ID
                                   #:25439



    1   agreement with Apple, Plaintiffs had no reason to suspect or believe that
    2   Defendant had ignored Plaintiffs’ letter and improperly acquired, used, and
    3   disclosed Plaintiffs’ Confidential Information until after Plaintiffs discovered
    4   patent applications published after January 10, 2017, and accused products
    5   announced in 2018. In September 2020, Apple announced partnerships with
    6   three of the health care systems that Plaintiffs were cultivating and targeting for
    7   research collaborations on patient health parameter measurements.
    8         263. Defendant and the former employees also led Plaintiffs to believe
    9   they intended to respect Plaintiffs’ intellectual property rights and concealed
   10   Defendant’s and its employees’ acquisition, use, and disclosure of Plaintiffs’
   11   Confidential Information. After O’Reilly left Masimo, he assured Plaintiffs that
   12   he and Apple were not and would not be competing against Plaintiffs. Similarly,
   13   when Lamego left Cercacor, he assured Plaintiffs that he would not violate his
   14   agreements with Plaintiffs and volunteered that he would not work on
   15   technology similar to Plaintiffs’ technology. Plaintiffs notified Defendant that
   16   Lamego possessed the Confidential Information on January 24, 2014. Defendant
   17   never informed Plaintiffs that Lamego or O’Reilly had used or disclosed the
   18   Confidential Information. Defendant also requested non-publication of patent
   19   applications, which prevented Plaintiffs from learning of the contents of those
   20   applications until much later.       For example, Defendant requested non-
   21   publication of the ’268 Application (which issued as the ’754 Patent), the ’422
   22   Application (which issued as the ’997 Patent), and the ’664 Application (which
   23   issued as the ’095 Patent). On information and belief, Defendant requested non-
   24   publication of those applications to prevent Plaintiffs from learning those
   25   applications contained Plaintiffs’ Confidential Information, and from learning
   26   the Defendant had acquired, used and disclosed Plaintiffs’ Confidential
   27   Information. On information and belief, Defendant does not normally request
   28

                                              -102-


                                                                                              Exhibit B
                                                                                                 -109-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 104 of 208 Page ID
                                   #:49464
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 103 of 207 Page ID
                                   #:25440



    1   non-publication of patent applications and, instead, allows the vast majority of
    2   its patent applications to publish in the ordinary course.
    3         264. Plaintiffs were harmed by Defendant’s and its employees’
    4   acquisition, use, and disclosure of Plaintiffs’ Confidential Information, and
    5   Defendant’s and its employees’ actions were substantial factors in causing
    6   Plaintiffs’ harm.    As a direct and proximate result of Defendant’s and its
    7   employees’ willful, improper, and unlawful acquisition, use, and disclosure of
    8   Plaintiffs’ trade secrets, Plaintiffs have suffered, and will continue to suffer, great
    9   harm and damage. Plaintiffs will continue to be irreparably damaged unless
   10   Defendant is enjoined from further use and disclosure of Plaintiffs’ Confidential
   11   Information.
   12         265. Defendant and its employees were unjustly enriched by Defendant’s
   13   acquisition, use, and disclosure of Plaintiffs’ Confidential Information, and
   14   Defendant’s and its employees’ actions were substantial factors in causing
   15   Defendant to be unjustly enriched. Defendant and its employees were unjustly
   16   enriched because its misappropriation of Plaintiffs’ Confidential Information
   17   caused Defendant and its employees to receive a benefit that they otherwise would
   18   not have achieved.
   19         266. If neither damages nor unjust enrichment caused by Defendant’s and
   20   its employees’ misappropriation of Plaintiffs’ Confidential Information is provable
   21   at trial, Plaintiffs are entitled to a reasonable royalty for the period of time that
   22   Defendant’s and its employees use of Plaintiffs’ Confidential Information could
   23   have been prohibited.
   24         267. The aforementioned acts of Defendant and its employees wrongfully
   25   misappropriating Plaintiffs’ trade secrets were, and continue to be, willful and
   26   malicious, warranting an award of reasonable attorneys’ fees, as provided by
   27   Cal. Civ. Code § 3426.4, and exemplary damages, as provided by Cal. Civ. Code
   28   §§ 3294 and 3426.3(c).
                                                -103-


                                                                                                  Exhibit B
                                                                                                     -110-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 105 of 208 Page ID
                                   #:49465
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 104 of 207 Page ID
                                   #:25441



    1                   XXI. FOURTEENTH CAUSE OF ACTION
    2    (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,078,052)
    3         268. Plaintiffs hereby reallege and incorporate by reference the
    4   allegations set forth in paragraphs 1 through 50.
    5         269. Lamego is a named inventor of U.S. Patent 10,078,052 presently
    6   recorded as owned by Apple.
    7         270. The ’052 Patent claims subject matter that Lamego obtained from
    8   discussions with, or jointly conceived with, Masimo employees. For example,
    9   Claim 1 of the ’052 Patent recites an electronic device comprising a housing
   10   defining an aperture; an optical sensing system comprising a light emitter for
   11   emitting light through the aperture, the light emitter positioned adjacent the
   12   aperture; and a light detector for obtaining a first portion of the light after the
   13   first portion of the light reflects from an object; and a reflector disposed about
   14   the aperture and adapted to reflect a second portion of the light back into the
   15   object after the second portion of the light reflects from the object. Lamego
   16   obtained this subject matter from discussions with, or jointly conceived it with,
   17   Diab. Accordingly, Diab is a joint inventor of any patentable subject matter
   18   claimed in the ’052 Patent, and should have been named as an inventor on the
   19   ’052 Patent.
   20         271. In written assignments, Lamego, as well as Diab, agreed to assign
   21   and assigned to Masimo all patentable subject matter (as well as all works of
   22   authorship, developments, improvements, or trade secrets) conceived during
   23   their employment at Masimo, including ownership of all patents and patent
   24   applications claiming such subject matter.
   25         272. Those assignments vested in Masimo all legal and equitable title to
   26   all patents and patent applications reciting inventions made during their
   27   employment, such that Masimo is at least a joint owner of the ’052 Patent and
   28

                                              -104-


                                                                                              Exhibit B
                                                                                                 -111-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 106 of 208 Page ID
                                   #:49466
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 105 of 207 Page ID
                                   #:25442



    1   Masimo has standing to seek correction of inventorship to perfect Masimo’s
    2   ownership interest in the ’052 Patent.
    3         273. In at least one written assignment, Lamego agreed to assign and
    4   assigned to Cercacor all patentable subject matter (as well as all works of
    5   authorship, developments, improvements, or trade secrets) conceived during his
    6   employment at Cercacor, including ownership of all patents and patent
    7   applications claiming such subject matter. An exemplary agreement conveying
    8   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    9   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
   10   patentable subject matter claimed in the ’052 Patent from, or jointly conceived
   11   such subject matter with, Masimo employees while Lamego was an employee of
   12   Cercacor, Cercacor would be a joint owner of the ’052 Patent and has standing
   13   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
   14   ’052 Patent.
   15         274. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   16   an order directing the U.S. Patent and Trademark Office to correct the
   17   inventorship of the ’052 Patent by adding inventor Diab as a named inventor.
   18                    XXII. FIFTEENTH CAUSE OF ACTION
   19    (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,247,670)
   20         275. Plaintiffs hereby reallege and incorporate by reference the
   21   allegations set forth in paragraphs 1 through 50.
   22         276. Lamego is a named inventor of U.S. Patent 10,247,670 presently
   23   recorded as owned by Apple.
   24         277. The ’670 Patent claims subject matter that Lamego obtained from
   25   discussions with, or jointly conceived with, Masimo employees. For example,
   26   Claim 1 of the ’670 Patent recites an electronic device comprising a housing
   27   with a surface; a reflective layer that is formed on the surface, wherein the
   28   reflective layer has first and second openings; a light emitter that emits light
                                                 -105-


                                                                                             Exhibit B
                                                                                                -112-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 107 of 208 Page ID
                                   #:49467
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 106 of 207 Page ID
                                   #:25443



    1   through the first opening; and a light detector that receives the light emitted by
    2   the light emitter through the second opening. Lamego obtained this subject
    3   matter from discussions with, or jointly conceived it with, Diab. Accordingly,
    4   Diab is a joint inventor of any patentable subject matter claimed in the
    5   ’670 Patent, and should have been named as an inventor on the ’670 Patent.
    6         278. In written assignments, Lamego, as well as Diab, agreed to assign
    7   and assigned to Masimo all patentable subject matter (as well as all works of
    8   authorship, developments, improvements, or trade secrets) conceived during
    9   their employment at Masimo, including ownership of all patents and patent
   10   applications claiming such subject matter.
   11         279. Those assignments vested in Masimo all legal and equitable title to
   12   all patents and patent applications reciting inventions made during their
   13   employment, such that Masimo is at least a joint owner of the ’670 Patent and
   14   Masimo has standing to seek correction of inventorship to perfect Masimo’s
   15   ownership interest in the ’670 Patent.
   16         280. In at least one written assignment, Lamego agreed to assign and
   17   assigned to Cercacor all patentable subject matter (as well as all works of
   18   authorship, developments, improvements, or trade secrets) conceived during his
   19   employment at Cercacor, including ownership of all patents and patent
   20   applications claiming such subject matter. An exemplary agreement conveying
   21   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   22   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
   23   patentable subject matter claimed in the ’670 Patent from, or jointly conceived
   24   such subject matter with, Masimo employees while Lamego was an employee of
   25   Cercacor, Cercacor would be a joint owner of the ’670 Patent and has standing
   26   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
   27   ’670 Patent.
   28

                                                 -106-


                                                                                             Exhibit B
                                                                                                -113-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 108 of 208 Page ID
                                   #:49468
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 107 of 207 Page ID
                                   #:25444



    1         281. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
    2   an order directing the U.S. Patent and Trademark Office to correct the
    3   inventorship of the ’670 Patent by adding inventor Diab as a named inventors.
    4                    XXIII. SIXTEENTH CAUSE OF ACTION
    5    (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 9,952,095)
    6         282. Plaintiffs hereby reallege and incorporate by reference the
    7   allegations set forth in paragraphs 1 through 50.
    8         283. Lamego is a named inventor of U.S. Patent 9,952,095 presently
    9   recorded as owned by Apple.
   10         284. The ’095 Patent claims subject matter that Lamego obtained from
   11   discussions with, or jointly conceived with, Masimo employees. For example,
   12   Claim 1 of the ’095 Patent recites an electronic device comprising a housing
   13   comprising a surface adapted to be positioned proximate a measurement site of
   14   a subject; a biometric sensor positioned at least partially within the surface and
   15   comprising: a plurality of light sources for emitting light toward the
   16   measurement site at a selected modulation frequency; and an optical sensor for
   17   obtaining light exiting the measurement site; and an input amplifier coupled to
   18   the output of the biometric sensor and disposed within the housing; a high pass
   19   filter coupled to an output of the input amplifier and disposed within the
   20   housing, the high pass filter having a cutoff frequency above that of a periodic
   21   biometric property of the measurement site; an output amplifier coupled to an
   22   output of the high pass filter and disposed within the housing; and an analog to
   23   digital converter coupled to an output of the output amplifier and disposed
   24   within the housing. Lamego obtained this subject matter from discussions with,
   25   or jointly conceived it with, Diab. Accordingly, Diab is a joint inventor of any
   26   patentable subject matter claimed in the ’095 Patent, and should have been
   27   named as an inventor on the ’095 Patent.
   28

                                              -107-


                                                                                             Exhibit B
                                                                                                -114-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 109 of 208 Page ID
                                   #:49469
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 108 of 207 Page ID
                                   #:25445



    1         285. In written assignments, Lamego, as well as Diab, agreed to assign
    2   and assigned to Masimo all patentable subject matter (as well as all works of
    3   authorship, developments, improvements, or trade secrets) conceived during
    4   their employment at Masimo, including ownership of all patents and patent
    5   applications claiming such subject matter.
    6         286. Those assignments vested in Masimo all legal and equitable title to
    7   all patents and patent applications reciting inventions made during their
    8   employment, such that Masimo is at least a joint owner of the ’095 Patent and
    9   Masimo has standing to seek correction of inventorship to perfect Masimo’s
   10   ownership interest in the ’095 Patent.
   11         287. In at least one written assignment, Lamego agreed to assign and
   12   assigned to Cercacor all patentable subject matter (as well as all works of
   13   authorship, developments, improvements, or trade secrets) conceived during his
   14   employment at Cercacor, including ownership of all patents and patent
   15   applications claiming such subject matter. An exemplary agreement conveying
   16   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   17   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
   18   patentable subject matter claimed in the ’095 Patent from, or jointly conceived
   19   such subject matter with, Masimo employees while Lamego was an employee of
   20   Cercacor, Cercacor would be a joint owner of the ’095 Patent and has standing
   21   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
   22   ’095 Patent.
   23         288. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   24   an order directing the U.S. Patent and Trademark Office to correct the
   25   inventorship of the ’095 Patent by adding inventor Diab as a named inventor.
   26

   27

   28

                                                 -108-


                                                                                             Exhibit B
                                                                                                -115-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 110 of 208 Page ID
                                   #:49470
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 109 of 207 Page ID
                                   #:25446



    1                  XXIV. SEVENTEENTH CAUSE OF ACTION
    2    (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,219,754)
    3         289. Plaintiffs hereby reallege and incorporate by reference the
    4   allegations set forth in paragraphs 1 through 50.
    5         290. Lamego is a named inventor of U.S. Patent 10,219,754 presently
    6   recorded as owned by Apple.
    7         291. The ’754 Patent claims subject matter that Lamego obtained from
    8   discussions with, or jointly conceived with, Masimo employees. For example,
    9   Claim 1 of the ’754 Patent recites a method for estimating physiological
   10   parameters when modulated light from a first light source and a second light
   11   source is emitted toward a body part of a user, the method comprising
   12   determining a first multiplier value by: turning on the first light source;
   13   generating a first initial signal in response to capturing a first light sample
   14   corresponding to the first light source; demodulating the first initial signal to
   15   produce first initial demodulated signals; filtering and decimating the first initial
   16   demodulated signals; and determining the first multiplier value based on the
   17   filtered and decimated first initial demodulated signals; determining a second
   18   multiplier value by: turning on the second light source; generating a second
   19   initial signal in response to capturing a second light sample corresponding to the
   20   second light source; demodulating the second initial signal to produce second
   21   initial demodulated signals; filtering and decimating the second initial
   22   demodulated signals; and determining the second multiplier value based on the
   23   filtered and decimated second initial demodulated signals; capturing multiple
   24   light samples while the first light source and the second light source are turned
   25   on to emit modulated light toward the body part of the user and converting the
   26   multiple light samples into a captured signal; demodulating the captured signal
   27   to produce multiple demodulated signals; performing a first decimation stage
   28   by: low pass filtering each demodulated signal; and decimating each
                                               -109-


                                                                                                Exhibit B
                                                                                                   -116-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 111 of 208 Page ID
                                   #:49471
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 110 of 207 Page ID
                                   #:25447



    1   demodulated signal; performing a second decimation stage after the first
    2   decimation stage by: low pass filtering each demodulated signal; and decimating
    3   each demodulated signal; demultiplexing each demodulated signal after the
    4   second decimation stage to produce a first signal associated with the first light
    5   source and a second signal associated with the second light source; multiplying
    6   the first signal by the first multiplier value using a first multiplier circuit to
    7   obtain a first conditioned signal; multiplying the second signal by the second
    8   multiplier value using a second multiplier circuit to obtain a second conditioned
    9   signal; and analyzing the first conditioned signal and the second conditioned
   10   signal to estimate the physiological parameter of the user. Lamego obtained this
   11   subject matter from discussions with, or jointly conceived it with, Al-Ali, Diab,
   12   and Weber. Accordingly, Al-Ali, Diab, and Weber are joint inventors of any
   13   patentable subject matter claimed in the ’754 Patent, and should have been
   14   named as inventors on the ’754 Patent.
   15         292. In written assignments, Lamego, as well as Al-Ali, Diab, and
   16   Weber, agreed to assign and assigned to Masimo all patentable subject matter
   17   (as well as all works of authorship, developments, improvements, or trade
   18   secrets) conceived during their employment at Masimo, including ownership of
   19   all patents and patent applications claiming such subject matter.
   20         293. Those assignments vested in Masimo all legal and equitable title to
   21   all patents and patent applications reciting inventions made during their
   22   employment, such that Masimo is at least a joint owner of the ’754 Patent and
   23   Masimo has standing to seek correction of inventorship to perfect Masimo’s
   24   ownership interest in the ’754 Patent.
   25         294. In at least one written assignment, Lamego agreed to assign and
   26   assigned to Cercacor all patentable subject matter (as well as all works of
   27   authorship, developments, improvements, or trade secrets) conceived during his
   28   employment at Cercacor, including ownership of all patents and patent
                                                 -110-


                                                                                             Exhibit B
                                                                                                -117-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 112 of 208 Page ID
                                   #:49472
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 111 of 207 Page ID
                                   #:25448



    1   applications claiming such subject matter. An exemplary agreement conveying
    2   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    3   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
    4   patentable subject matter claimed in the ’754 Patent from, or jointly conceived
    5   such subject matter with, Masimo employees while Lamego was an employee of
    6   Cercacor, Cercacor would be a joint owner of the ’754 Patent and has standing
    7   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
    8   ’754 Patent.
    9         295. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   10   an order directing the U.S. Patent and Trademark Office to correct the
   11   inventorship of the ’754 Patent by adding inventors Al-Ali, Diab, and Weber as
   12   named inventors.
   13                   XXV. EIGHTEENTH CAUSE OF ACTION
   14    (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 9,723,997)
   15         296. Plaintiffs hereby reallege and incorporate by reference the
   16   allegations set forth in paragraphs 1 through 50.
   17         297. Lamego is a named inventor of U.S. Patent 9,723,997 presently
   18   recorded as owned by Apple.
   19         298. The ’997 Patent claims subject matter that Lamego obtained from
   20   discussions with, or jointly conceived with, Cercacor employees. For example,
   21   Claim 20 of the ’997 Patent recites a method for using a mobile personal
   22   computing device to obtain health data, comprising using a camera and a
   23   proximity sensor to emit light into a body part of a user touching a surface of the
   24   mobile personal computing device; using at least two of the camera, an ambient
   25   light sensor, or the proximity sensor to receive at least part of the emitted light
   26   reflected by the body part of the user and generate sensor data; and computing
   27   health data of the user, utilizing the processing unit, using at least the sensor
   28   data regarding the received light. Lamego obtained this subject matter from
                                              -111-


                                                                                              Exhibit B
                                                                                                 -118-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 113 of 208 Page ID
                                   #:49473
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 112 of 207 Page ID
                                   #:25449



    1   discussions with, or jointly conceived it with, Greg Olsen. Accordingly, Olsen
    2   is a joint inventor of any patentable subject matter claimed in the ’997 Patent,
    3   and should have been named as an inventor on the ’997 Patent.
    4            299. In written assignments, Lamego, as well as Olsen, agreed to assign
    5   and assigned to Cercacor all patentable subject matter (as well as all works of
    6   authorship, developments, improvements, or trade secrets) conceived during
    7   their employment at Cercacor, including ownership of all patents and patent
    8   applications claiming such subject matter. An exemplary agreement conveying
    9   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   10   16-3).
   11            300. Those assignments vested in Cercacor all legal and equitable title
   12   to all patents and patent applications reciting inventions made during their
   13   employment, such that Cercacor is at least a joint owner of the ’997 Patent and
   14   Cercacor has standing to seek correction of inventorship to perfect Cercacor’s
   15   ownership interest in the ’997 Patent.
   16            301. In at least one written assignment, Lamego agreed to assign and
   17   assigned to Masimo all patentable subject matter (as well as all works of
   18   authorship, developments, improvements, or trade secrets) conceived during his
   19   employment at Masimo, including ownership of all patents and patent
   20   applications claiming such subject matter.       Accordingly, to the extent the
   21   evidence establishes that Lamego obtained patentable subject matter claimed in
   22   the ’997 Patent from, or jointly conceived such subject matter with, Masimo
   23   employees while Lamego was an employee of Masimo, Masimo would be a
   24   joint owner of the ’997 Patent and has standing to seek correction of
   25   inventorship to perfect Masimo’s ownership interest in the ’997 Patent.
   26            302. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   27   an order directing the U.S. Patent and Trademark Office to correct the
   28   inventorship of the ’997 Patent by adding inventor Olsen as a named inventor.
                                                 -112-


                                                                                           Exhibit B
                                                                                              -119-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 114 of 208 Page ID
                                   #:49474
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 113 of 207 Page ID
                                   #:25450



    1                   XXVI. NINETEENTH CAUSE OF ACTION
    2    (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,524,671)
    3         303. Plaintiffs hereby reallege and incorporate by reference the
    4   allegations set forth in paragraphs 1 through 50.
    5         304. Lamego is a named inventor of U.S. Patent 10,524,671 presently
    6   recorded as owned by Apple.
    7         305. The ’671 Patent claims subject matter that Lamego obtained from
    8   discussions with, or jointly conceived with, Masimo employees. For example,
    9   Claim 1 of the ’671 Patent recites a wearable device, comprising a first light
   10   source; a second light source, the second light source operating at a different
   11   wavelength than the first light source; at least one light receiver; and a
   12   processing unit communicably coupled to the first light source, the second light
   13   source, and the at least one light receiver; wherein the processing unit is
   14   configured to: use the first light source and the second light source to emit light
   15   into a body part of a user; and dependent on the light emitted by the first light
   16   source and received by the at least one light receiver, compute a pulse rate of the
   17   user using the light emitted by the second light source and received by the at
   18   least one light receiver. Lamego obtained this subject matter from discussions
   19   with, or jointly conceived it with, Diab. Accordingly, Diab is a joint inventor of
   20   any patentable subject matter claimed in the ’671 Patent, and should have been
   21   named as an inventor on the ’671 Patent.
   22         306. In written assignments, Lamego, as well as Diab, agreed to assign
   23   and assigned to Masimo all patentable subject matter (as well as all works of
   24   authorship, developments, improvements, or trade secrets) conceived during
   25   their employment at Masimo, including ownership of all patents and patent
   26   applications claiming such subject matter.
   27         307. Those assignments vested in Masimo all legal and equitable title to
   28   all patents and patent applications reciting inventions made during their
                                              -113-


                                                                                              Exhibit B
                                                                                                 -120-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 115 of 208 Page ID
                                   #:49475
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 114 of 207 Page ID
                                   #:25451



    1   employment, such that Masimo is at least a joint owner of the ’671 Patent and
    2   Masimo has standing to seek correction of inventorship to perfect Masimo’s
    3   ownership interest in the ’671 Patent.
    4         308. In at least one written assignment, Lamego agreed to assign and
    5   assigned to Cercacor all patentable subject matter (as well as all works of
    6   authorship, developments, improvements, or trade secrets) conceived during his
    7   employment at Cercacor, including ownership of all patents and patent
    8   applications claiming such subject matter. An exemplary agreement conveying
    9   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   10   16-3). Accordingly, to the extent the evidence establishes that Lamego obtained
   11   patentable subject matter claimed in the ’671 Patent from, or jointly conceived
   12   such subject matter with, Masimo employees while Lamego was an employee of
   13   Cercacor, Cercacor would be a joint owner of the ’671 Patent and has standing
   14   to seek correction of inventorship to perfect Cercacor’s ownership interest in the
   15   ’671 Patent.
   16         309. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   17   an order directing the U.S. Patent and Trademark Office to correct the
   18   inventorship of the ’671 Patent by adding inventor Diab as a named inventor.
   19                   XXVII. TWENTIETH CAUSE OF ACTION
   20             (DECLARATORY JUDGMENT OF OWNERSHIP OF
   21                           U.S. PATENT NO. 10,078,052)
   22         310. Plaintiffs hereby reallege and incorporate by reference the
   23   allegations set forth in paragraphs 1 through 50.
   24         311. U.S. Patent 10,078,052 is recorded as owned by Apple.
   25         312. The ’052 Patent claims subject matter that Lamego obtained from
   26   discussions with, or jointly conceived with, Masimo employees. For example,
   27   Claim 1 of the ’052 Patent recites an electronic device comprising a housing
   28   defining an aperture; an optical sensing system comprising a light emitter for
                                                 -114-


                                                                                             Exhibit B
                                                                                                -121-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 116 of 208 Page ID
                                   #:49476
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 115 of 207 Page ID
                                   #:25452



    1   emitting light through the aperture, the light emitter positioned adjacent the
    2   aperture; and a light detector for obtaining a first portion of the light after the
    3   first portion of the light reflects from an object; and a reflector disposed about
    4   the aperture and adapted to reflect a second portion of the light back into the
    5   object after the second portion of the light reflects from the object. Lamego
    6   obtained this subject matter from discussions with, or jointly conceived it with
    7   Diab. Accordingly, Diab is a joint inventor of any patentable subject matter
    8   claimed in the ’052 Patent, and should have been named as an inventor on the
    9   ’052 Patent
   10         313. Lamego and Diab made any inventive contributions to at least Claim
   11   1 while they were employees of Masimo.
   12         314. In written assignments, Lamego, as well as Diab, agreed to assign
   13   and assigned to Masimo all patentable subject matter (as well as all works of
   14   authorship, developments, improvements, or trade secrets) conceived during
   15   their employment at Masimo, including ownership of all patents and patent
   16   applications claiming such subject matter.
   17         315. Those assignments vested in Masimo all legal and equitable title to
   18   patents and patent applications reciting inventions made during their
   19   employment, such that Masimo is at least a joint owner of the ’052 Patent and
   20   all applications, patents, continuations, divisionals, and reissues that claim priority
   21   to the ’052 Patent, including foreign counterparts.
   22         316. In at least one written assignment, Lamego agreed to assign and
   23   assigned to Cercacor all patentable subject matter (as well as all works of
   24   authorship, developments, improvements, or trade secrets) conceived during his
   25   employment at Cercacor, including ownership of all patents and patent
   26   applications claiming such subject matter. An exemplary agreement conveying
   27   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   28   16-3). That assignment vested in Cercacor all legal and equitable title to patents
                                                -115-


                                                                                                  Exhibit B
                                                                                                     -122-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 117 of 208 Page ID
                                   #:49477
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 116 of 207 Page ID
                                   #:25453



    1   and patent applications reciting inventions made during his employment, such
    2   that, to the extent the evidence establishes that Lamego obtained patentable
    3   subject matter claimed in the ’052 Patent from, or jointly conceived such subject
    4   matter with, Cercacor employees while Lamego was an employee of Cercacor,
    5   Cercacor would be a joint owner of the ’052 Patent and all applications, patents,
    6   continuations, divisionals, and reissues that claim priority to the ’052 Patent,
    7   including foreign counterparts.
    8         317. Based on the forgoing, Plaintiffs seek declaratory relief under at
    9   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
   10   federal patent law, declaring that Masimo is at least a joint owner of the ’052
   11   Patent (or, to the extent it is determined that Masimo employees invented all of
   12   the patentable subject matter claimed in the ’052 Patent, that Masimo is the
   13   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
   14   ’052 Patent. Plaintiffs also seek an order from the Court directing the Patent
   15   Office to amend the Patent Office records to reflect the ownership interest of
   16   Masimo and/or Cercacor.
   17                 XXVIII. TWENTY-FIRST CAUSE OF ACTION
   18             (DECLARATORY JUDGMENT OF OWNERSHIP OF
   19                           U.S. PATENT NO. 10,247,670)
   20         318. Plaintiffs hereby reallege and incorporate by reference the
   21   allegations set forth in paragraphs 1 through 50.
   22         319. U.S. Patent 10,247,670 is recorded as owned by Apple.
   23         320. The ’670 Patent claims subject matter that Lamego obtained from
   24   discussions with, or jointly conceived with, Masimo employees. For example,
   25   Claim 1 of the ’670 Patent recites an electronic device comprising a housing
   26   with a surface; a reflective layer that is formed on the surface, wherein the
   27   reflective layer has first and second openings; a light emitter that emits light
   28   through the first opening; and a light detector that receives the light emitted by
                                              -116-


                                                                                             Exhibit B
                                                                                                -123-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 118 of 208 Page ID
                                   #:49478
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 117 of 207 Page ID
                                   #:25454



    1   the light emitter through the second opening. Lamego obtained this subject
    2   matter from discussions with, or jointly conceived it with, Diab. Accordingly,
    3   Diab is a joint inventor of any patentable subject matter claimed in the
    4   ’670 Patent, and should have been named as an inventor on the ’670 Patent.
    5         321. Lamego and Diab made any inventive contributions to at least Claim
    6   1 while they were employees of Masimo.
    7         322. In written assignments, Lamego, as well as Diab, agreed to assign
    8   and assigned to Masimo all patentable subject matter (as well as all works of
    9   authorship, developments, improvements, or trade secrets) conceived during
   10   their employment at Masimo, including ownership of all patents and patent
   11   applications claiming such subject matter.
   12         323. Those assignments vested in Masimo all legal and equitable title to
   13   patents and patent applications reciting inventions made during their
   14   employment, such that Masimo is at least a joint owner of the ’670 Patent and
   15   all applications, patents, continuations, divisionals, and reissues that claim priority
   16   to the ’670 Patent, including foreign counterparts.
   17         324. In at least one written assignment, Lamego agreed to assign and
   18   assigned to Cercacor all patentable subject matter (as well as all works of
   19   authorship, developments, improvements, or trade secrets) conceived during his
   20   employment at Cercacor, including ownership of all patents and patent
   21   applications claiming such subject matter. An exemplary agreement conveying
   22   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   23   16-3). That assignment vested in Cercacor all legal and equitable title to patents
   24   and patent applications reciting inventions made during his employment, such
   25   that, to the extent the evidence establishes that Lamego obtained patentable
   26   subject matter claimed in the ’670 Patent from, or jointly conceived such subject
   27   matter with, Cercacor employees while Lamego was an employee of Cercacor,
   28   Cercacor would be a joint owner of the ’670 Patent and all applications, patents,
                                                -117-


                                                                                                  Exhibit B
                                                                                                     -124-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 119 of 208 Page ID
                                   #:49479
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 118 of 207 Page ID
                                   #:25455



    1   continuations, divisionals, and reissues that claim priority to the ’670 Patent,
    2   including foreign counterparts.
    3         325. Based on the forgoing, Plaintiffs seek declaratory relief under at
    4   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
    5   federal patent law, declaring that Masimo is at least a joint owner of the ’670
    6   Patent (or, to the extent it is determined that Masimo employees invented all of
    7   the patentable subject matter claimed in the ’670 Patent, that Masimo is the
    8   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
    9   ’670 Patent. Plaintiffs also seek an order from the Court directing the Patent
   10   Office to amend the Patent Office records to reflect the ownership interest of
   11   Masimo and/or Cercacor.
   12                XXIX. TWENTY-SECOND CAUSE OF ACTION
   13             (DECLARATORY JUDGMENT OF OWNERSHIP OF
   14                            U.S. PATENT NO. 9,952,095)
   15         326. Plaintiffs hereby reallege and incorporate by reference the
   16   allegations set forth in paragraphs 1 through 50.
   17         327. U.S. Patent 9,952,095 is recorded as owned by Apple.
   18         328. The ’095 Patent claims subject matter that Lamego obtained from
   19   discussions with, or jointly conceived with, Masimo employees. For example,
   20   Claim 1 of the ’095 Patent recites an electronic device comprising a housing
   21   comprising a surface adapted to be positioned proximate a measurement site of
   22   a subject; a biometric sensor positioned at least partially within the surface and
   23   comprising: a plurality of light sources for emitting light toward the
   24   measurement site at a selected modulation frequency; and an optical sensor for
   25   obtaining light exiting the measurement site; and an input amplifier coupled to
   26   the output of the biometric sensor and disposed within the housing; a high pass
   27   filter coupled to an output of the input amplifier and disposed within the
   28   housing, the high pass filter having a cutoff frequency above that of a periodic
                                              -118-


                                                                                             Exhibit B
                                                                                                -125-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 120 of 208 Page ID
                                   #:49480
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 119 of 207 Page ID
                                   #:25456



    1   biometric property of the measurement site; an output amplifier coupled to an
    2   output of the high pass filter and disposed within the housing; and an analog to
    3   digital converter coupled to an output of the output amplifier and disposed
    4   within the housing. Lamego obtained this subject matter from discussions with,
    5   or jointly conceived it with, Diab. Accordingly, Diab is a joint inventor of any
    6   patentable subject matter claimed in the ’095 Patent, and should have been
    7   named as an inventor on the ’095 Patent.
    8         329. Lamego and Diab made any inventive contributions to at least Claim
    9   1 while they were employees of Masimo.
   10         330. In written assignments, Lamego, as well as Diab, agreed to assign
   11   and assigned to Masimo all patentable subject matter (as well as all works of
   12   authorship, developments, improvements, or trade secrets) conceived during
   13   their employment at Masimo, including ownership of all patents and patent
   14   applications claiming such subject matter.
   15         331. Those assignments vested in Masimo all legal and equitable title to
   16   patents and patent applications reciting inventions made during their
   17   employment, such that Masimo is at least a joint owner of the ’095 Patent and
   18   all applications, patents, continuations, divisionals, and reissues that claim priority
   19   to the ’095 Patent, including foreign counterparts.
   20         332. In at least one written assignment, Lamego agreed to assign and
   21   assigned to Cercacor all patentable subject matter (as well as all works of
   22   authorship, developments, improvements, or trade secrets) conceived during his
   23   employment at Cercacor, including ownership of all patents and patent
   24   applications claiming such subject matter. An exemplary agreement conveying
   25   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   26   16-3). That assignment vested in Cercacor all legal and equitable title to patents
   27   and patent applications reciting inventions made during his employment, such
   28   that, to the extent the evidence establishes that Lamego obtained patentable
                                                -119-


                                                                                                  Exhibit B
                                                                                                     -126-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 121 of 208 Page ID
                                   #:49481
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 120 of 207 Page ID
                                   #:25457



    1   subject matter claimed in the ’095 Patent from, or jointly conceived such subject
    2   matter with, Cercacor employees while Lamego was an employee of Cercacor,
    3   Cercacor would be a joint owner of the ’095 Patent and all applications, patents,
    4   continuations, divisionals, and reissues that claim priority to the ’095 Patent,
    5   including foreign counterparts.
    6         333. Based on the forgoing, Plaintiffs seek declaratory relief under at
    7   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
    8   federal patent law, declaring that Masimo is at least a joint owner of the ’095
    9   Patent (or, to the extent it is determined that Masimo employees invented all of
   10   the patentable subject matter claimed in the ’095 Patent, that Masimo is the
   11   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
   12   ’095 Patent. Plaintiffs also seek an order from the Court directing the Patent
   13   Office to amend the Patent Office records to reflect the ownership interest of
   14   Masimo and/or Cercacor.
   15                  XXX. TWENTY-THIRD CAUSE OF ACTION
   16             (DECLARATORY JUDGMENT OF OWNERSHIP OF
   17                           U.S. PATENT NO. 10,219,754)
   18         334. Plaintiffs hereby reallege and incorporate by reference the
   19   allegations set forth in paragraphs 1 through 50.
   20         335. U.S. Patent 10,219,754 is recorded as owned by Apple.
   21         336. The ’754 Patent claims subject matter that Lamego obtained from
   22   discussions with, or jointly conceived with, Masimo employees. For example,
   23   Claim 1 of the ’754 Patent recites a method for estimating physiological
   24   parameters when modulated light from a first light source and a second light
   25   source is emitted toward a body part of a user, the method comprising
   26   determining a first multiplier value by: turning on the first light source;
   27   generating a first initial signal in response to capturing a first light sample
   28   corresponding to the first light source; demodulating the first initial signal to
                                              -120-


                                                                                            Exhibit B
                                                                                               -127-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 122 of 208 Page ID
                                   #:49482
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 121 of 207 Page ID
                                   #:25458



    1   produce first initial demodulated signals; filtering and decimating the first initial
    2   demodulated signals; and determining the first multiplier value based on the
    3   filtered and decimated first initial demodulated signals; determining a second
    4   multiplier value by: turning on the second light source; generating a second
    5   initial signal in response to capturing a second light sample corresponding to the
    6   second light source; demodulating the second initial signal to produce second
    7   initial demodulated signals; filtering and decimating the second initial
    8   demodulated signals; and determining the second multiplier value based on the
    9   filtered and decimated second initial demodulated signals; capturing multiple
   10   light samples while the first light source and the second light source are turned
   11   on to emit modulated light toward the body part of the user and converting the
   12   multiple light samples into a captured signal; demodulating the captured signal
   13   to produce multiple demodulated signals; performing a first decimation stage
   14   by: low pass filtering each demodulated signal; and decimating each
   15   demodulated signal; performing a second decimation stage after the first
   16   decimation stage by: low pass filtering each demodulated signal; and decimating
   17   each demodulated signal; demultiplexing each demodulated signal after the
   18   second decimation stage to produce a first signal associated with the first light
   19   source and a second signal associated with the second light source; multiplying
   20   the first signal by the first multiplier value using a first multiplier circuit to
   21   obtain a first conditioned signal; multiplying the second signal by the second
   22   multiplier value using a second multiplier circuit to obtain a second conditioned
   23   signal; and analyzing the first conditioned signal and the second conditioned
   24   signal to estimate the physiological parameter of the user. Lamego obtained this
   25   subject matter from discussions with, or jointly conceived it with, Al-Ali, Diab,
   26   and Weber. Accordingly, Al-Ali, Diab, and Weber are joint inventors of any
   27   patentable subject matter claimed in the ’754 Patent, and should have been
   28   named as inventors on the ’754 Patent.
                                               -121-


                                                                                                Exhibit B
                                                                                                   -128-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 123 of 208 Page ID
                                   #:49483
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 122 of 207 Page ID
                                   #:25459



    1         337. Lamego, Al-Ali, Diab, and Weber made any inventive contributions
    2   to at least Claim 1 while they were employees of Masimo.
    3         338. In written assignments, Lamego, Al-Ali, Diab, and Weber, agreed
    4   to assign and assigned to Masimo all patentable subject matter (as well as all
    5   works of authorship, developments, improvements, or trade secrets) conceived
    6   during their employment at Masimo, including ownership of all patents and
    7   patent applications claiming such subject matter.
    8         339. Those assignments vested in Masimo all legal and equitable title to
    9   patents and patent applications reciting inventions made during their
   10   employment, such that Masimo is at least a joint owner of the ’754 Patent and
   11   all applications, patents, continuations, divisionals, and reissues that claim priority
   12   to the ’754 Patent, including foreign counterparts.
   13         340. In at least one written assignment, Lamego agreed to assign and
   14   assigned to Cercacor all patentable subject matter (as well as all works of
   15   authorship, developments, improvements, or trade secrets) conceived during his
   16   employment at Cercacor, including ownership of all patents and patent
   17   applications claiming such subject matter. An exemplary agreement conveying
   18   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   19   16-3). That assignment vested in Cercacor all legal and equitable title to patents
   20   and patent applications reciting inventions made during his employment, such
   21   that, to the extent the evidence establishes that Lamego obtained patentable
   22   subject matter claimed in the ’754 Patent from, or jointly conceived such subject
   23   matter with, Cercacor employees while Lamego was an employee of Cercacor,
   24   Cercacor would be a joint owner of the ’754 Patent and all applications, patents,
   25   continuations, divisionals, and reissues that claim priority to the ’754 Patent,
   26   including foreign counterparts.
   27         341. Based on the forgoing, Plaintiffs seek declaratory relief under at
   28   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
                                                -122-


                                                                                                  Exhibit B
                                                                                                     -129-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 124 of 208 Page ID
                                   #:49484
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 123 of 207 Page ID
                                   #:25460



    1   federal patent law, declaring that Masimo is at least a joint owner of the ’754
    2   Patent (or, to the extent it is determined that Masimo employees invented all of
    3   the patentable subject matter claimed in the ’754 Patent, that Masimo is the
    4   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
    5   ’754 Patent. Plaintiffs also seek an order from the Court directing the Patent
    6   Office to amend the Patent Office records to reflect the ownership interest of
    7   Masimo and/or Cercacor.
    8                XXXI. TWENTY-FOURTH CAUSE OF ACTION
    9             (DECLARATORY JUDGMENT OF OWNERSHIP OF
   10                            U.S. PATENT NO. 9,723,997)
   11         342. Plaintiffs hereby reallege and incorporate by reference the
   12   allegations set forth in paragraphs 1 through 50.
   13         343. U.S. Patent 9,723,997 is recorded as owned by Apple.
   14         344. The ’997 Patent claims subject matter that Lamego obtained from
   15   discussions with, or jointly conceived with, Cercacor employees. For example,
   16   Claim 20 of the ’997 Patent recites a method for using a mobile personal
   17   computing device to obtain health data, comprising using a camera and a
   18   proximity sensor to emit light into a body part of a user touching a surface of the
   19   mobile personal computing device; using at least two of the camera, an ambient
   20   light sensor, or the proximity sensor to receive at least part of the emitted light
   21   reflected by the body part of the user and generate sensor data; and computing
   22   health data of the user, utilizing the processing unit, using at least the sensor
   23   data regarding the received light. Lamego obtained this subject matter from
   24   discussions with, or jointly conceived it with, Greg Olsen. Accordingly, Olsen
   25   is a joint inventor of any patentable subject matter claimed in the ’997 Patent,
   26   and should have been named as an inventor on the ’997 Patent.
   27         345. Lamego and Olsen made any inventive contributions to at least
   28   Claim 20 while they were employees of Cercacor.
                                              -123-


                                                                                              Exhibit B
                                                                                                 -130-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 125 of 208 Page ID
                                   #:49485
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 124 of 207 Page ID
                                   #:25461



    1         346. In written assignments, Lamego, as well as Olsen, agreed to assign
    2   and assigned to Cercacor all patentable subject matter (as well as all works of
    3   authorship, developments, improvements, or trade secrets) conceived during
    4   their employment, including ownership of all patents and patent applications
    5   claiming such subject matter. An exemplary agreement conveying such rights
    6   was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No. 16-3).
    7         347. Those assignments vested in Cercacor all legal and equitable title
    8   to patents and patent applications reciting inventions made during their
    9   employment, such that Cercacor is at least a joint owner of the ’997 Patent and
   10   all applications, patents, continuations, divisionals, and reissues that claim priority
   11   to the ’997 Patent, including foreign counterparts.
   12         348. In at least one written assignment, Lamego agreed to assign and
   13   assigned to Masimo all patentable subject matter (as well as all works of
   14   authorship, developments, improvements, or trade secrets) conceived during his
   15   employment at Masimo, including ownership of all patents and patent
   16   applications claiming such subject matter. That assignment vested in Masimo
   17   all legal and equitable title to patents and patent applications reciting inventions
   18   made during his employment, such that, to the extent the evidence establishes
   19   that Lamego obtained patentable subject matter claimed in the ’997 Patent from,
   20   or jointly conceived such subject matter with, Masimo employees while
   21   Lamego was an employee of Masimo, Masimo would be a joint owner of the
   22   ’997 Patent and all applications, patents, continuations, divisionals, and reissues
   23   that claim priority to the ’997 Patent, including foreign counterparts.
   24         349. Based on the forgoing, Plaintiffs seek declaratory relief under at
   25   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
   26   federal patent law, declaring that Cercacor is at least a joint owner of the ’997
   27   Patent (or, to the extent it is determined that Cercacor employees invented all of
   28   the patentable subject matter claimed in the ’997 Patent, that Cercacor is the
                                                -124-


                                                                                                  Exhibit B
                                                                                                     -131-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 126 of 208 Page ID
                                   #:49486
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 125 of 207 Page ID
                                   #:25462



    1   exclusive owner), and, in the alternative, that Masimo is a joint owner of the
    2   ’997 Patent. Plaintiffs also seek an order from the Court directing the Patent
    3   Office to amend the Patent Office records to reflect the ownership interest of
    4   Cercacor and/or Masimo.
    5                  XXXII. TWENTY-FIVE CAUSE OF ACTION
    6             (DECLARATORY JUDGMENT OF OWNERSHIP OF
    7                           U.S. PATENT NO. 10,524,671)
    8         350. Plaintiffs hereby reallege and incorporate by reference the
    9   allegations set forth in paragraphs 1 through 50.
   10         351. U.S. Patent 10,524,671 is recorded as owned by Apple.
   11         352. The ’671 Patent claims subject matter that Lamego obtained from
   12   discussions with, or jointly conceived with, Masimo employees. For example,
   13   Claim 1 of the ’671 Patent recites a wearable device, comprising a first light
   14   source; a second light source, the second light source operating at a different
   15   wavelength than the first light source; at least one light receiver; and a
   16   processing unit communicably coupled to the first light source, the second light
   17   source, and the at least one light receiver; wherein the processing unit is
   18   configured to: use the first light source and the second light source to emit light
   19   into a body part of a user; and dependent on the light emitted by the first light
   20   source and received by the at least one light receiver, compute a pulse rate of the
   21   user using the light emitted by the second light source and received by the at
   22   least one light receiver. Lamego obtained this subject matter from discussions
   23   with, or jointly conceived it with, Diab. Accordingly, Diab is a joint inventor of
   24   any patentable subject matter claimed in the ’671 Patent, and should have been
   25   named as an inventor on the ’671 Patent.
   26         353. Lamego and Diab made any inventive contributions to at least Claim
   27   1 while they were employees of Masimo.
   28

                                              -125-


                                                                                              Exhibit B
                                                                                                 -132-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 127 of 208 Page ID
                                   #:49487
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 126 of 207 Page ID
                                   #:25463



    1         354. In written assignments, Lamego, as well as Diab, agreed to assign
    2   and assigned to Masimo all patentable subject matter (as well as all works of
    3   authorship, developments, improvements, or trade secrets) conceived during
    4   their employment at Masimo, including ownership of all patents and patent
    5   applications claiming such subject matter.
    6         355. Those assignments vested in Masimo all legal and equitable title to
    7   patents and patent applications reciting inventions made during their
    8   employment, such that Masimo is at least a joint owner of the ’671 Patent and
    9   all applications, patents, continuations, divisionals, and reissues that claim priority
   10   to the ’671 Patent, including foreign counterparts.
   11         356. In at least one written assignment, Lamego agreed to assign and
   12   assigned to Cercacor all patentable subject matter (as well as all works of
   13   authorship, developments, improvements, or trade secrets) conceived during his
   14   employment at Cercacor, including ownership of all patents and patent
   15   applications claiming such subject matter. An exemplary agreement conveying
   16   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   17   16-3). That assignment vested in Cercacor all legal and equitable title to patents
   18   and patent applications reciting inventions made during his employment, such
   19   that, to the extent the evidence establishes that Lamego obtained patentable
   20   subject matter claimed in the ’671 Patent from, or jointly conceived such subject
   21   matter with, Cercacor employees while Lamego was an employee of Cercacor,
   22   Cercacor would be a joint owner of the ’671 Patent and all applications, patents,
   23   continuations, divisionals, and reissues that claim priority to the ’671 Patent,
   24   including foreign counterparts.
   25         357. Based on the forgoing, Plaintiffs seek declaratory relief under at
   26   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
   27   federal patent law, declaring that Masimo is at least a joint owner of the ’671
   28   Patent (or, to the extent it is determined that Masimo employees invented all of
                                                -126-


                                                                                                  Exhibit B
                                                                                                     -133-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 128 of 208 Page ID
                                   #:49488
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 127 of 207 Page ID
                                   #:25464



    1   the patentable subject matter claimed in the ’671 Patent, that Masimo is the
    2   exclusive owner), and, in the alternative, that Cercacor is a joint owner of the
    3   ’671 Patent. Plaintiffs also seek an order from the Court directing the Patent
    4   Office to amend the Patent Office records to reflect the ownership interest of
    5   Masimo and/or Cercacor.
    6                 XXXIII. TWENTY-SIXTH CAUSE OF ACTION
    7              (DECLARATORY JUDGMENT OF OWNERSHIP OF
    8                  U.S. PATENT APPLICATION NO. 15/960,507)
    9         358. Plaintiffs hereby reallege and incorporate by reference the
   10   allegations set forth in paragraphs 1 through 50.
   11         359. U.S. Patent Application 15/960,507 is recorded as owned by Apple.
   12         360. Any inventive contribution that Lamego could have made to the
   13   alleged invention of the subject matter claimed in the ’507 application was made
   14   while he was a Masimo employee during 2000-2001 and 2003-2006, or a
   15   Cercacor employee during 2006-2014. This includes, for example, Claim 21 of
   16   the ’507 Application, which recites “a biometric sensor within a housing of a
   17   wearable electronic device, the biometric sensor comprising: an emitter for
   18   transmitting modulated light toward a measurement site of a subject through a
   19   first aperture in the housing; an optical sensor for receiving modulated light
   20   through a second aperture in the housing, the modulated light at least partially
   21   exiting the measurement site; a high pass filter to receive an output of the
   22   optical sensor, the high pass filter having a cutoff frequency above a frequency
   23   of a periodic optical property of the measurement site; and an analog to digital
   24   converter to receive an output of the high pass filter.”
   25         361. In written assignments, Lamego agreed to assign and assigned to
   26   Masimo all patentable subject matter (as well as all works of authorship,
   27   developments, improvements, or trade secrets) conceived during their
   28

                                               -127-


                                                                                           Exhibit B
                                                                                              -134-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 129 of 208 Page ID
                                   #:49489
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 128 of 207 Page ID
                                   #:25465



    1   employment at Masimo, including ownership of all patents and patent
    2   applications claiming such subject matter.
    3         362. Those assignments vested in Masimo all legal and equitable title to
    4   patents and patent applications reciting inventions made during their
    5   employment, such that Masimo is at least a joint owner of the ’507 Application
    6   and all applications, patents, continuations, divisionals, and reissues that claim
    7   priority to the ’507 Application, including foreign counterparts.
    8         363. In at least one written assignment, Lamego agreed to assign and
    9   assigned to Cercacor all patentable subject matter (as well as all works of
   10   authorship, developments, improvements, or trade secrets) conceived during his
   11   employment at Cercacor, including ownership of all patents and patent
   12   applications claiming such subject matter. An exemplary agreement conveying
   13   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
   14   16-3). That assignment vested in Cercacor all legal and equitable title to patents
   15   and patent applications reciting inventions made during his employment, such
   16   that, to the extent the evidence establishes that Lamego obtained patentable
   17   subject matter claimed in the ’507 Application from, or jointly conceived such
   18   subject matter with, Cercacor employees while Lamego was an employee of
   19   Cercacor, Cercacor would be a joint owner of the ’507 Application and all
   20   applications, patents, continuations, divisionals, and reissues that claim priority to
   21   the ’507 Application, including foreign counterparts.
   22         364. Based on the forgoing, Plaintiffs seek declaratory relief under at
   23   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
   24   federal patent law, declaring that Masimo is at least a joint owner of the ’507
   25   Application (or, to the extent it is determined that Masimo employees invented
   26   all of the patentable subject matter claimed in the ’507 Application, that Masimo
   27   is the exclusive owner), and, in the alternative, that Cercacor is a joint owner of
   28   the ’507 Application. Plaintiffs also seek an order from the Court directing the
                                                -128-


                                                                                                 Exhibit B
                                                                                                    -135-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 130 of 208 Page ID
                                   #:49490
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 129 of 207 Page ID
                                   #:25466



    1   Patent Office to amend the Patent Office records to reflect the ownership
    2   interest of Masimo and/or Cercacor.
    3               XXXIV. TWENTY-SEVENTH CAUSE OF ACTION
    4              (DECLARATORY JUDGMENT OF OWNERSHIP OF
    5                  U.S. PATENT APPLICATION NO. 16/700,710)
    6         365. Plaintiffs hereby reallege and incorporate by reference the
    7   allegations set forth in paragraphs 1 through 50.
    8         366. U.S. Patent Application 16/700,710 is recorded as owned by Apple.
    9         367. Any inventive contribution that Lamego could have made to the
   10   alleged invention of the subject matter claimed in the ’710 application was made
   11   while he was a Masimo employee during 2000-2001 and 2003-2006, or a
   12   Cercacor employee during 2006-2014. This includes, for example, Claim 15 of
   13   the ’710 Application, which recites “a wearable device, comprising: a first light
   14   source that operates at a first wavelength; a second light source that operates at a
   15   second wavelength; at least one light receiver; and a processing unit that is
   16   configured to, upon detection of an object using light of the first wavelength
   17   received by the at least one light receiver, use light of the second wavelength
   18   received by the at least one light receiver to determine health data for a user.”
   19         368. In written assignments, Lamego agreed to assign and assigned to
   20   Masimo all patentable subject matter (as well as all works of authorship,
   21   developments, improvements, or trade secrets) conceived during their
   22   employment at Masimo, including ownership of all patents and patent
   23   applications claiming such subject matter.
   24         369. Those assignments vested in Masimo all legal and equitable title to
   25   patents and patent applications reciting inventions made during their
   26   employment, such that Masimo is at least a joint owner of the ’710 Application
   27   and all applications, patents, continuations, divisionals, and reissues that claim
   28   priority to the ’ 710 Application, including foreign counterparts.
                                               -129-


                                                                                               Exhibit B
                                                                                                  -136-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 131 of 208 Page ID
                                   #:49491
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 130 of 207 Page ID
                                   #:25467



    1         370. In at least one written assignment, Lamego agreed to assign and
    2   assigned to Cercacor all patentable subject matter (as well as all works of
    3   authorship, developments, improvements, or trade secrets) conceived during his
    4   employment at Cercacor, including ownership of all patents and patent
    5   applications claiming such subject matter. An exemplary agreement conveying
    6   such rights was attached as Exhibit A to Apple’s Motion to Dismiss (Doc. No.
    7   16-3). That assignment vested in Cercacor all legal and equitable title to patents
    8   and patent applications reciting inventions made during his employment, such
    9   that, to the extent the evidence establishes that Lamego obtained patentable
   10   subject matter claimed in the ’710 Application from, or jointly conceived such
   11   subject matter with, Cercacor employees while Lamego was an employee of
   12   Cercacor, Cercacor would be a joint owner of the ’710 Application and all
   13   applications, patents, continuations, divisionals, and reissues that claim priority to
   14   the ’710 Application, including foreign counterparts.
   15         371. Based on the forgoing, Plaintiffs seek declaratory relief under at
   16   least 28 U.S.C. §§ 2201 & 2202, as well as applicable state contract law and
   17   federal patent law, declaring that Masimo is at least a joint owner of the ’710
   18   Application (or, to the extent it is determined that Masimo employees invented
   19   all of the patentable subject matter claimed in the ’710 Application, that Masimo
   20   is the exclusive owner), and, in the alternative, that Cercacor is a joint owner of
   21   the ’710 Application. Plaintiffs also seek an order from the Court directing the
   22   Patent Office to amend the Patent Office records to reflect the ownership
   23   interest of Masimo and/or Cercacor.
   24                                PRAYER FOR RELIEF
   25         WHEREFORE, Plaintiffs pray for judgment in their favor against
   26   Defendant for the following relief:
   27         A.     Pursuant to 35 U.S.C. § 271, a determination that Defendant and its
   28   officers, agents, servants, employees, attorneys and all others in active concert
                                                -130-


                                                                                                 Exhibit B
                                                                                                    -137-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 132 of 208 Page ID
                                   #:49492
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 131 of 207 Page ID
                                   #:25468



    1   and/or participation with them have infringed each of the ’265, ’628, ’553, ’554,
    2   ’564, ’765, ’194, ’195, ’366, ’994, ’703, and ’776 patents through the
    3   manufacture, use, importation, offer for sale, and/or sale of infringing products
    4   and/or any of the other acts prohibited by 35 U.S.C. § 271;
    5         B.    Pursuant to 35 U.S.C. § 283, an injunction enjoining Defendant and
    6   its officers, agents, servants, employees, attorneys and all others in active
    7   concert and/or participation with them from infringing the ’265, ’628, ’553,
    8   ’554, ’564, ’765, ’194, ’195, ’366, ’994, ’703, and ’776 patents through the
    9   manufacture, use, importation, offer for sale, and/or sale of infringing products
   10   and/or any of the other acts prohibited by 35 U.S.C. § 271, including
   11   preliminary and permanent injunctive relief;
   12         C.    Pursuant to 35 U.S.C. § 284, an award compensating Masimo for
   13   Defendant’s infringement of the ’265, ’628, ’553, ’554, ’564, ’765, ’194, ’195,
   14   ’366, ’994, ’703, and ’776 patents through payment of not less than a reasonable
   15   royalty on Defendant’s sales of infringing products;
   16         D.    Pursuant to 35 U.S.C. § 284, an award increasing damages up to
   17   three times the amount found or assessed by the jury for Defendant’s
   18   infringement of each of the ’265, ’628, ’553, ’554, ’564, ’765, ’194, ’195, ’366,
   19   ’994, ’703, and ’776 patents in view of the willful and deliberate nature of the
   20   infringement;
   21         E.    Pursuant to 35 U.S.C. § 285, a finding that this is an exceptional
   22   case, and an award of reasonable attorneys’ fees and non-taxable costs;
   23         F.    An assessment of prejudgment and post-judgment interest and
   24   costs against Defendant, together with an award of such interest and costs,
   25   pursuant to 35 U.S.C. § 284;
   26         G.    That Defendant be adjudged to have misappropriated Plaintiffs’ trade
   27   secrets in violation of the California Uniform Trade Secrets Act, Cal. Civ. Code
   28

                                             -131-


                                                                                            Exhibit B
                                                                                               -138-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 133 of 208 Page ID
                                   #:49493
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 132 of 207 Page ID
                                   #:25469



    1   § 3426 et seq., and that Defendant’s acts in doing so be adjudged willful,
    2   malicious, oppressive, and done knowingly;
    3         H.     That Defendant be adjudged to have been unjustly enriched;
    4         I.     That Plaintiffs be awarded damages for actual losses, unjust
    5   enrichment, and/or a reasonable royalty pursuant to Cal. Civ. Code § 3426.3.
    6         J.     That Defendant, its agents, servants, employees, and attorneys, and
    7   all those persons in active concert or participation with Defendant, be forthwith
    8   temporarily, preliminarily, and thereafter permanently required to return all of
    9   Plaintiffs’ trade secrets and confidential information and enjoined from further
   10   using and disclosing to any third parties any of Plaintiffs’ trade secrets and
   11   confidential information;
   12         K.     That Defendant be enjoined from selling or offering to sell any
   13   product, including Defendant’s Apple Watch Series 4 and later devices, that
   14   includes or uses any of Plaintiffs’ trade secrets;
   15         L.     That Defendant be directed to file with this Court and to serve on
   16   Plaintiffs within thirty (30) days after the service of the injunction, a report in
   17   writing, under oath, setting forth in detail the manner and form in which
   18   Defendant has complied with the injunction;
   19         M.     That Defendant be required to account to Plaintiffs for any and all
   20   gains, profits, and advantages derived by it, and all damages sustained by
   21   Plaintiffs, by reason of Defendant’s acts complained herein;
   22         N.     That Plaintiffs be awarded exemplary damages and reasonable
   23   attorneys’ fees pursuant to Cal. Civ. Code § 3426.3(c) and 3426.4;
   24         O.     That the U.S. Patent and Trademark Office be directed to correct
   25   the inventorship of the ’052, ’670, ’095, ’754, ’671, and ’997 patents to add the
   26   correct inventors;
   27         P.     An order imposing a constructive trust for the benefit of Plaintiffs
   28   over: (1) any trade secrets Defendants obtained from Plaintiffs; (2) any profits,
                                                -132-


                                                                                              Exhibit B
                                                                                                 -139-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 134 of 208 Page ID
                                   #:49494
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 133 of 207 Page ID
                                   #:25470



    1   revenues, or other benefits obtained by Defendants as a result of any disclosure
    2   or use of trade secrets obtained from Plaintiffs; and (3) the Lamego Patents and
    3   the Lamego Patent Applications;
    4         Q.     That Plaintiffs be declared exclusive owners, or at least joint owners,
    5   of the patents and patent applications that are based on Plaintiffs’ developments,
    6   including the ’052, ’670, ’095, ’754, ’671, and ’997 patents, and the ’507 and
    7   ’710 applications, and all applications, patents, continuations, divisionals, and
    8   reissues that claim priority to those patents and that patent application, including
    9   foreign counterparts;
   10         R.     An award of taxable costs; and
   11         S.     That this Court award such other and further relief as this Court
   12   may deem just.
   13

   14                                    Respectfully submitted,
   15                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
   16
        Dated: February 5, 2021          By: /s/ Adam B. Powell
   17                                        Joseph R. Re
                                             Stephen C. Jensen
   18                                        Perry D. Oldham
                                             Stephen W. Larson
   19                                        Adam B. Powell
   20                                        Attorneys for Plaintiffs,
                                             Masimo Corporation and
   21                                        Cercacor Laboratories, Inc.
   22

   23

   24
   25

   26

   27

   28

                                               -133-


                                                                                               Exhibit B
                                                                                                  -140-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 135 of 208 Page ID
                                   #:49495
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 134 of 207 Page ID
                                   #:25471



    1                               DEMAND FOR JURY TRIAL
    2              Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
    3   Masimo Corporation and Cercacor Laboratories, Inc. hereby demands a trial by
    4   jury on all issues so triable.
    5

    6                                       Respectfully submitted,
    7                                       KNOBBE, MARTENS, OLSON & BEAR, LLP
    8
        Dated: February 5, 2021             By: /s/ Adam B. Powell
    9                                            Joseph R. Re
                                                 Stephen C. Jensen
   10                                            Perry D. Oldham
                                                 Stephen W. Larson
   11                                            Adam B. Powell
   12                                            Attorneys for Plaintiffs,
                                                 Masimo Corporation and
   13                                            Cercacor Laboratories, Inc.
   14   34315472

   15
   16

   17
   18
   19

   20
   21

   22

   23

   24
   25

   26

   27

   28

                                                  -134-


                                                                                                Exhibit B
                                                                                                   -141-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 136 of 208 Page ID
                                   #:49496




 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 135 of 207 Page ID
                                    #:25472




                          EXHIBIT 1




                                                                                   Exhibit B
                                                                                      -142-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 137 of 208 Page ID
                                    #:49497
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 136 of 207 Page ID
                                    #:25473


                                        U.S. Patent No. 10,258,265

    U.S. Patent No. 10,258,265                     Description of Accused Products
              Claim 1
   1. A noninvasive optical       The Apple Watch Series 4 and later devices are noninvasive optical
   physiological measurement      physiological measurement devices adapted to be worn by a wearer,
   device adapted to be worn      and provide an indication of a physiological parameter as shown on the
   by a wearer, the noninvasive   Apple website at https://support.apple.com/en-us/HT204666:
   optical physiological
   measurement device
   providing an indication of a
   physiological parameter of
   the wearer comprising:




                                  The emitters and detectors are used to monitor physiological
                                  parameters, such as pulse rate. See https://support.apple.com/en-
                                  us/HT204666.

   a plurality of emitters of     The Apple Watch Series 4 and later devices include a plurality of
   different wavelengths;         emitters of different wavelengths. The Apple Watch Series 4 and later
                                  devices include green and infrared LEDs as found on the Apple website
                                  at https://support.apple.com/en-us/HT204666:




                                                     1
                                                                                                           Exhibit B
                                                                                                              -143-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 138 of 208 Page ID
                                    #:49498
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 137 of 207 Page ID
                                    #:25474


   U.S. Patent No. 10,258,265                        Description of Accused Products
             Claim 1
   a housing having a surface     The Apple Watch Series 4 and later devices include a housing having a
   and a circular wall            surface and a circular wall protruding from the surface. Fig. 4C of
   protruding from the surface;   Apple’s U.S. Patent Application Publication 2019/0072912 (the ’912
                                  publication) is illustrative of the Apple Watch Series 4 and later devices.
                                  The Apple Watch Series 4 and later devices have, for example, a
                                  circular wall arranged on substrate:




                                                      2
                                                                                                                Exhibit B
                                                                                                                   -144-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 139 of 208 Page ID
                                    #:49499
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 138 of 207 Page ID
                                    #:25475


    U.S. Patent No. 10,258,265                       Description of Accused Products
              Claim 1
   at least four detectors         The Apple Watch Series 4 and later devices include at least four
   arranged on the surface and     detectors arranged on the surface and spaced apart from each other,
   spaced apart from each          the at least four detectors configured to output one or more signals
   other, the at least four        responsive to light from the one or more light emitters attenuated by
   detectors configured to         body tissue, the one or more signals indicative of a physiological
   output one or more signals      parameter of the wearer. The Apple Watch Series 4 and later devices
   responsive to light from the    include eight photodiode sensors as found on the Apple website at
   one or more light emitters      https://support.apple.com/en-us/HT204666:
   attenuated by body tissue,
   the one or more signals
   indicative of a physiological
   parameter of the wearer;
   and




                                   The Apple Watches Series 4 and later devices are worn on the wrist
                                   such that the detectors are configured to detect light that has passed
                                   through tissue and is indicative of a physiological parameter of the
                                   wearer:

                                       The optical heart sensor in Apple Watch uses what is known as
                                       photoplethysmography. This technology, while difficult to
                                       pronounce, is based on a very simple fact: Blood is red because it
                                       reflects red light and absorbs green light. Apple Watch uses green
                                       LED lights paired with light-sensitive photodiodes to detect the
                                       amount of blood flowing through your wrist at any given moment.
                                       When your heart beats, the blood flow in your wrist — and the
                                       green light absorption — is greater. Between beats, it’s less. By
                                       flashing its LED lights hundreds of times per second, Apple Watch
                                       can calculate the number of times the heart beats each minute —
                                       your heart rate. The optical heart sensor supports a range of 30–
                                       210 beats per minute. In addition, the optical heart sensor is
                                       designed to compensate for low signal levels by increasing both
                                       LED brightness and sampling rate.

                                   https://support.apple.com/en-us/HT204666.




                                                       3
                                                                                                            Exhibit B
                                                                                                               -145-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 140 of 208 Page ID
                                    #:49500
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 139 of 207 Page ID
                                    #:25476


    U.S. Patent No. 10,258,265                     Description of Accused Products
               Claim 1
   a light permeable cover       The Apple Watch Series 4 and later devices include a light permeable
   arranged above at least a     cover arranged above at least a portion of the housing, the light
   portion of the housing, the   permeable cover comprising a protrusion arranged to cover the at least
   light permeable cover         four detectors.
   comprising a protrusion
   arranged to cover the at      Figs. 4A and 4C of Apple’s ’912 publication are illustrative of the Apple
   least four detectors.         Watch Series 4 and later devices. The Apple Watch Series 4 and later
                                 devices have, for example, a dome-shaped carrier having a surface that
                                 protrudes from the back of the watch. The dome-shaped carrier is
                                 arranged above at least a portion of the housing and is arranged to
                                 cover the at least four detectors:




                                                     4
                                                                                                             Exhibit B
                                                                                                                -146-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 141 of 208 Page ID
                                    #:49501
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 140 of 207 Page ID
                                    #:25477


                                      U.S. Patent No. 10,292,628

   U.S. Patent No. 10,292,628                    Description of Accused Products
             Claim 1
   1. A noninvasive optical     The Apple Watch Series 4 and later devices are noninvasive optical
   physiological sensor         physiological sensors.
   comprising:
                                The Apple Watch Series 4 and later devices include a plurality of
                                emitters of different wavelengths (for example, green and infrared
                                LEDs) and at least four detectors (for example, photodiode sensors)
                                spaced apart from each other as found on the Apple website at
                                https://support.apple.com/en-us/HT204666:




                                The emitters and detectors are used to monitor physiological
                                parameters, such as pulse rate. See https://support.apple.com/en-
                                us/HT204666.




                                                   5
                                                                                                      Exhibit B
                                                                                                         -147-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 142 of 208 Page ID
                                    #:49502
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 141 of 207 Page ID
                                    #:25478


    U.S. Patent No. 10,292,628                       Description of Accused Products
               Claim 1
   a plurality of emitters         The Apple Watch Series 4 and later devices include a plurality of
   configured to emit light into   emitters configured to emit light into tissue of a user. The Apple Watch
   tissue of a user;               Series 4 and later devices include green and infrared LEDs as found on
                                   the Apple website at https://support.apple.com/en-us/HT204666:




                                   The Apple Watches Series 4 and later devices are worn on the wrist
                                   such that the detectors are configured to detect light that has passed
                                   through tissue and is indicative of a physiological parameter of the
                                   wearer:

                                       The optical heart sensor in Apple Watch uses what is known as
                                       photoplethysmography. This technology, while difficult to
                                       pronounce, is based on a very simple fact: Blood is red because it
                                       reflects red light and absorbs green light. Apple Watch uses green
                                       LED lights paired with light-sensitive photodiodes to detect the
                                       amount of blood flowing through your wrist at any given moment.
                                       When your heart beats, the blood flow in your wrist — and the
                                       green light absorption — is greater. Between beats, it’s less. By
                                       flashing its LED lights hundreds of times per second, Apple Watch
                                       can calculate the number of times the heart beats each minute —
                                       your heart rate. The optical heart sensor supports a range of 30–
                                       210 beats per minute. In addition, the optical heart sensor is
                                       designed to compensate for low signal levels by increasing both
                                       LED brightness and sampling rate.

                                   https://support.apple.com/en-us/HT204666.




                                                       6
                                                                                                              Exhibit B
                                                                                                                 -148-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 143 of 208 Page ID
                                    #:49503
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 142 of 207 Page ID
                                    #:25479


    U.S. Patent No. 10,292,628                     Description of Accused Products
               Claim 1
   a plurality of detectors      The Apple Watch Series 4 and later devices include a plurality of
   configured to detect light    detectors configured to detect light that has been attenuated by tissue
   that has been attenuated by   of the user, wherein the plurality of detectors comprise at least four
   tissue of the user, wherein   detectors. The Apple Watch Series 4 and later devices include
   the plurality of detectors    photodiode sensors as found on the Apple website at
   comprise at least four        https://support.apple.com/en-us/HT204666:
   detectors;




                                 The Apple Watches Series 4 and later devices are worn on the wrist
                                 such that the detectors are configured to detect light that has passed
                                 through tissue and is indicative of a physiological parameter of the
                                 wearer:

                                     The optical heart sensor in Apple Watch uses what is known as
                                     photoplethysmography. This technology, while difficult to
                                     pronounce, is based on a very simple fact: Blood is red because it
                                     reflects red light and absorbs green light. Apple Watch uses green
                                     LED lights paired with light-sensitive photodiodes to detect the
                                     amount of blood flowing through your wrist at any given moment.
                                     When your heart beats, the blood flow in your wrist — and the
                                     green light absorption — is greater. Between beats, it’s less. By
                                     flashing its LED lights hundreds of times per second, Apple Watch
                                     can calculate the number of times the heart beats each minute —
                                     your heart rate. The optical heart sensor supports a range of 30–
                                     210 beats per minute. In addition, the optical heart sensor is
                                     designed to compensate for low signal levels by increasing both
                                     LED brightness and sampling rate.

                                 https://support.apple.com/en-us/HT204666.




                                                     7
                                                                                                           Exhibit B
                                                                                                              -149-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 144 of 208 Page ID
                                    #:49504
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 143 of 207 Page ID
                                    #:25480


   U.S. Patent No. 10,292,628                          Description of Accused Products
              Claim 1
   a housing configured to           The Apple Watch Series 4 and later devices include a housing
   house at least the plurality of   configured to house at least the plurality of detectors. Fig. 4C of
   detectors; and                    Apple’s U.S. Patent Application Publication 2019/0072912 (the ’912
                                     publication), shows, for example, such housing:




                                                        8
                                                                                                           Exhibit B
                                                                                                              -150-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 145 of 208 Page ID
                                    #:49505
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 144 of 207 Page ID
                                    #:25481


    U.S. Patent No. 10,292,628                        Description of Accused Products
               Claim 1
   a light permeable cover          The Apple Watch Series 4 and later devices include a light permeable
   configured to be located         cover configured to be located between tissue of the user and the
   between tissue of the user       plurality of detectors when the noninvasive optical physiological sensor
   and the plurality of detectors   is worn by the user, wherein the cover comprises an outwardly
   when the noninvasive             protruding convex surface configured to cause tissue of the user to
   optical physiological sensor     conform to at least a portion of the outwardly protruding convex surface
   is worn by the user, wherein     when the noninvasive optical physiological sensor is worn by the user
   the cover comprises an           and during operation of the noninvasive optical physiological sensor,
   outwardly protruding convex      and wherein the plurality of detectors are configured to receive light
   surface configured to cause      passed through the outwardly protruding convex surface after
   tissue of the user to conform    attenuation by tissue of the user.
   to at least a portion of the
   outwardly protruding convex      Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such a
   surface when the                 cover in the Apple Watch Series 4 and later devices:
   noninvasive optical
   physiological sensor is worn
   by the user and during
   operation of the noninvasive
   optical physiological sensor,
   and wherein the plurality of
   detectors are configured to
   receive light passed through
   the outwardly protruding
   convex surface after
   attenuation by tissue of the
   user.




                                                        9
                                                                                                               Exhibit B
                                                                                                                  -151-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 146 of 208 Page ID
                                    #:49506
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 145 of 207 Page ID
                                    #:25482


                                      U.S. Patent No. 10,588,553

   U.S. Patent No. 10,588,553                    Description of Accused Products
             Claim 1
   A noninvasive optical        The Apple Watch Series 4 and 5 devices are noninvasive optical
   physiological sensor         physiological sensors as found on the Apple website at
   comprising:                  https://support.apple.com/en-us/HT204666:




                                                  10
                                                                                                 Exhibit B
                                                                                                    -152-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 147 of 208 Page ID
                                    #:49507
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 146 of 207 Page ID
                                    #:25483


    U.S. Patent No. 10,588,553                       Description of Accused Products
               Claim 1
   a plurality of emitters         The Apple Watch Series 4 and 5 devices include a plurality of emitters
   configured to emit light into   configured to emit light into tissue of a user. The Apple Watch Series 4
   tissue of a user;               and 5 devices include green and infrared LEDs as found on the Apple
                                   website at https://support.apple.com/en-us/HT204666:




   at least four detectors,        The Apple Watch Series 4 and 5 devices include at least four detectors,
   wherein at least one of the     wherein at least one of the at least four detectors is configured to detect
   at least four detectors is      light that has been attenuated by tissue of the user, and wherein the at
   configured to detect light      least four detectors are arranged on a substrate. The Apple Watch
   that has been attenuated by     Series 4 and 5 devices include eight photodiode sensors on a
   tissue of the user, and         substrate, as found on the Apple website at
   wherein the at least four       https://support.apple.com/en-us/HT204666:
   detectors are arranged on a
   substrate;




                                   The Apple Watches Series 4 and 5 devices are worn on the wrist such
                                   that the detectors are configured to detect light that has passed through
                                   tissue:



                                                      11
                                                                                                                 Exhibit B
                                                                                                                    -153-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 148 of 208 Page ID
                                    #:49508
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 147 of 207 Page ID
                                    #:25484


    U.S. Patent No. 10,588,553                      Description of Accused Products
             Claim 1

                                      The optical heart sensor in Apple Watch uses what is known as
                                      photoplethysmography. This technology, while difficult to
                                      pronounce, is based on a very simple fact: Blood is red because it
                                      reflects red light and absorbs green light. Apple Watch uses green
                                      LED lights paired with light-sensitive photodiodes to detect the
                                      amount of blood flowing through your wrist at any given moment.
                                      When your heart beats, the blood flow in your wrist — and the
                                      green light absorption — is greater. Between beats, it’s less. By
                                      flashing its LED lights hundreds of times per second, Apple Watch
                                      can calculate the number of times the heart beats each minute —
                                      your heart rate. The optical heart sensor supports a range of 30–
                                      210 beats per minute. In addition, the optical heart sensor is
                                      designed to compensate for low signal levels by increasing both
                                      LED brightness and sampling rate.

                                  https://support.apple.com/en-us/HT204666.
   a wall configured to           The Apple Watch Series 4 and 5 devices include a wall configured to
   circumscribe at least the at   circumscribe at least the at least four detectors. Fig. 4C of Apple’s U.S.
   least four detectors; and      Patent Application Publication 2019/0072912 (the ’912 publication) is
                                  illustrative of the Apple Watch Series 4 and later devices. The Apple
                                  Watch Series 4 and later devices have, for example, wall circumscribing
                                  photodiode sensors arranged on a substrate:




                                                     12
                                                                                                               Exhibit B
                                                                                                                  -154-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 149 of 208 Page ID
                                    #:49509
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 148 of 207 Page ID
                                    #:25485


    U.S. Patent No. 10,588,553                        Description of Accused Products
               Claim 1
   a cover configured to be         The Apple Watch Series 4 and later devices include a cover configured
   located between tissue of        to be located between tissue of the user and the at least four detectors
   the user and the at least four   when the noninvasive optical physiological sensor is worn by the user,
   detectors when the               wherein the cover comprises a single protruding convex surface
   noninvasive optical              operable to conform tissue of the user to at least a portion of the single
   physiological sensor is worn     protruding convex surface when the noninvasive optical physiological
   by the user, wherein the         sensor is worn by the user, and wherein the wall operably connects to
   cover comprises a single         the substrate and the cover.
   protruding convex surface
   operable to conform tissue       The dome-shaped carrier in Figs. 4A and 4C of Apple’s ’912 publication
   of the user to at least a        is illustrative of the Apple Watch Series 4 and later devices. The dome-
   portion of the single            shaped carrier has a surface that protrudes from the back of the watch,
   protruding convex surface        is located between tissue of the user and the at least four detectors
   when the noninvasive             when the noninvasive optical physiological sensor is worn by the user,
   optical physiological sensor     and comprises a single protruding convex surface operable to conform
   is worn by the user, and         tissue of the user to at least a portion of the single protruding convex
   wherein the wall operably        surface when the noninvasive optical physiological sensor is worn by
   connects to the substrate        the user, wherein the wall operably connects to the substrate and the
   and the cover.                   cover:




                                                       13
                                                                                                                 Exhibit B
                                                                                                                    -155-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 150 of 208 Page ID
                                    #:49510
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 149 of 207 Page ID
                                    #:25486


                                      U.S. Patent No. 10,588,554

   U.S. Patent No. 10,588,554                    Description of Accused Products
            Claim 20
   A physiological              The Apple Watch Series 4 and later devices in combination with iPhone
   measurement system           devices are physiological measurement systems.
   comprising:
                                The Apple Watch Series 4 and later devices as found on the Apple
                                website at https://support.apple.com/en-us/HT204666:




                                                  14
                                                                                                        Exhibit B
                                                                                                           -156-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 151 of 208 Page ID
                                    #:49511
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 150 of 207 Page ID
                                    #:25487


   U.S. Patent No. 10,588,554                        Description of Accused Products
             Claim 20
   a physiological sensor          The Apple Watch Series 4 and later devices are physiological sensor
   device comprising:              devices.

                                   The Apple Watch Series 4 and later devices include a plurality of
                                   emitters of different wavelengths (for example, green and infrared
                                   LEDs) and at least four detectors (for example, photodiode sensors)
                                   spaced apart from each other as found on the Apple website at
                                   https://support.apple.com/en-us/HT204666:




                                   The emitters and detectors are used to monitor physiological
                                   parameters, such as pulse rate. See https://support.apple.com/en-
                                   us/HT204666.

   a plurality of emitters         The Apple Watch Series 4 and later devices include a plurality of
   configured to emit light into   emitters configured to emit light into tissue of a user. The Apple Watch
   tissue of a user;               Series 4 and later devices include green and infrared LEDs as found on
                                   the Apple website at https://support.apple.com/en-us/HT204666:




                                                      15
                                                                                                              Exhibit B
                                                                                                                 -157-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 152 of 208 Page ID
                                    #:49512
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 151 of 207 Page ID
                                    #:25488


    U.S. Patent No. 10,588,554                      Description of Accused Products
              Claim 20
   at least four detectors,       The Apple Watch Series 4 and later devices include at least four
   wherein each of the at least   detectors, wherein each of the at least four detectors has a
   four detectors has a           corresponding window that allows light to pass through to the detector.
   corresponding window that      The Apple Watch Series 4 and later devices include eight photodiode
   allows light to pass through   sensors with corresponding windows that allow light to pass through to
   to the detector;               the detector, as found on the Apple website at
                                  https://support.apple.com/en-us/HT204666:




                                  The Apple Watches Series 4 and later devices are worn on the wrist
                                  such that the detectors are configured to detect light that has passed
                                  through tissue:

                                      The optical heart sensor in Apple Watch uses what is known as
                                      photoplethysmography. This technology, while difficult to
                                      pronounce, is based on a very simple fact: Blood is red because it
                                      reflects red light and absorbs green light. Apple Watch uses green
                                      LED lights paired with light-sensitive photodiodes to detect the
                                      amount of blood flowing through your wrist at any given moment.
                                      When your heart beats, the blood flow in your wrist — and the
                                      green light absorption — is greater. Between beats, it’s less. By
                                      flashing its LED lights hundreds of times per second, Apple Watch
                                      can calculate the number of times the heart beats each minute —
                                      your heart rate. The optical heart sensor supports a range of 30–
                                      210 beats per minute. In addition, the optical heart sensor is
                                      designed to compensate for low signal levels by increasing both
                                      LED brightness and sampling rate.

                                  https://support.apple.com/en-us/HT204666.




                                                     16
                                                                                                            Exhibit B
                                                                                                               -158-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 153 of 208 Page ID
                                    #:49513
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 152 of 207 Page ID
                                    #:25489


    U.S. Patent No. 10,588,554                        Description of Accused Products
             Claim 20
   a wall that surrounds at least   The Apple Watch Series 4 and later devices include a wall that
   the at least four detectors;     surrounds at least the at least four detectors. Fig. 4C of Apple’s U.S.
   and                              Patent Application Publication 2019/0072912 (the ’912 publication) is
                                    illustrative of the Apple Watch Series 4 and later devices. The Apple
                                    Watch Series 4 and later devices have, for example, a wall surrounding
                                    photodiode sensors arranged on substrate:




                                                       17
                                                                                                              Exhibit B
                                                                                                                 -159-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 154 of 208 Page ID
                                    #:49514
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 153 of 207 Page ID
                                    #:25490


    U.S. Patent No. 10,588,554                          Description of Accused Products
              Claim 20
   a cover comprising a single        The Apple Watch Series 4 and later devices include a cover comprising
   protruding convex surface,         a single protruding convex surface, wherein the single protruding
   wherein the single                 convex surface is configured to be located between tissue of the user
   protruding convex surface is       and the at least four detectors when the physiological sensor device is
   configured to be located           worn by the user, wherein at least a portion of the single protruding
   between tissue of the user         convex surface is sufficiently rigid to cause tissue of the user to conform
   and the at least four              to at least a portion of a shape of the single protruding convex surface
   detectors when the                 when the physiological sensor device is worn by the user, and wherein
   physiological sensor device        the cover operably connects to the wall; and.
   is worn by the user, wherein
   at least a portion of the          The Apple Watch Series 4 and later devices include a dome-shaped
   single protruding convex           carrier having a surface that protrudes from the back of the watch. The
   surface is sufficiently rigid to   dome-shaped carrier is located between tissue of the user and the at
   cause tissue of the user to        least four detectors when the noninvasive optical physiological sensor
   conform to at least a portion      is worn by the user, and comprises a single protruding convex surface
   of a shape of the single           operable to conform tissue of the user to at least a portion of the single
   protruding convex surface          protruding convex surface when the noninvasive optical physiological
   when the physiological             sensor is worn by the user, and wherein the wall operably connects to
   sensor device is worn by the       the substrate and the cover. Figs. 4A and 4C of Apple’s ’912 publication
   user, and wherein the cover        are illustrative of the dome-shaped cover in the Apple Watch Series 4
   operably connects to the           and later devices:
   wall; and




                                                         18
                                                                                                                    Exhibit B
                                                                                                                       -160-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 155 of 208 Page ID
                                    #:49515
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 154 of 207 Page ID
                                    #:25491


   U.S. Patent No. 10,588,554                      Description of Accused Products
             Claim 20
   a handheld computing           The Apple Watch Series 4 and later devices are physiological sensor
   device in wireless             devices that communicate wirelessly with handheld computing devices.
   communication with the
   physiological sensor device.   The Apple Watch Series 4 and later devices communicate wirelessly
                                  with Apple iOS devices as found on the Apple website at
                                  https://support.apple.com/en-us/HT204666:




                                  The Apple Watch Series 4 and later devices communicate wirelessly
                                  with Apple iOS devices as described on the Apple website at
                                  https://support.apple.com/en-us/HT204505:

                                     To set up and use your Apple Watch, you need an iPhone with the
                                     latest version of iOS.

                                     watchOS 6 is compatible with Apple Watch Series 1 and later.
                                     Upgrading to watchOS 6 requires an iPhone 6s or later running iOS
                                     13 or later.

                                     You also need to make sure that your iPhone has Bluetooth turned
                                     on, and that it's connected to Wi-Fi or a cellular network.

                                     If you already set up your Apple Watch but want to use it with a
                                     different iPhone, you can transfer your Apple Watch and its content
                                     to your new iPhone.




                                                    19
                                                                                                           Exhibit B
                                                                                                              -161-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 156 of 208 Page ID
                                    #:49516
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 155 of 207 Page ID
                                    #:25492


                                         U.S. Patent No. 10,624,564

   U.S. Patent No. 10,624,564                        Description of Accused Products
             Claim 1
   1. A user-worn physiological    The Apple Watch Series 4 and later devices are user-worn
   measurement device              physiological measurement devices as shown on the Apple website at
   comprising:                     https://support.apple.com/en-us/HT204666:




   one or more emitters            The Apple Watch Series 4 and later devices include one or more
   configured to emit light into   emitters configured to emit light into tissue of a user as shown on the
   tissue of a user;               Apple website at https://support.apple.com/en-us/HT204666:




   at least four detectors         The Apple Watch Series 4 and later devices include at least four
   arranged on a substrate;        detectors arranged on a substrate as shown on the Apple website at
                                   https://support.apple.com/en-us/HT204666:




                                                      20
                                                                                                             Exhibit B
                                                                                                                -162-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 157 of 208 Page ID
                                    #:49517
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 156 of 207 Page ID
                                    #:25493


    U.S. Patent No. 10,624,564                       Description of Accused Products
             Claim 1




   a cover comprising a            The Apple Watch Series 4 and later devices include a rigid protruding
   protruding convex surface,      convex surface that extends over all of the at least four detectors
   wherein the protruding          arranged on the substrate.
   convex surface extends over
   all of the at least four        Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such a
   detectors arranged on the       cover in the Apple Watch Series 4 and later devices:
   substrate, wherein at least a
   portion of the protruding
   convex surface is rigid;




   one or more processors          The Apple Watch Series 4 and later devices include one or more
   configured to:                  processors as shown on the Apple website at
                                   https://support.apple.com/en-us/HT204666:




                                                      21
                                                                                                            Exhibit B
                                                                                                               -163-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 158 of 208 Page ID
                                    #:49518
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 157 of 207 Page ID
                                    #:25494


    U.S. Patent No. 10,624,564                       Description of Accused Products
             Claim 1




   receive one or more signals     The Apple Watch Series 4 and later devices receive one or more
   from at least one of the at     signals from at least one of the at least four detectors, the one or more
   least four detectors, the one   signals responsive to at least a physiological parameter of the user as
   or more signals responsive      shown on the Apple website at https://support.apple.com/en-
   to at least a physiological     us/HT204666:
   parameter of the user; and




   process the one or more         The Apple Watch Series 4 and later devices process the one or more
   signals to determine            signals to determine measurements of the physiological parameter as
   measurements of the             shown on the Apple website at https://support.apple.com/en-
   physiological parameter;        us/HT204666:




                                                      22
                                                                                                               Exhibit B
                                                                                                                  -164-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 159 of 208 Page ID
                                    #:49519
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 158 of 207 Page ID
                                    #:25495


    U.S. Patent No. 10,624,564                     Description of Accused Products
             Claim 1




   a network interface            The Apple Watch Series 4 and later devices include a network interface
   configured to communicate      configured to communicate with a mobile phone as shown on the Apple
   with a mobile phone;           website at https://support.apple.com/en-us/HT204666:




   a touch-screen display         The Apple Watch Series 4 and later devices include a touch-screen
   configured to provide a user   display configured to provide a user interface as shown on the Apple
   interface, wherein:            website at https://support.apple.com/en-us/HT204666:




                                                    23
                                                                                                           Exhibit B
                                                                                                              -165-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 160 of 208 Page ID
                                    #:49520
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 159 of 207 Page ID
                                    #:25496


    U.S. Patent No. 10,624,564                       Description of Accused Products
             Claim 1




   the user interface is           The Apple Watch Series 4 and later devices include a user interface
   configured to display indicia   configured to display indicia responsive to the measurements of the
   responsive to the               physiological parameter as shown on the Apple website at
   measurements of the             https://support.apple.com/en-us/HT204666:
   physiological parameter, and




   an orientation of the user      The Apple Watch Series 4 and later devices have an orientation of the
   interface is configurable       user interface that is configurable responsive to a user input as shown
   responsive to a user input;     on the Apple website at https://support.apple.com/guide/watch/change-
                                   language-orientation-apple-watch-apd0bf18f46b/watchos.




                                                     24
                                                                                                             Exhibit B
                                                                                                                -166-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 161 of 208 Page ID
                                    #:49521
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 160 of 207 Page ID
                                    #:25497


    U.S. Patent No. 10,624,564                        Description of Accused Products
              Claim 1
   a wall that surrounds at least   The Apple Watch Series 4 and later devices include a wall that
   the at least four detectors,     surrounds at least the at least four detectors and operably connects to
   wherein the wall operably        the substrate and the cover.
   connects to the substrate
   and the cover;                   Fig. 4C of Apple’s U.S. Patent Application Publication 2019/0072912
                                    (the ’912 publication) is illustrative of the Apple Watch Series 4 and
                                    later devices. The Apple Watch Series 4 and later devices have, for
                                    example, such a wall:




   a storage device configured      The Apple Watch Series 4 and later devices include a storage device
   to at least temporarily store    configured to at least temporarily store at least the measurements of
   at least the measurements        the physiological parameter as shown on the Apple website at
   of the physiological             https://support.apple.com/en-us/HT204666:
   parameter; and




                                                       25
                                                                                                              Exhibit B
                                                                                                                 -167-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 162 of 208 Page ID
                                    #:49522
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 161 of 207 Page ID
                                    #:25498


    U.S. Patent No. 10,624,564                       Description of Accused Products
             Claim 1




   a strap configured to position   The Apple Watch Series 4 and later devices include a strap configured
   the physiological                to position the physiological measurement device on the user as shown
   measurement device on the        on the Apple website at https://support.apple.com/en-us/HT204666:
   user.




                                                      26
                                                                                                            Exhibit B
                                                                                                               -168-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 163 of 208 Page ID
                                    #:49523
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 162 of 207 Page ID
                                    #:25499




                                     U.S. Patent No. 10,631,765

   U.S. Patent No. 10,631,765                    Description of Accused Products
             Claim 1
   1. A physiological           The Apple Watch Series 4 and later devices in combination with iPhone
   measurement system           devices are physiological measurement systems.
   comprising:
                                The Apple Watch Series 4 and later devices include a plurality of
                                emitters of different wavelengths (for example, green and infrared
                                LEDs) and at least four detectors (for example, photodiode sensors)
                                spaced apart from each other as shown on the Apple website at
                                https://support.apple.com/en-us/HT204666:




                                The emitters and detectors are used to monitor physiological
                                parameters, such as pulse rate. See https://support.apple.com/en-
                                us/HT204666.
   a physiological sensor       The Apple Watch Series 4 and later devices are physiological sensor
   device comprising:           devices as shown on the Apple website at
                                https://support.apple.com/en-us/HT204666:




                                                  27
                                                                                                        Exhibit B
                                                                                                           -169-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 164 of 208 Page ID
                                    #:49524
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 163 of 207 Page ID
                                    #:25500


    U.S. Patent No. 10,631,765                       Description of Accused Products
             Claim 1




                                   The emitters and detectors are used to monitor physiological
                                   parameters, such as pulse rate. See https://support.apple.com/en-
                                   us/HT204666.


   one or more emitters            The Apple Watch Series 4 and later devices include one or more
   configured to emit light into   emitters configured to emit light into tissue of a user as shown on the
   tissue of a user;               Apple website at https://support.apple.com/en-us/HT204666:




                                   The emitters and detectors are used to monitor physiological
                                   parameters, such as pulse rate. See https://support.apple.com/en-
                                   us/HT204666.
   at least four detectors,        The Apple Watch Series 4 and later devices include at least four
   wherein each of the at least    detectors with a corresponding window that allows light to pass through
   four detectors has a            to the detector.
   corresponding window that
                                   The Apple Watch Series 4 and later devices include a plurality of
                                   emitters of different wavelengths (for example, green and infrared



                                                      28
                                                                                                             Exhibit B
                                                                                                                -170-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 165 of 208 Page ID
                                    #:49525
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 164 of 207 Page ID
                                    #:25501


    U.S. Patent No. 10,631,765                       Description of Accused Products
              Claim 1
   allows light to pass through     LEDs) and at least four detectors (for example, photodiode sensors)
   to the detector;                 spaced apart from each other as shown on the Apple website at
                                    https://support.apple.com/en-us/HT204666:




                                    The emitters and detectors are used to monitor physiological
                                    parameters, such as pulse rate. See https://support.apple.com/en-
                                    us/HT204666.


                                    See also apertures 230 described in US20190090806A1, including
                                    Fig. 2.

   a wall that surrounds at least   The Apple Watch Series 4 and later devices include a wall that
   the at least four detectors;     surrounds at least the at least four detectors.
   and




                                                      29
                                                                                                          Exhibit B
                                                                                                             -171-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 166 of 208 Page ID
                                    #:49526
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 165 of 207 Page ID
                                    #:25502


    U.S. Patent No. 10,631,765                         Description of Accused Products
             Claim 1
                                     Fig. 4C of Apple’s U.S. Patent Application Publication 2019/0072912
                                     (the ’912 publication) is illustrative of the Apple Watch Series 4 and
                                     later devices. The Apple Watch Series 4 and later devices have, for
                                     example, such a wall:




   a cover comprising a              The Apple Watch Series 4 and later devices include a rigid protruding
   protruding convex surface,        convex surface that is above all of the at least four detectors and
   wherein the protruding            operably connects to the wall.
   convex surface is above all
   of the at least four detectors,
   wherein at least a portion of
   the protruding convex
   surface is rigid, and wherein
   the cover operably connects
   to the wall; and




                                                        30
                                                                                                              Exhibit B
                                                                                                                 -172-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 167 of 208 Page ID
                                    #:49527
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 166 of 207 Page ID
                                    #:25503


    U.S. Patent No. 10,631,765                      Description of Accused Products
             Claim 1
                                  Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such a
                                  cover in the Apple Watch Series 4 and later devices:




   a handheld computing           The Apple iPhone devices are in wireless communication with the
   device in wireless             physiological sensor device as shown on the Apple website at
   communication with the         https://support.apple.com/en-us/HT204666:
   physiological sensor device,
   wherein the handheld
   computing device
   comprises:




   one or more processors         The Apple iPhone devices include one or more processors configured
   configured to wirelessly       to wirelessly receive one or more signals from the physiological sensor
   receive one or more signals    device, the one or more signals responsive to at least a physiological
   from the physiological         parameter of the user as shown on the Apple website at
   sensor device, the one or      https://support.apple.com/en-us/HT204666:
   more signals responsive to


                                                     31
                                                                                                            Exhibit B
                                                                                                               -173-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 168 of 208 Page ID
                                    #:49528
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 167 of 207 Page ID
                                    #:25504


   U.S. Patent No. 10,631,765                       Description of Accused Products
               Claim 1
   at least a physiological
   parameter of the user;




   a touch-screen display          The iPhone devices include a touch-screen display configured to
   configured to provide a user    provide a user interface as shown on the Apple website at
   interface, wherein:             https://support.apple.com/en-us/HT204666:




   the user interface is           The Apple iPhone devices include a user interface configured to display
   configured to display indicia   indicia responsive to measurements of the physiological parameter as
   responsive to measurements      shown on the Apple website at https://support.apple.com/en-
   of the physiological            us/HT204666:
   parameter, and




                                                     32
                                                                                                             Exhibit B
                                                                                                                -174-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 169 of 208 Page ID
                                    #:49529
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 168 of 207 Page ID
                                    #:25505


    U.S. Patent No. 10,631,765                       Description of Accused Products
             Claim 1




   an orientation of the user      The Apple iPhone devices have an orientation of the user interface that
   interface is configurable       is configurable responsive to a user input as shown on the Apple
   responsive to a user input;     website at https://support.apple.com/en-us/HT204547,
   and                             https://support.apple.com/guide/watch/change-language-orientation-
                                   apple-watch-apd0bf18f46b/watchos.
   a storage device configured     The Apple iPhone devices include a storage device configured to at
   to at least temporarily store   least temporarily store at least the measurements of the physiological
   at least the measurements       parameter as shown on the Apple website at
   of the physiological            https://support.apple.com/en-us/HT204666:
   parameter.




                                                     33
                                                                                                             Exhibit B
                                                                                                                -175-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 170 of 208 Page ID
                                    #:49530
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 169 of 207 Page ID
                                    #:25506




                                     U.S. Patent No. 10,702,194

   U.S. Patent No. 10,702,194                    Description of Accused Products
             Claim 1
   1. A physiological           The Apple Watch Series 4 and later devices are physiological
   measurement system           measurement systems as shown on the Apple website at
   comprising:                  https://support.apple.com/en-us/HT204666:




   a physiological sensor       The Apple Watch Series 4 and later devices are physiological sensor
   device comprising:           devices as shown on the Apple website at
                                https://support.apple.com/en-us/HT204666:




                                                  34
                                                                                                      Exhibit B
                                                                                                         -176-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 171 of 208 Page ID
                                    #:49531
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 170 of 207 Page ID
                                    #:25507


    U.S. Patent No. 10,702,194                       Description of Accused Products
              Claim 1
   one or more emitters            The Apple Watch Series 4 and later devices include one or more
   configured to emit light into   emitters configured to emit light into tissue of a user as shown on the
   tissue of a user;               Apple website at https://support.apple.com/en-us/HT204666:




   a first set of photodiodes,     The Apple Watch Series 4 and later devices include a first set of
   wherein:                        photodiodes as shown on the Apple website at
                                   https://support.apple.com/en-us/HT204666:




   the first set of photodiodes    The Apple Watch Series 4 and later devices include the first set of
   comprises at least four         photodiodes comprises at least four photodiodes as shown on the
   photodiodes,                    Apple website at https://support.apple.com/en-us/HT204666:




                                                      35
                                                                                                             Exhibit B
                                                                                                                -177-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 172 of 208 Page ID
                                    #:49532
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 171 of 207 Page ID
                                    #:25508


    U.S. Patent No. 10,702,194                      Description of Accused Products
             Claim 1




   the photodiodes of the first   Upon information and belief, the Apple Watch Series 4 and later
   set of photodiodes are         devices include a first set of photodiodes connected to one another in
   connected to one another in    parallel to provide a first signal stream as shown on the Apple website
   parallel to provide a first    at https://support.apple.com/en-us/HT204666:
   signal stream, and




   each of the photodiodes of     The Apple Watch Series 4 and later devices are configured so that
   the first set of photodiodes   each of the photodiodes of the first set of photodiodes has a
   has a corresponding window     corresponding window that allows light to pass through to the
   that allows light to pass      photodiode as shown on the Apple website at
   through to the photodiode;     https://support.apple.com/en-us/HT204666:




                                                     36
                                                                                                            Exhibit B
                                                                                                               -178-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 173 of 208 Page ID
                                    #:49533
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 172 of 207 Page ID
                                    #:25509


    U.S. Patent No. 10,702,194                     Description of Accused Products
             Claim 1




                                  See also apertures 230 described in US20190090806A1, including Fig.
                                  2.

   a second set of photodiodes,   The Apple Watch Series 4 and later devices include a second set of
   wherein:                       photodiodes as shown on the Apple website at
                                  https://support.apple.com/en-us/HT204666:




   the second set of              The Apple Watch Series 4 and later devices include a second set of
   photodiodes comprises at       photodiodes that comprises four photodiodes as shown on the Apple
   least four photodiodes,        website at https://support.apple.com/en-us/HT204666:




                                                    37
                                                                                                        Exhibit B
                                                                                                           -179-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 174 of 208 Page ID
                                    #:49534
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 173 of 207 Page ID
                                    #:25510


    U.S. Patent No. 10,702,194                       Description of Accused Products
             Claim 1




   the photodiodes of the           Upon information and belief, the Apple Watch Series 4 and later
   second set of photodiodes        devices include photodiodes connected to one another in parallel to
   are connected to one             provide a second signal stream as shown on the Apple website at
   another in parallel to provide   https://support.apple.com/en-us/HT204666:
   a second signal stream, and




   each of the photodiodes of       The Apple Watch Series 4 and later devices are configured so that
   the second set of                each of the photodiodes of the second set of photodiodes has a
   photodiodes has a                corresponding window that allows light to pass through to the
   corresponding window that        photodiode as shown on the Apple website at
   allows light to pass through     https://support.apple.com/en-us/HT204666:
   to the photodiode;




                                                      38
                                                                                                          Exhibit B
                                                                                                             -180-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 175 of 208 Page ID
                                    #:49535
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 174 of 207 Page ID
                                    #:25511


    U.S. Patent No. 10,702,194                    Description of Accused Products
             Claim 1




                                 See also apertures 230 described in US20190090806A1, including Fig.
                                 2.




                                                  39
                                                                                                       Exhibit B
                                                                                                          -181-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 176 of 208 Page ID
                                    #:49536
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 175 of 207 Page ID
                                    #:25512


    U.S. Patent No. 10,702,194                        Description of Accused Products
               Claim 1
   a wall that surrounds at least   The Apple Watch Series 4 and later devices include a wall that
   the first and second sets of     surrounds at least the first and second sets of photodiodes.
   photodiodes; and
                                    Fig. 4C of Apple’s U.S. Patent Application Publication 2019/0072912
                                    (the ’912 publication) is illustrative of the Apple Watch Series 4 and
                                    later devices. The Apple Watch Series 4 and later devices have, for
                                    example, such a wall:




                                                       40
                                                                                                             Exhibit B
                                                                                                                -182-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 177 of 208 Page ID
                                    #:49537
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 176 of 207 Page ID
                                    #:25513


    U.S. Patent No. 10,702,194                      Description of Accused Products
               Claim 1
   a cover comprising a           The Apple Watch Series 4 and later devices include a rigid protruding
   protruding convex surface,     convex surface that is above all of the photodiodes of the first and
   wherein the protruding         second sets of photodiodes and the wall.
   convex surface is above all
   of the photodiodes of the      Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such a
   first and second sets of       cover in the Apple Watch Series 4 and later devices:
   photodiodes, wherein at
   least a portion of the
   protruding convex surface is
   rigid, and wherein the cover
   is above the wall; and




   a handheld computing           The Apple iPhone devices are in wireless communication with the
   device in wireless             physiological sensor device as shown on the Apple website at
   communication with the         https://support.apple.com/en-us/HT204666:
   physiological sensor device,
   wherein the handheld
   computing device
   comprises:




   one or more processors         The Apple iPhone devices include one or more processors configured
   configured to wirelessly       to wirelessly receive one or more signals from the physiological sensor
   receive one or more signals    device, the one or more signals responsive to at least a physiological
   from the physiological


                                                     41
                                                                                                            Exhibit B
                                                                                                               -183-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 178 of 208 Page ID
                                    #:49538
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 177 of 207 Page ID
                                    #:25514


   U.S. Patent No. 10,702,194                       Description of Accused Products
               Claim 1
   sensor device, the one or       parameter of the user as shown on the Apple website at
   more signals responsive to      https://support.apple.com/en-us/HT204666:
   at least a physiological
   parameter of the user;




   a touch-screen display          The Apple iPhone devices include a touch-screen display configured to
   configured to provide a user    provide a user interface as shown on the Apple website at
   interface, wherein:             https://support.apple.com/en-us/HT204666:




   the user interface is           The Apple iPhone devices include a user interface configured to display
   configured to display indicia   indicia responsive to measurements of the physiological parameter as
   responsive to measurements      shown on the Apple website at https://support.apple.com/en-
   of the physiological            us/HT204666:
   parameter, and




                                                     42
                                                                                                             Exhibit B
                                                                                                                -184-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 179 of 208 Page ID
                                    #:49539
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 178 of 207 Page ID
                                    #:25515


    U.S. Patent No. 10,702,194                       Description of Accused Products
             Claim 1




   an orientation of the user      The Apple iPhone devices have an orientation of the user interface that
   interface is configurable       is configurable responsive to a user input as shown on the Apple
   responsive to a user input;     website at https://support.apple.com/en-us/HT204547,
   and                             https://support.apple.com/guide/watch/change-language-orientation-
                                   apple-watch-apd0bf18f46b/watchos.

   a storage device configured     The Apple iPhone devices include a storage device configured to at
   to at least temporarily store   least temporarily store at least the measurements of the physiological
   at least the measurements       parameter as shown on the Apple website at
   of the physiological            https://support.apple.com/en-us/HT204666:
   parameter.




                                                      43
                                                                                                             Exhibit B
                                                                                                                -185-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 180 of 208 Page ID
                                    #:49540
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 179 of 207 Page ID
                                    #:25516




                                          U.S. Patent No. 10,702,195

   U.S. Patent No. 10,702,195                         Description of Accused Products
              Claim 1
   1. A user-worn physiological     The Apple Watch Series 4 and later devices are user-worn
   measurement device that          physiological measurement devices that define a plurality of optical
   defines a plurality of optical   paths as shown on the Apple website at https://support.apple.com/en-
   paths, the physiological         us/HT204666:
   measurement device
   comprising:




   one or more emitters             The Apple Watch Series 4 and later devices include one or more
   configured to emit light into    emitters configured to emit light into tissue of a user as shown on the
   tissue of a user;                Apple website at https://support.apple.com/en-us/HT204666:




                                                       44
                                                                                                              Exhibit B
                                                                                                                 -186-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 181 of 208 Page ID
                                    #:49541
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 180 of 207 Page ID
                                    #:25517


    U.S. Patent No. 10,702,195                       Description of Accused Products
                Claim 1
   a first set of photodiodes      The Apple Watch Series 4 and later devices include a first set of
   positioned on a first surface   photodiodes positioned on a first surface and surrounded by a wall that
   and surrounded by a wall        is operably connected to the first surface.
   that is operably connected to
   the first surface, wherein:     Fig. 4C of Apple’s U.S. Patent Application Publication 2019/0072912
                                   (the ’912 publication) is illustrative of the Apple Watch Series 4 and
                                   later devices. The Apple Watch Series 4 and later devices have, for
                                   example, such a wall:




   the first set of photodiodes    The Apple Watch Series 4 and later devices include a first set of
   comprises at least four         photodiodes comprising at least four photodiodes as shown on the
   photodiodes, and                Apple website at https://support.apple.com/en-us/HT204666:




                                                      45
                                                                                                             Exhibit B
                                                                                                                -187-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 182 of 208 Page ID
                                    #:49542
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 181 of 207 Page ID
                                    #:25518


    U.S. Patent No. 10,702,195                      Description of Accused Products
             Claim 1




   the photodiodes of the first   Upon information and belief, the Apple Watch Series 4 and later
   set of photodiodes are         devices include photodiodes connected to one another in parallel to
   connected to one another in    provide a first signal stream.
   parallel to provide a first
   signal stream;                 Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such
                                  photodiodes in the Apple Watch Series 4 and later devices:




                                                     46
                                                                                                         Exhibit B
                                                                                                            -188-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 183 of 208 Page ID
                                    #:49543
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 182 of 207 Page ID
                                    #:25519


    U.S. Patent No. 10,702,195                     Description of Accused Products
              Claim 1
   a second set of photodiodes   The Apple Watch Series 4 and later devices include a second set of
   positioned on the first       photodiodes positioned on the first surface and surrounded by the wall.
   surface and surrounded by
   the wall, wherein:            Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such
                                 photodiodes in the Apple Watch Series 4 and later devices:




   the second set of             The Apple Watch Series 4 and later devices include a second set of
   photodiodes comprises at      photodiodes that comprises four photodiodes as shown on the Apple
   least four photodiodes, and   website at https://support.apple.com/en-us/HT204666:




                                                    47
                                                                                                           Exhibit B
                                                                                                              -189-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 184 of 208 Page ID
                                    #:49544
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 183 of 207 Page ID
                                    #:25520


    U.S. Patent No. 10,702,195                        Description of Accused Products
              Claim 1
   the photodiodes of the           Upon information and belief, the Apple Watch Series 4 and later
   second set of photodiodes        devices include photodiodes of the second set of photodiodes
   are connected to one             connected to one another in parallel to provide a second signal stream.
   another in parallel to provide
   a second signal stream; and      Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such
                                    photodiodes in the Apple Watch Series 4 and later devices:




                                                       48
                                                                                                              Exhibit B
                                                                                                                 -190-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 185 of 208 Page ID
                                    #:49545
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 184 of 207 Page ID
                                    #:25521


   U.S. Patent No. 10,702,195                          Description of Accused Products
              Claim 1
   a cover located above the         The Apple Watch Series 4 and later devices include a cover located
   wall and comprising a single      above the wall and comprising a single protruding convex surface
   protruding convex surface         configured to be located between tissue of the user and the first and
   configured to be located          second sets of photodiodes when the physiological measurement
   between tissue of the user        device is worn by the user.
   and the first and second sets
   of photodiodes when the           Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such a
   physiological measurement         cover in the Apple Watch Series 4 and later devices:
   device is worn by the user,




   wherein the physiological         The Apple Watch Series 4 and later devices provide a plurality of
   measurement device                optical paths as shown on the Apple website at
   provides a plurality of optical   https://support.apple.com/en-us/HT204666:
   paths, wherein each of the
   optical paths:




                                                        49
                                                                                                              Exhibit B
                                                                                                                 -191-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 186 of 208 Page ID
                                    #:49546
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 185 of 207 Page ID
                                    #:25522


   U.S. Patent No. 10,702,195                        Description of Accused Products
             Claim 1
   exits an emitter of the one or   The Apple Watch Series 4 and later devices include an optical path that
   more emitters,                   exits an emitter of the one or more emitters as shown on the Apple
                                    website at https://support.apple.com/en-us/HT204666:




                                    .

   passes through tissue of the     The Apple Watch Series 4 and later devices include optical paths that
   user,                            pass through tissue of the user as shown on the Apple website at
                                    https://support.apple.com/en-us/HT204666:




                                                      50
                                                                                                              Exhibit B
                                                                                                                 -192-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 187 of 208 Page ID
                                    #:49547
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 186 of 207 Page ID
                                    #:25523


   U.S. Patent No. 10,702,195                     Description of Accused Products
             Claim 1
   passes through the single    The Apple Watch Series 4 and later devices include optical paths that
   protruding convex surface,   pass through the single protruding convex surface.
   and
                                Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such a
                                path in the Apple Watch Series 4 and later devices:




                                                   51
                                                                                                         Exhibit B
                                                                                                            -193-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 188 of 208 Page ID
                                    #:49548
Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 187 of 207 Page ID
                                   #:25524


    U.S. Patent No. 10,702,195                        Description of Accused Products
               Claim 1
   arrives at a corresponding       The Apple Watch Series 4 and later devices provide an optical path that
   photodiode of the at least       arrives at a corresponding photodiode of the at least one of the first or
   one of the first or second       second sets of photodiodes, the corresponding photodiode configured
   sets of photodiodes, the         to receive light emitted by the emitter after traversal by the light of a
   corresponding photodiode         corresponding optical path of the plurality of optical paths and after
   configured to receive light      attenuation of the light by tissue of the user.
   emitted by the emitter after
   traversal by the light of a      Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such a
   corresponding optical path of    path in the Apple Watch Series 4 and later devices:
   the plurality of optical paths
   and after attenuation of the
   light by tissue of the user.




                                                       52
                                                                                                                Exhibit B
                                                                                                                   -194-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 189 of 208 Page ID
                                    #:49549
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 188 of 207 Page ID
                                    #:25525




                                      U.S. Patent No. 10,709,366

   U.S. Patent No. 10,709,366                     Description of Accused Products
             Claim 1
   1. A noninvasive              The Apple Watch Series 4 and later devices are noninvasive
   physiological parameter       physiological parameter measurement devices adapted to be worn by a
   measurement device            wearer as shown on the Apple website at https://support.apple.com/en-
   adapted to be worn by a       us/HT204666:
   wearer, the noninvasive
   physiological parameter
   measurement device
   comprising:




   one or more light emitters;   The Apple Watch Series 4 and later devices include one or more light
                                 emitters as shown on the Apple website at
                                 https://support.apple.com/en-us/HT204666:




                                                   53
                                                                                                         Exhibit B
                                                                                                            -195-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 190 of 208 Page ID
                                    #:49550
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 189 of 207 Page ID
                                    #:25526


   U.S. Patent No. 10,709,366                        Description of Accused Products
             Claim 1
   a substrate having a surface;   The Apple Watch Series 4 and later devices include a substrate having
                                   a surface.

                                   Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such
                                   substrate in the Apple Watch Series 4 and later devices:




   a first set of photodiodes      The Apple Watch Series 4 and later devices include a first set of
   arranged on the surface and     photodiodes arranged on the surface and spaced apart from each
   spaced apart from each          other.
   other, wherein:
                                   Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such
                                   photodiodes in the Apple Watch Series 4 and later devices:




                                                      54
                                                                                                           Exhibit B
                                                                                                              -196-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 191 of 208 Page ID
                                    #:49551
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 190 of 207 Page ID
                                    #:25527


    U.S. Patent No. 10,709,366                         Description of Accused Products
               Claim 1
   the first set of photodiodes      Upon information and belief, the Apple Watch Series 4 and later
   comprises at least four           devices include the first set of photodiodes comprises at least four
   photodiodes, and the              photodiodes, and the photodiodes of the first set of photodiodes are
   photodiodes of the first set of   connected to one another in parallel to provide a first signal stream
   photodiodes are connected         responsive to light from at least one of the one or more light emitters
   to one another in parallel to     attenuated by body tissue.
   provide a first signal stream
                                     Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such
   responsive to light from at
                                     photodiodes in the Apple Watch Series 4 and later devices:
   least one of the one or more
   light emitters attenuated by
   body tissue;




                                                        55
                                                                                                               Exhibit B
                                                                                                                  -197-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 192 of 208 Page ID
                                    #:49552
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 191 of 207 Page ID
                                    #:25528


   U.S. Patent No. 10,709,366                      Description of Accused Products
             Claim 1
   a second set of photodiodes   The Apple Watch Series 4 and later devices include a second set of
   arranged on the surface and   photodiodes arranged on the surface and spaced apart from each
   spaced apart from each        other.
   other, wherein:
                                 Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such
                                 photodiodes in the Apple Watch Series 4 and later devices:




                                                    56
                                                                                                        Exhibit B
                                                                                                           -198-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 193 of 208 Page ID
                                    #:49553
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 192 of 207 Page ID
                                    #:25529


    U.S. Patent No. 10,709,366                          Description of Accused Products
               Claim 1
   the second set of                  Upon information and belief, the Apple Watch Series 4 and later
   photodiodes comprises at           devices include a second set of photodiodes that comprise at least four
   least four photodiodes, the        photodiodes, the photodiodes of the second set of photodiodes are
   photodiodes of the second          connected to one another in parallel to provide a second signal stream
   set of photodiodes are             responsive to light from at least one of the one or more light emitters
   connected to one another in        attenuated by body tissue.
   parallel to provide a second
                                      Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such
   signal stream responsive to
                                      photodiodes in the Apple Watch Series 4 and later devices:
   light from at least one of the
   one or more light emitters
   attenuated by body tissue,
   and




   at least one of the first signal   The Apple Watch Series 4 and later devices are configured to provide
   stream or the second signal        at least one of a first signal stream or a second signal stream that
   stream includes information        includes information usable to determine a physiological parameter of a
   usable to determine a              wearer of the noninvasive physiological parameter measurement
   physiological parameter of a       device as shown on the Apple website at https://support.apple.com/en-
   wearer of the noninvasive          us/HT204666:
   physiological parameter
   measurement device;




                                                         57
                                                                                                                Exhibit B
                                                                                                                   -199-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 194 of 208 Page ID
                                    #:49554
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 193 of 207 Page ID
                                    #:25530


    U.S. Patent No. 10,709,366                     Description of Accused Products
             Claim 1


   a wall extending from the     The Apple Watch Series 4 and later devices include a wall extending
   surface and configured to     from the surface and configured to surround at least the first and
   surround at least the first   second sets of photodiodes.
   and second sets of
   photodiodes; and              Fig. 4C of Apple’s U.S. Patent Application Publication 2019/0072912
                                 (the ’912 publication) is illustrative of the Apple Watch Series 4 and
                                 later devices. The Apple Watch Series 4 and later devices have, for
                                 example, such a wall:




                                                    58
                                                                                                          Exhibit B
                                                                                                             -200-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 195 of 208 Page ID
                                    #:49555
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 194 of 207 Page ID
                                    #:25531


    U.S. Patent No. 10,709,366                        Description of Accused Products
              Claim 1
   a cover arranged to cover at     The Apple Watch Series 4 and later devices include a protrusion that
   least a portion of the surface   extends over all of the photodiodes of the first and second sets of
   of the substrate, wherein the    photodiodes arranged on the surface and the wall.
   cover comprises a protrusion
   that extends over all of the     Figs. 4A and 4C of Apple’s ’912 publication are illustrative of such a
   photodiodes of the first and     cover in the Apple Watch Series 4 and later devices:
   second sets of photodiodes
   arranged on the surface, and
   wherein the cover is further
   configured to cover the wall.




                                                       59
                                                                                                             Exhibit B
                                                                                                                -201-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 196 of 208 Page ID
                                    #:49556
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 195 of 207 Page ID
                                    #:25532




                                         U.S. Patent No. 6,771,994

    U.S. Patent No. 6,771,994                        Description of Accused Products
              Claim 15
   15. A sensor which             The Apple Watch Series 4 and later devices are sensors that generate
   generates at least first and   at least first and second intensity signals from a light-sensitive detector
   second intensity signals       which detects light of at least first and second wavelengths transmitted
   from a light-sensitive         through body tissue carrying pulsing blood.
   detector which detects light
   of at least first and second   The Apple Watch Series 4 and later devices include a plurality of
   wavelengths transmitted        emitters of different wavelengths (for example, green and infrared
   through body tissue carrying   LEDs) and at least four detectors (for example, photodiode sensors) as
   pulsing blood; the sensor      found on the Apple website at https://support.apple.com/en-
   comprising:                    us/HT204666:




                                  The emitters and detectors are used to monitor physiological
                                  parameters, such as pulse rate. See https://support.apple.com/en-
                                  us/HT204666.




                                                      60
                                                                                                                Exhibit B
                                                                                                                   -202-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 197 of 208 Page ID
                                    #:49557
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 196 of 207 Page ID
                                    #:25533


    U.S. Patent No. 6,771,994                      Description of Accused Products
             Claim 15
   at least one light emission   The Apple Watch Series 4 and later devices include at least one light
   device;                       emission device. The Apple Watch Series 4 and later devices include
                                 green and infrared LEDs as found on the Apple website at
                                 https://support.apple.com/en-us/HT204666:




                                 The Apple Watches Series 4 and later devices are worn on the wrist
                                 such that the detectors are configured to detect light that has passed
                                 through tissue and is indicative of a physiological parameter of the
                                 wearer:

                                     The optical heart sensor in Apple Watch uses what is known as
                                     photoplethysmography. This technology, while difficult to
                                     pronounce, is based on a very simple fact: Blood is red because it
                                     reflects red light and absorbs green light. Apple Watch uses green
                                     LED lights paired with light-sensitive photodiodes to detect the
                                     amount of blood flowing through your wrist at any given moment.
                                     When your heart beats, the blood flow in your wrist — and the
                                     green light absorption — is greater. Between beats, it’s less. By
                                     flashing its LED lights hundreds of times per second, Apple Watch
                                     can calculate the number of times the heart beats each minute —
                                     your heart rate. The optical heart sensor supports a range of 30–
                                     210 beats per minute. In addition, the optical heart sensor is
                                     designed to compensate for low signal levels by increasing both
                                     LED brightness and sampling rate.

                                 https://support.apple.com/en-us/HT204666.




                                                    61
                                                                                                          Exhibit B
                                                                                                             -203-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 198 of 208 Page ID
                                    #:49558
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 197 of 207 Page ID
                                    #:25534


    U.S. Patent No. 6,771,994                        Description of Accused Products
              Claim 15
   a light sensitive detector;     The Apple Watch Series 4 and later devices include a light sensitive
   and                             detector. The Apple Watch Series 4 and later devices include eight
                                   photodiode sensors as found on the Apple website at
                                   https://support.apple.com/en-us/HT204666:




                                   The Apple Watches Series 4 and later devices are worn on the wrist
                                   such that the detectors are configured to detect light that has passed
                                   through tissue and is indicative of a physiological parameter of the
                                   wearer:

                                       The optical heart sensor in Apple Watch uses what is known as
                                       photoplethysmography. This technology, while difficult to
                                       pronounce, is based on a very simple fact: Blood is red because it
                                       reflects red light and absorbs green light. Apple Watch uses green
                                       LED lights paired with light-sensitive photodiodes to detect the
                                       amount of blood flowing through your wrist at any given moment.
                                       When your heart beats, the blood flow in your wrist — and the
                                       green light absorption — is greater. Between beats, it’s less. By
                                       flashing its LED lights hundreds of times per second, Apple Watch
                                       can calculate the number of times the heart beats each minute —
                                       your heart rate. The optical heart sensor supports a range of 30–
                                       210 beats per minute. In addition, the optical heart sensor is
                                       designed to compensate for low signal levels by increasing both
                                       LED brightness and sampling rate.

                                   https://support.apple.com/en-us/HT204666.
   a plurality of louvers          The Apple Watch Series 4 and later devices include a plurality of
   positioned over the light       louvers positioned over the light sensitive detector to accept light from
   sensitive detector to accept    the at least one light emission device originating from a general
   light from the at least one     direction of the at least one light emission device and then transmitting
   light emission device           through body tissue carrying pulsing blood, wherein the louvers accept
   originating from a general      the light when the sensor is properly applied to tissue of a patient. Fig.
   direction of the at least one   7 of Apple’s U.S. Patent Application Publication 2019/0090806 (the ’806
   light emission device and       publication) is illustrative of the Apple Watch Series 4 and later devices.
   then transmitting through       The Apple Watch Series 4 and later devices have, for example, a


                                                      62
                                                                                                                 Exhibit B
                                                                                                                    -204-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 199 of 208 Page ID
                                    #:49559
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 198 of 207 Page ID
                                    #:25535


     U.S. Patent No. 6,771,994                          Description of Accused Products
              Claim 15
   body tissue carrying pulsing      plurality of louvers positioned over the light sensitive detector to accept
   blood, wherein the louvers        light from the at least one light emission device originating from a
   accept the light when the         general direction of the at least one light emission device and then
   sensor is properly applied to     transmitting through body tissue carrying pulsing blood:
   tissue of a patient.




   a light block forming an          The Apple Watch Series 4 and later devices include a light block
   enclosing wall between the        forming an enclosing wall between the light emission source and the
   light emission source and         plurality of detectors, the light block defining the circular portion of the
   the plurality of detectors, the   tissue measurement site, the light emission source arranged proximate
   light block defining the          a first side of the enclosing wall and the plurality of detectors arranged
   circular portion of the tissue    proximate a second side of the enclosing wall, the first side being
   measurement site, the light       different than the second side. Fig. 4C of Apple’s U.S. Patent
   emission source arranged          Application Publication 2019/0072912 (the ’912 publication) is
   proximate a first side of the     illustrative of the Apple Watch Series 4 and later devices. The Apple
   enclosing wall and the            Watch Series 4 and later devices have, for example, a wall with LEDs
   plurality of detectors            arranged in the interior of the enclosing wall and photodiode sensors
   arranged proximate a              arranged on the exterior of the enclosing wall:
   second side of the enclosing
   wall, the first side being
   different than the second
   side,




                                                         63
                                                                                                                    Exhibit B
                                                                                                                       -205-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 200 of 208 Page ID
                                    #:49560
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 199 of 207 Page ID
                                    #:25536


     U.S. Patent No. 6,771,994                        Description of Accused Products
              Claim 15
   wherein the enclosing wall       The Apple Watch Series 4 and later devices have an enclosing wall that
   prevents at least a portion of   prevents at least a portion of light emitted from the light emission
   light emitted from the light     source from being detected by the plurality of detectors without
   emission source from being       attenuation by the tissue, and wherein the plurality of detectors are
   detected by the plurality of     arranged in an array having a spatial configuration corresponding to the
   detectors without                circular portion of the tissue measurement site. Fig. 4C of Apple’s U.S.
   attenuation by the tissue,       Patent Application Publication 2019/0072912 (the ’912 publication) is
   and wherein the plurality of     illustrative of the Apple Watch Series 4 and later devices. The Apple
   detectors are arranged in an     Watch Series 4 and later devices have, for example, a wall with LEDs
   array having a spatial           arranged in the interior of the enclosing wall and photodiode sensors
   configuration corresponding      arranged on the exterior of the circular enclosing wall:
   to the circular portion of the
   tissue measurement site.




                                                       64
                                                                                                               Exhibit B
                                                                                                                  -206-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 201 of 208 Page ID
                                    #:49561
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 200 of 207 Page ID
                                    #:25537




                                      U.S. Patent No. 8,457,703

    U.S. Patent No. 8,457,703                    Description of Accused Products
              Claim 1
   1. A method of managing      The Apple Watch Series 3 and later devices manage power
   power consumption during     consumption during continuous patient monitoring by adjusting behavior
   continuous patient           of a patient monitor.
   monitoring by adjusting
   behavior of a patient        The Apple Watch Series 3 and later devices include a plurality of
   monitor, the method          emitters of different wavelengths (for example, green and infrared
   comprising:                  LEDs) and detectors (for example, photodiode sensors) as found on the
                                Apple website at https://support.apple.com/en-us/HT204666:




                                The emitters and detectors are used to monitor physiological
                                parameters, such as pulse rate. See https://support.apple.com/en-
                                us/HT204666.




                                                  65
                                                                                                         Exhibit B
                                                                                                            -207-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 202 of 208 Page ID
                                    #:49562
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 201 of 207 Page ID
                                    #:25538


     U.S. Patent No. 8,457,703                     Description of Accused Products
                Claim 1
   driving one or more light     The Apple Watch Series 3 and later devices drive one or more light
   sources configured to emit    sources configured to emit light into tissue of a monitored patient. The
   light into tissue of a        Apple Watch Series 3 and later devices include green and infrared
   monitored patient;            LEDs as found on the Apple website at https://support.apple.com/en-
                                 us/HT204666:




                                 The Apple Watches Series 3 and later devices are worn on the wrist
                                 such that the detectors are configured to detect light that has passed
                                 through tissue and is indicative of a physiological parameter of the
                                 wearer:

                                     The optical heart sensor in Apple Watch uses what is known as
                                     photoplethysmography. This technology, while difficult to
                                     pronounce, is based on a very simple fact: Blood is red because it
                                     reflects red light and absorbs green light. Apple Watch uses green
                                     LED lights paired with light-sensitive photodiodes to detect the
                                     amount of blood flowing through your wrist at any given moment.
                                     When your heart beats, the blood flow in your wrist — and the
                                     green light absorption — is greater. Between beats, it’s less. By
                                     flashing its LED lights hundreds of times per second, Apple Watch
                                     can calculate the number of times the heart beats each minute —
                                     your heart rate. The optical heart sensor supports a range of 30–
                                     210 beats per minute. In addition, the optical heart sensor is
                                     designed to compensate for low signal levels by increasing both
                                     LED brightness and sampling rate.

                                     The optical heart sensor can also use infrared light. This mode is
                                     what Apple Watch uses when it measures your heart rate in the
                                     background, and for heart rate notifications. Apple Watch uses
                                     green LED lights to measure your heart rate during workouts and
                                     Breathe sessions, and to calculate walking average and Heart Rate
                                     Variability (HRV).

                                 https://support.apple.com/en-us/HT204666.



                                                    66
                                                                                                            Exhibit B
                                                                                                               -208-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 203 of 208 Page ID
                                    #:49563
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 202 of 207 Page ID
                                    #:25539


    U.S. Patent No. 8,457,703                      Description of Accused Products
              Claim 1
   receiving one or more         The Apple Watch Series 3 and later devices receive one or more
   signals from one or more      signals from one or more detectors configured to detect said light after
   detectors configured to       attenuation by said tissue. The Apple Watch Series 3 and later devices
   detect said light after       include eight photodiode sensors as found on the Apple website at
   attenuation by said tissue;   https://support.apple.com/en-us/HT204666:




                                 The Apple Watches Series 3 and later devices are worn on the wrist
                                 such that the detectors are configured to detect light that has passed
                                 through tissue and is indicative of a physiological parameter of the
                                 wearer:

                                     The optical heart sensor in Apple Watch uses what is known as
                                     photoplethysmography. This technology, while difficult to
                                     pronounce, is based on a very simple fact: Blood is red because it
                                     reflects red light and absorbs green light. Apple Watch uses green
                                     LED lights paired with light-sensitive photodiodes to detect the
                                     amount of blood flowing through your wrist at any given moment.
                                     When your heart beats, the blood flow in your wrist — and the
                                     green light absorption — is greater. Between beats, it’s less. By
                                     flashing its LED lights hundreds of times per second, Apple Watch
                                     can calculate the number of times the heart beats each minute —
                                     your heart rate. The optical heart sensor supports a range of 30–
                                     210 beats per minute. In addition, the optical heart sensor is
                                     designed to compensate for low signal levels by increasing both
                                     LED brightness and sampling rate.

                                     The optical heart sensor can also use infrared light. This mode is
                                     what Apple Watch uses when it measures your heart rate in the
                                     background, and for heart rate notifications. Apple Watch uses
                                     green LED lights to measure your heart rate during workouts and
                                     Breathe sessions, and to calculate walking average and Heart Rate
                                     Variability (HRV).

                                 https://support.apple.com/en-us/HT204666.



                                                    67
                                                                                                            Exhibit B
                                                                                                               -209-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 204 of 208 Page ID
                                    #:49564
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 203 of 207 Page ID
                                    #:25540


    U.S. Patent No. 8,457,703                      Description of Accused Products
              Claim 1
   continuously operating a      The Apple Watch Series 3 and later devices continuously operate a
   patient monitor at a lower    patient monitor at a lower power consumption level to determine
   power consumption level to    measurement values for one or more physiological parameters of a
   determine measurement         patient.
   values for one or more
   physiological parameters of   The Apple Watches Series 3 and later devices transmit recorded data
   a patient;                    to the Health App on iOS devices. Upon information and belief, the
                                 pulse rate determination, the types of LEDs used to determine pulse
                                 rate, and the operation of the LEDs varies with pulse rate activity and
                                 heart rate context (e.g., background, sedentary, streaming, etc.), as
                                 described in International Application Publication WO 2018/226305 (the
                                 ’305 publication), for example, at paragraphs [0055]-[0061].

                                 See also https://developer.apple.com/documentation/healthkit/
                                 hkquantitytypeidentifier/1615138-heartrate.
   comparing processing          Upon information and belief, the Apple Watches Series 3 and later
   characteristics to a          devices compare processing characteristics to a predetermined
   predetermined threshold;      threshold.
   and
                                 The Apple Watches Series 3 and later devices transmit recorded data
                                 to the Health App on iOS devices. Upon information and belief, the
                                 pulse rate determination, the types of LEDs used to determine pulse
                                 rate, and the operation of the LEDs varies with pulse rate activity and
                                 heart rate context (e.g., background, sedentary, streaming, etc.).

                                 See also https://developer.apple.com/documentation/healthkit/
                                 hkquantitytypeidentifier/1615138-heartrate.
   when said processing          Upon information and belief, the Apple Watches Series 3 and later
   characteristics pass said     devices transition to continuously operating said patient monitor at a
   threshold, transitioning to   higher power consumption level.
   continuously operating said
   patient monitor at a higher   Upon information and belief, the Apple Watches Series 3 and later
   power consumption level,      devices continuously operating at said lower power consumption level
   wherein said continuously     corresponds with reducing activation of an attached sensor, said sensor
   operating at said lower       positioning said light sources and said detectors proximate said tissue.
   power consumption level
   comprises reducing            The Apple Watches Series 3 and later devices transmit recorded data
   activation of an attached     to the Health App on iOS devices. Upon information and belief, the
   sensor, said sensor           pulse rate determination, the types of LEDs used to determine pulse
   positioning said light        rate, and the operation of the LEDs varies with pulse rate activity and
   sources and said detectors    heart rate context (e.g., background, sedentary, streaming, etc.), as
   proximate said tissue.        described in International Application Publication WO 2018/226305 (the
                                 ’305 publication), for example, at paragraphs [0055]-[0061].

                                 See also https://developer.apple.com/documentation/healthkit/
                                 hkquantitytypeidentifier/1615138-heartrate.




                                                    68
                                                                                                            Exhibit B
                                                                                                               -210-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 205 of 208 Page ID
                                    #:49565
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 204 of 207 Page ID
                                    #:25541




                                           U.S. Patent No. 10,433,776

    U.S. Patent No. 10,433,776                          Description of Accused Products
              Claim 1
   1. A method of operating a        The Apple Watch Series 3 and later devices monitor at least a pulse
   patient monitor configured to     rate of a patient by processing signals responsive to light attenuated by
   monitor at least a pulse rate     body tissue.
   of a patient by processing
   signals responsive to light       The Apple Watch Series 3 and later devices include a plurality of
   attenuated by body tissue,        emitters of different wavelengths (for example, green and infrared
   the method comprising:            LEDs) and detectors (for example, photodiode sensors) as found on the
                                     Apple website at https://support.apple.com/en-us/HT204666:




                                     The emitters and detectors are used to monitor physiological
                                     parameters, such as pulse rate. See https://support.apple.com/en-
                                     us/HT204666
   operating the patient monitor     The Apple Watch Series 3 and later devices operate according to a first
   according to a first control      control protocol, wherein said operating includes activating a first
   protocol, wherein said            control protocol light source in accordance with the first control protocol,
   operating includes activating     the first control protocol light source including one or more of a plurality
   a first control protocol light    of light sources.
   source in accordance with
   the first control protocol, the   The Apple Watches Series 3 and later devices transmit recorded data
   first control protocol light      to the Health App on iOS devices. Upon information and belief, the
   source including one or           pulse rate determination, the types of LEDs used to determine pulse
   more of a plurality of light      rate, and the operation of the LEDs varies with pulse rate activity and
   sources;                          heart rate context (e.g., background, sedentary, streaming, etc.), as
                                     described in International Application Publication WO 2018/226305 (the
                                     ’305 publication), for example, at paragraphs [0055]-[0061].

                                     See also https://developer.apple.com/documentation/healthkit/
                                     hkquantitytypeidentifier/1615138-heartrate.




                                                         69
                                                                                                                    Exhibit B
                                                                                                                       -211-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 206 of 208 Page ID
                                    #:49566
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 205 of 207 Page ID
                                    #:25542


    U.S. Patent No. 10,433,776                         Description of Accused Products
               Claim 1
   when operating according to      The Apple Watch Series 3 and later devices calculate measurement
   the first control protocol,      values of the pulse rate, the measurement values responsive to light
   calculating, by the patient      from the first control protocol light source, detected by a detector of an
   monitor, measurement             optical sensor after attenuation by body tissue of the patient using the
   values of the pulse rate, the    patient monitor:
   measurement values
   responsive to light from the         The optical heart sensor in Apple Watch uses what is known as
   first control protocol light         photoplethysmography. This technology, while difficult to
   source, detected by a                pronounce, is based on a very simple fact: Blood is red because it
   detector of an optical sensor        reflects red light and absorbs green light. Apple Watch uses green
   after attenuation by body            LED lights paired with light-sensitive photodiodes to detect the
   tissue of the patient using          amount of blood flowing through your wrist at any given moment.
   the patient monitor;                 When your heart beats, the blood flow in your wrist — and the
                                        green light absorption — is greater. Between beats, it’s less. By
                                        flashing its LED lights hundreds of times per second, Apple Watch
                                        can calculate the number of times the heart beats each minute —
                                        your heart rate. The optical heart sensor supports a range of 30–
                                        210 beats per minute. In addition, the optical heart sensor is
                                        designed to compensate for low signal levels by increasing both
                                        LED brightness and sampling rate.

                                        The optical heart sensor can also use infrared light. This mode is
                                        what Apple Watch uses when it measures your heart rate in the
                                        background, and for heart rate notifications. Apple Watch uses
                                        green LED lights to measure your heart rate during workouts and
                                        Breathe sessions, and to calculate walking average and Heart Rate
                                        Variability (HRV).

                                    https://support.apple.com/en-us/HT204666.
   generating a trigger signal,     The Apple Watch Series 3 and later devices generate a trigger signal,
   wherein generating said          wherein generating said trigger signal is responsive to at least one of: a
   trigger signal is responsive     comparison of processing characteristics to a predetermined threshold,
   to at least one of: a            a physiological event, or signal quality characteristics of signals
   comparison of processing         received from the detector.
   characteristics to a
   predetermined threshold, a       The Apple Watches Series 3 and later devices transmit recorded data
   physiological event, or          to the Health App on iOS devices. Upon information and belief, the
   signal quality characteristics   pulse rate determination, the types of LEDs used to determine pulse
   of signals received from the     rate, and the operation of the LEDs varies with pulse rate activity and
   detector;                        heart rate context (e.g., background, sedentary, streaming, etc.), as
                                    described in International Application Publication WO 2018/226305 (the
                                    ’305 publication), for example, at paragraphs [0055]-[0061].

                                    See also https://developer.apple.com/documentation/healthkit/
                                    hkquantitytypeidentifier/1615138-heartrate.




                                                        70
                                                                                                                 Exhibit B
                                                                                                                    -212-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 207 of 208 Page ID
                                    #:49567
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 206 of 207 Page ID
                                    #:25543


    U.S. Patent No. 10,433,776                          Description of Accused Products
               Claim 1
   in response to receiving the       The Apple Watch Series 3 and later devices in response to receiving
   trigger signal, operating the      the trigger signal, operate according to a second control protocol
   patient monitor according to       different from the first control protocol, wherein said operating includes
   a second control protocol          activating a second control protocol light source in accordance with the
   different from the first control   second control protocol, the second control protocol light source
   protocol, wherein said             including one or more of the plurality of light sources.
   operating includes activating
   a second control protocol          The Apple Watches Series 3 and later devices transmit recorded data
   light source in accordance         to the Health App on iOS devices. Upon information and belief, the
   with the second control            pulse rate determination, the types of LEDs used to determine pulse
   protocol, the second control       rate, and the operation of the LEDs varies with pulse rate activity and
   protocol light source              heart rate context (e.g., background, sedentary, streaming, etc.), as
   including one or more of the       described in International Application Publication WO 2018/226305 (the
   plurality of light sources; and    ’305 publication), for example, at paragraphs [0055]-[0061].

                                      See also https://developer.apple.com/documentation/healthkit/
                                      hkquantitytypeidentifier/1615138-heartrate.
   when operating the patient         The Apple Watch Series 3 and later devices, when operating according
   monitor according to the           to the second control protocol, calculate the measurement values of the
   second control protocol,           pulse rate, the measurement values responsive to light from the second
   calculating the                    control protocol light source, detected by the detector after attenuation
   measurement values of the          by the body tissue of the patient using the patient monitor:
   pulse rate, the measurement
   values responsive to light             The optical heart sensor in Apple Watch uses what is known as
   from the second control                photoplethysmography. This technology, while difficult to
   protocol light source,                 pronounce, is based on a very simple fact: Blood is red because it
   detected by the detector               reflects red light and absorbs green light. Apple Watch uses green
   after attenuation by the body          LED lights paired with light-sensitive photodiodes to detect the
   tissue of the patient using            amount of blood flowing through your wrist at any given moment.
   the patient monitor,                   When your heart beats, the blood flow in your wrist — and the
                                          green light absorption — is greater. Between beats, it’s less. By
                                          flashing its LED lights hundreds of times per second, Apple Watch
                                          can calculate the number of times the heart beats each minute —
                                          your heart rate. The optical heart sensor supports a range of 30–
                                          210 beats per minute. In addition, the optical heart sensor is
                                          designed to compensate for low signal levels by increasing both
                                          LED brightness and sampling rate.

                                          The optical heart sensor can also use infrared light. This mode is
                                          what Apple Watch uses when it measures your heart rate in the
                                          background, and for heart rate notifications. Apple Watch uses
                                          green LED lights to measure your heart rate during workouts and
                                          Breathe sessions, and to calculate walking average and Heart Rate
                                          Variability (HRV).

                                      https://support.apple.com/en-us/HT204666.




                                                         71
                                                                                                                   Exhibit B
                                                                                                                      -213-
Case 8:20-cv-00048-JVS-JDE Document 673-2 Filed 05/02/22 Page 208 of 208 Page ID
                                    #:49568
 Case 8:20-cv-00048-JVS-JDE Document 295-2 Filed 02/05/21 Page 207 of 207 Page ID
                                    #:25544


    U.S. Patent No. 10,433,776                        Description of Accused Products
             Claim 1

                                    The Apple Watches Series 3 and later devices transmit recorded data
                                    to the Health App on iOS devices. Upon information and belief, the
                                    pulse rate determination, the types of LEDs used to determine pulse
                                    rate, and the operation of the LEDs varies with pulse rate activity and
                                    heart rate context (e.g., background, sedentary, streaming, etc.).

                                    See also https://developer.apple.com/documentation/healthkit/
                                    hkquantitytypeidentifier/1615138-heartrate.
   wherein said operating of        The Apple Watch Series 3 and later devices operates the first control
   the patient monitor              protocol light source according to a first duty cycle and operates the
   according to the first control   second control protocol light source according to a second duty cycle,
   protocol operates the first      wherein power consumption of the first control protocol light source
   control protocol light source    according to the first duty cycle is different than power consumption of
   according to a first duty        the second control protocol light source according to the second duty
   cycle and said operating of      cycle.
   the patient monitor
   according to the second          The Apple Watches Series 3 and later devices transmit recorded data
   control protocol operates the    to the Health App on iOS devices. Upon information and belief, the
   second control protocol light    pulse rate determination, the types of LEDs used to determine pulse
   source according to a            rate, and the operation of the LEDs varies with pulse rate activity and
   second duty cycle, wherein       heart rate context (e.g., background, sedentary, streaming, etc.), as
   power consumption of the         described in International Application Publication WO 2018/226305 (the
   first control protocol light     ’305 publication), for example, at paragraphs [0055]-[0061].
   source according to the first
   duty cycle is different than     See also https://developer.apple.com/documentation/healthkit/
   power consumption of the         hkquantitytypeidentifier/1615138-heartrate.
   second control protocol light
   source according to the
   second duty cycle.




                                                       72
                                                                                                               Exhibit B
                                                                                                                  -214-
